Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 1 of 290




                   EXHIBIT 4
   Videotaped Deposition of Grecia Echevarria
                 Hernandez
Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 2 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                         Page 1

      1                   UNITED STATES DISTRICT COURT

      2                        DISTRICT OF NEVADA

      3                             * * * * *

      4
      5     GRECIA                       )
            ECHEVARRIA-HERNANDEZ,        )       Case No.
      6     individually,                )       2:16-cv-00943-GMN-VCF
                                         )
      7                Plaintiff,        )
                                         )
      8       vs.                        )
                                         )
      9     AFFINITYLIFESTYLES.COM,      )
            INC., d/b/a REAL ALKALIZED   )
     10     WATER, a Nevada              )
            corporation, DOES I-X, and   )
     11     ROE BUSINESS ENTITIES I-X,   )
            inclusive,                   )
     12                                  )
                       Defendants.       )
     13     _____________________________)

     14
     15
     16
            VIDEOTAPED DEPOSITION OF GRECIA ECHEVARRIA HERNANDEZ
     17
                    Taken on Thursday, November 3, 2016
     18
                                  At 9:03 a.m.
     19
               Taken at Lewis Brisbois Bisgaard & Smith, LLP
     20
                          6385 South Rainbow Boulevard
     21
                                    Suite 600
     22
                               Las Vegas, Nevada
     23
     24
     25    Reported by:    Sarah Safier, CCR No. 808




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 3 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 2

      1    DEPOSITION OF GRECIA ECHEVARRIA-HERNANDEZ, taken at

      2    Lewis Brisbois Bisgaard & Smith, LLP, 6385 South

      3    Rainbow Boulevard, Suite 600, Las Vegas, Nevada, on

      4    Thursday, November 3, 2016, at 9:03 a.m., before

      5    Sarah Safier, Certified Court Reporter, in and for

      6    the State of Nevada.

      7    APPEARANCES:

      8    For the Plaintiff:

      9           DANIELLE J. BARRAZA, ESQ.
                  Maier Gutierrez Ayon
     10           8816 Spanish Ridge Avenue
                  Las Vegas, Nevada 89148
     11
           For the Defendants:
     12
                  KRISTOL BRADLEY GINAPP, ESQ.
     13           Lewis Brisbois Bisgaard & Smith, LLP
                  6385 South Rainbow Boulevard
     14           Suite 600
                  Las Vegas, Nevada 89118
     15
           Also Present:
     16
                  JOSEPH CAMP, Videographer
     17
     18
     19
     20
     21
     22
     23
     24
     25




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 4 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 3

      1                            I N D E X

      2
      3    Witness:    GRECIA ECHEVARRIA HERNANDEZ

      4
                                 Examination      Further Examination
      5
           By Ms. Ginapp              6                  286
      6    By Ms. Barraza            282

      7
      8
      9                         E X H I B I T S

     10    Defendant                                            Page

     11      A - Complaint with Jury Demand                      62

     12      B - Nevada Equal Rights Commission Charge           67
                 of Discrimination
     13
             C - Employment Agreement 3/10/15                    80
     14
             D - Employment Agreement/Product                   105
     15          Demonstrator 3/11/15

     16      E - Basic Employment Policies                      134

     17      F - Employee Handbook                              146

     18      G - Real Water Culture 3/11/15                     160

     19      H - Message to Garcia Video Review                 165
                 3/11/15
     20
             I - The Secret Review 3/11/15                      169
     21
             J - The Way to Happiness Video Review              172
     22          3/11/15

     23      K - Non-Optimum Report 10/8/15                     227

     24      L - Non-Optimum Report 10/8/15                     232

     25      M - Non-Optimum Report 10/8/15                     238




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 5 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 4

      1                        E X H I B I T S
                                 (Continued)
      2
      3    Defendant                                          Page

      4     N - Non-Optimum Report 10/9/15                     242

      5     O - Text Messages 10/12/15 - 10/19/15              245

      6     P - Real Water Course Memo                         259

      7     Q - Basic Study Manual Course - L. Ron             260
                Hubbard
      8
            R - Basic Study Manual - Based on the works        261
      9         of L. Ron Hubbard

     10     S - How to Effectively Handle Work - Based         262
                on the works of L. Ron Hubbard
     11
            T - How to Increase Efficiency in your             263
     12         Company Course - Based on the works of
                L. Ron Hubbard
     13
            U - Formulas For Business Success - Based          264
     14         on the works of L. Ron Hubbard

     15     V - Management by Statistics - Based on the        264
                works of L. Ron Hubbard
     16
            W - Speaking from Experience - Illustrated         265
     17         Solutions to the Business Problems You
                Face Every Day - Based on the works of
     18         L. Ron Hubbard

     19     X - New Game All Managers "The 10X Club"           268

     20
     21
     22
     23
     24
     25



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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 6 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 5

      1             THE VIDEOGRAPHER:    Good morning.   Today is

      2    Thursday, November 3, 2016.

      3             This begins the video deposition of Grecia

      4    Echevarria.   The time is approximately 9:03 a.m.

      5             We are located at Lewis Brisbois Bisgaard &

      6    Smith, 6385 South Rainbow Boulevard, Suite 600, Las

      7    Vegas, Nevada 89118.

      8             My name is Joseph Camp, court videographer

      9    of Las Vegas Legal Video.

     10             This is Case No. 2:16-cv-00943-GMN-VCF in

     11    the United States District Court, District of Nevada,

     12    entitled Grecia Echevarria Hernandez, individually,

     13    plaintiff, versus Affinitylifestyle.com, Inc., doing

     14    business as Real Alkalized Water, a Nevada

     15    corporation, et al., defendants.

     16             This deposition is requested by the

     17    attorneys for the defendants.

     18             Would all counsel present please identify

     19    themselves for the record.

     20             MS. GINAPP:    Kristol Bradley Ginapp on

     21    behalf of Affinitylifestyles.com, doing business as

     22    Real Alkalized Water.

     23             MS. BARRAZA:    Danielle Barraza on behalf of

     24    the plaintiff.

     25             THE VIDEOGRAPHER:    The deponent may now be




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 7 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 6

      1    sworn in by Sarah Safier of All-American Court

      2    Reporters.

      3    Whereupon --

      4                     GRECIA ECHEVARRIA HERNANDEZ

      5    being first duly sworn to tell the truth, the whole

      6    truth, and nothing but the truth, was examined and

      7    testified as follows:

      8               THE VIDEOGRAPHER:     Please begin.

      9                              EXAMINATION

     10    BY MS. GINAPP:

     11        Q      Can you please state and spell your full

     12    name for the record.

     13        A      Grecia Analiz Echevarria Hernandez,

     14    G-R-E-C-I-A, and then Analiz, A-N-A-L-I-Z,

     15    Echevarria, E-C-H-E-V-A-R-R-I-A, Hernandez,

     16    H-E-R-N-A-N-D-E-Z.

     17        Q      And is Echevarria Hernandez hyphenated?

     18        A      No.     It's not supposed to be.

     19        Q      Okay.     Can you please tell me your current

     20    address.

     21        A      79 Tierra Buena Drive.

     22        Q      Can you spell that, please?

     23        A      T-I-E-R-R-A, space, B-U-E-N-A.

     24        Q      I'm sorry.     What was it?

     25        A      B-U-E-N-A Drive.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 8 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 7

      1        Q       And what city is that located in?

      2        A       Las Vegas, Nevada 89110.

      3        Q       I'm going to ask you to speak up just a

      4    little bit because I'm usually across the table from

      5    the deponent, so I'm down a little bit further than

      6    usual because we're video recording this.

      7        A       Okay.

      8        Q       Have you ever had your deposition taken

      9    before?

     10        A       No.

     11        Q       I'm sorry.    I forgot to ask you, what is

     12    your telephone number?

     13        A       (702) 466-0094.

     14        Q       Have you ever been a party to a lawsuit

     15    before?

     16        A       Yes.

     17        Q       How many lawsuits?

     18        A       Right now, I'm at three with this one.

     19        Q       Okay.   What are the other lawsuits you are a

     20    party to?

     21        A       A PI, personal injury, and a workers' comp.

     22        Q       And who is the personal injury claim

     23    against?

     24        A       Real Water.

     25        Q       I'm sorry?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 9 of 290

               Grecia Echevarria Hernandez November 3, 2016
                       * * *Videotaped Deposition* * *
                                                                        Page 8

      1        A      Real Water.

      2        Q      Oh, okay.

      3        A      Both of them are.

      4        Q      And who is your attorney in the personal

      5    injury case?

      6        A      Donn Prokopius.

      7        Q      Can you spell Prokopius for me.

      8        A      P-R-O-K-O-P-I-U-S.

      9        Q      And what are the -- what's the basis for

     10    that personal injury lawsuit?

     11        A      What do you mean?      A car accident.

     12        Q      Okay.    Car accident occurring while you were

     13    working for Real Water?

     14        A      Yes.    During work.

     15        Q      Is that the basis for your work comp claim

     16    as well?

     17        A      Yes.

     18        Q      Who's your attorney for the work comp claim?

     19        A      Neeman & Mills.

     20        Q      Are you alleging negligence against Real

     21    Water in the personal injury matter?

     22        A      Like, what do you mean negligence?

     23        Q      Have you actually filed a lawsuit against

     24    them?

     25        A      Yeah.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 10 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 9

       1       Q       Okay.   And when did you file that lawsuit?

       2       A       Last year.

       3       Q       Okay.

       4       A       I want to say 5/27/15.

       5       Q       And what -- other than you working for them

       6   at the time that you had the car accident, what is

       7   the basis of your personal injury claims against

       8   them?

       9       A       I'm not understanding.

      10       Q       What are you alleging they did wrong?

      11       A       Well, they got -- I got hit, so someone

      12   else's fault.

      13       Q       But you're suing Real Water?

      14       A       Well, their -- their insurance.

      15       Q       Okay.   Are you suing the person who hit you?

      16       A       He didn't have any insurance or anything,

      17   so, no.

      18       Q       So the three lawsuits are this one, a

      19   personal injury claim against Real Water where you're

      20   suing them for their insurance coverage, and workers'

      21   comp claim?

      22       A       Correct.

      23       Q       Any other lawsuits that you have been a

      24   party to?

      25       A       I want to say it was in 2010.     It was a car




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 11 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 10

       1   accident.     It was -- I don't remember the guy's name.

       2   He hit me from the back.

       3       Q       Were you injured in that accident?

       4       A       Yeah.

       5       Q       What were your injuries?

       6       A       I had a neck strain.     It wasn't anything

       7   major.

       8       Q       Were you injured in the accident that you're

       9   suing Real Water on?

      10       A       Yes.

      11       Q       And what were your injuries in that

      12   accident?

      13       A       Neck and back, lower back, and my wrist,

      14   left wrist.

      15       Q       Did you recover in the 2010 accident?

      16       A       Yeah.

      17       Q       What did you recover?

      18       A       Like monetary-wise or --

      19       Q       Yeah.     Was it a settlement?

      20       A       Yeah.     I want to say it was like 4,000.

      21       Q       Any other lawsuits that you were a party to?

      22       A       Uhm-um.

      23       Q       Okay.     Were -- was the 2010 car accident

      24   lawsuit in Clark County, Nevada?

      25       A       Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 12 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 11

       1       Q      Any family law, family court?

       2       A      No.

       3       Q      Okay.    Any criminal matters?

       4       A      No.

       5       Q      Did you review any documents in preparation

       6   for your deposition today?

       7       A      Yeah.

       8       Q      What did you review?

       9       A      It was just -- I want to say it was Amy

      10   Jones' deposition and a few, like, several books.

      11       Q      What were the books?

      12       A      It was a few.    It was a couple.   I think it

      13   was the basic -- I don't recall the rest.

      14       Q      Okay.    Had you ever seen those books before?

      15       A      I'm not exactly sure, to be honest with you.

      16       Q      And why aren't you sure?

      17       A      Well, I saw -- I don't recall exactly which

      18   one it was.      I know it was one of them, but I just

      19   don't recall which one.

      20       Q      One of the books that you looked at you had

      21   seen before?

      22       A      I don't know if it was one of the ones that

      23   were there or if it was one that I've had, like that

      24   wasn't there.      I know that I had -- there was a few

      25   that I've -- I don't recall if it was one of those




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 13 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 12

       1   that I saw that day.

       2       Q      What day?

       3       A      The day that I reviewed the documents.

       4       Q      Okay.    And why did you review the deposition

       5   of Amy Jones?

       6       A      Just -- just to, I guess, get a handle on

       7   things, to see what's going on.

       8       Q      Did you review anything else?

       9       A      No.

      10       Q      Did you speak with anyone other than your

      11   attorney in preparation for your deposition?

      12       A      No.

      13       Q      Did you speak with any -- have you ever

      14   spoken with anybody you consider a witness in this --

      15   sorry.    Let me back up.

      16              Did you speak with or have you ever spoken

      17   to, since you filed the complaint, any witness to

      18   your allegations?

      19       A      Yes.    She didn't want to get involved due to

      20   her -- she said that she was still working for Real

      21   Water, so they handed out a paper that if they got

      22   involved that they would probably get fired.

      23       Q      Who's this witness?    What's her name?

      24       A      Her name is Yanyeli.    It's Y-A-N-Y-E-L-I.    I

      25   don't know her last name.      She works for the -- not




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 14 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 13

       1   the Real Water office, but like the gallon place.

       2       Q      Is she an employee of Real Water?

       3       A      She was when I was speaking to her, yeah.

       4   She used to work where I worked.

       5       Q      What was -- what was her position?

       6       A      Receptionist.

       7       Q      And you said something about "they handed

       8   out a paper."    Who's "they"?

       9       A      Her -- I'm guessing her boss.

      10       Q      At Real Water or at her current employer?

      11       A      Well, when I spoke to her, it was -- I don't

      12   know, it's Real Water's, I guess, other company where

      13   they -- delivery service.      Alkaline.

      14       Q      That's where she works now?

      15       A      That's where she was working at the time

      16   when I spoke to her.

      17       Q      When did you speak with her?

      18       A      A couple -- it was when -- I spoke to her,

      19   the very first time was when everything came out in

      20   the media.    She's the one who sent me some of the

      21   links.    And then I want to say I spoke to her a

      22   couple months, three or four months ago.

      23       Q      Why did she send you the links?

      24              MS. BARRAZA:    Objection, to the extent it

      25   calls for speculation.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 15 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 14

       1   BY MS. GINAPP:

       2       Q      If you know.

       3       A      Because she thought it was weird that they

       4   would do something like that.

       5       Q      Is that what she told you?

       6       A      Yeah.   She thought it was, quote/unquote,

       7   mean.

       8       Q      She e-mailed the links to you?

       9       A      Yeah.   Well, she sent me a text with the

      10   link.

      11       Q      Do you still have those texts?

      12       A      No.

      13       Q      Why not?

      14       A      I got a new phone.

      15       Q      Do you still have possession of that phone?

      16       A      No.

      17       Q      Did you surrender it to your carrier?

      18       A      Yes.

      19       Q      When did you get a new phone?

      20       A      October of 2015.

      21              MS. BARRAZA:   Just for the record, can you

      22   speak up a little bit more so we have a clear record

      23   going forward.

      24              THE WITNESS:   Yeah.

      25              MS. BARRAZA:   Thank you.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 16 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                      Page 15

       1   BY MS. GINAPP:

       2         Q      Who's your cell phone provider?

       3         A      T-Mobile.

       4         Q      And that's who it was at that time?

       5         A      Yes.

       6         Q      They're the ones you surrendered the phone

       7   to?

       8         A      Yes.    And then I paid for it -- well, my mom

       9   paid for the rest of it, so she kept it.

      10         Q      So your mom has the phone right now?

      11         A      Yeah.

      12         Q      Do you know if she wiped the memory on it?

      13         A      Yes.    T-Mobile did.

      14         Q      Now, you said you spoke with this -- I'm

      15   sorry.      I'm not going to pronounce her name.    Can you

      16   pronounce her name again for me.

      17         A      Yanyeli.

      18         Q      Yanyeli.    You said you spoke with her --

      19   when was the last time you spoke with her?

      20         A      I want to say three to four months ago.

      21         Q      And why did you talk to her three to four

      22   months ago?

      23         A      Well, she sent me the link, and then we were

      24   talking about it.        And that was the first time I ever

      25   heard about any media, you know.        And then we just




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 17 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 16

       1   stopped talking.    And then like a month later we

       2   started texting again.

       3       Q      And what were you texting about?

       4       A      The situation.     She was saying how she

       5   wanted to be a witness but she couldn't.       She

       6   couldn't get involved.

       7       Q      And why couldn't she get involved?

       8       A      Because of that paper, the flyer or the

       9   paper they handed out to not get involved.

      10       Q      Did you ever see the paper?

      11       A      No.

      12       Q      Did she describe to you what the paper said?

      13       A      The basis of it, she said that it just said

      14   don't get involved in any legal matters that Real

      15   Water has going on.

      16       Q      What knowledge does she have about your

      17   claims?

      18              MS. BARRAZA:     Objection, to the extent it

      19   leads to speculation.

      20              THE WITNESS:     She doesn't really know much.

      21   She just knows about the whole Scientology because

      22   she's also aware of it.

      23   BY MS. GINAPP:

      24       Q      What do you mean by she knows about the

      25   Scientology?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 18 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 17

       1       A      She worked with me.     She worked before me

       2   and while I was there, a couple months while I was

       3   there.

       4       Q      But she doesn't have any personal knowledge

       5   of your claims?

       6       A      No.    Nothing, no.   Nothing that the media

       7   doesn't know.

       8       Q      Just to be clear, to your knowledge, did she

       9   witness any of the allegations that you make in your

      10   complaint?

      11       A      Yes, because she went through them too.

      12       Q      But did she witness them happening directly

      13   to you?

      14       A      Yes.    Watching videos, she's the one who put

      15   them on for me.      And she sent me to the room where I

      16   had to do the course work.

      17       Q      Any other witnesses that you have spoken to?

      18       A      I was speaking to Christy Oldenkamp.

      19       Q      How do you spell Christy?

      20       A      I want to say C-H-R-I-S-T-Y.

      21       Q      Oldenkamp?

      22       A      O-L-D-E-N-K-A-M-P.

      23       Q      And who's Christy Oldenkamp?

      24       A      She started working there after I was

      25   working -- after I started, and she was also a brand




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 19 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 18

       1   embassador.

       2       Q      When did you speak with Christy Oldenkamp?

       3       A      Well, throughout when she first started

       4   working there, after she saw the videos, she thought

       5   it was weird that, you know, they're showing us -- or

       6   she got -- she got shown the same videos as well.

       7   And we just talked about it, and we both made the

       8   remark that, "Why is it Scientology based?"

       9       Q      So was that the last time you spoke to her,

      10   while you were employed with Real Water?

      11       A      No.

      12       Q      When was the last time you spoke with her?

      13       A      I'm not exactly sure 100 percent what date,

      14   but it was, I want to say, between March and June of

      15   this year.

      16       Q      And what was the reason you spoke with her?

      17       A      I was going to see if she wanted to be a

      18   witness.     And she never got back to me.   She said she

      19   had another lawsuit going on.

      20       Q      What is your understanding of her knowledge

      21   of your claims against Real Water?

      22       A      The whole Scientology thing and getting

      23   wrongfully terminated.

      24       Q      She knows about your getting terminated?

      25       A      Yeah.   I mean, they told everyone.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 20 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 19

       1       Q       They told everyone that you were terminated?

       2       A       Well, the people that I talked to, yeah.

       3   They came asking me why I got fired.        I didn't really

       4   give them too much information.

       5       Q       So Christy asked you why you were fired?

       6       A       Yeah.

       7       Q       So it's your understanding that she was told

       8   you were fired but not why you were fired?

       9       A       Yeah.     Well, she's best friends with Bonnie,

      10   so -- or they're -- they were.        I'm not sure if they

      11   still are.        So I don't know what the conversation

      12   between them two was.

      13       Q       All right.     Anybody else that you talked to

      14   in preparation for your deposition?

      15       A       No.

      16       Q       I'm going to give you -- we have talked a

      17   lot, but I'm going to give you a few guidelines since

      18   you have never had your deposition taken just about,

      19   I'm sure you have talked with your counsel about it,

      20   but just so that we're on the same page about what's

      21   expected.

      22               The oath you took is the same oath that you

      23   would take in a court of law, and it carries with it

      24   the same penalties for perjury and the same

      25   responsibilities to answer truthfully.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 21 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 20

       1              Do you understand?

       2       A      Yes.

       3       Q      And that oath means that giving responses

       4   such as "I don't know," "I don't recall" in lieu of

       5   material responses when you know an actual answer is

       6   not truthful.

       7              Do you understand that?

       8       A      Yes.

       9       Q      The oath also requires that you give

      10   accurate testimony to the best of your recollection.

      11              Is that fair?

      12       A      Yes.

      13       Q      Sometimes these depositions get quite

      14   conversational.       It's important that we not talk over

      15   each other for the court reporter.       This is being

      16   video recorded, so it also gets messed up that way

      17   when we talk over each other.       So it's best that you

      18   please just wait for me to finish asking the question

      19   before responding, and I'll do my best to let you

      20   finish responding before I ask the question.

      21              Is that fair?

      22       A      Okay.

      23       Q      Your responses must be audible.     The court

      24   reporter cannot transcribe responses such as "uh-huh"

      25   or "uhm-um."       We won't know if that means yes or a




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 22 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                           Page 21

       1   no.        So if you do slip up, because sometimes people,

       2   even I do, I might say, "Is that a yes or is that a

       3   no?"        And I'm not trying to be rude.     I'm just trying

       4   to get a clear record.

       5                  Is that fair?

       6          A       Yeah.

       7          Q       If a question is not clear or you do not

       8   understand it, please ask me to rephrase it or repeat

       9   it.        Okay?

      10          A       Okay.

      11          Q       If you answer a question that I ask, I'm

      12   going to assume that you understood it.

      13                  Is that fair?

      14          A       Yes.

      15          Q       Your counsel will make objections from time

      16   to time.           If an objection is made, please wait until

      17   your attorney completes the objection, and then

      18   answer the question unless your attorney instructs

      19   you not to.           Okay?

      20          A       Okay.

      21          Q       I'm entitled to your best estimate in your

      22   answers but not guesses.           So -- and just by way of

      23   elaborating the difference between an estimate and a

      24   guess is we're sitting at this table now.           You may be

      25   able to -- if I ask you how long it is, you may be




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 23 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 22

       1   able to estimate how long it is.       And if you can,

       2   then you say, "I estimate it's this many feet long."

       3              But, you know, you might not be able to, if

       4   I asked you how tall the building was, you might not

       5   know that.    That might be a pure guess.

       6              Does that make sense?

       7       A      Right.

       8       Q      At the conclusion of the examination,

       9   everything that the court reporter is taking down

      10   will be put into a written booklet called a

      11   transcript.       You will have the opportunity to review

      12   the transcript and make any necessary changes to it

      13   and sign it under the penalty of perjury.

      14              Any changes that you make to the

      15   transcript -- substantive changes, like a "yes" to a

      16   "no," or in a car accident case, for example, if you

      17   said -- testified that the light was red and then you

      18   changed it to green, those would be substantive

      19   changes, can be committed on and pointed out to the

      20   court or the arbitrator or jury in this lawsuit and

      21   could go to your credibility.

      22              Do you understand?

      23       A      Yes.

      24       Q      If, at any time, you need a break, let me

      25   know.    We're not doing an endurance test here.     So I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 24 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 23

       1   only ask that if a question is pending that you

       2   finish answering the question before we take a break.

       3              Is that fair?

       4       A      Yeah.     Yes.

       5       Q      Have you taken any drugs, medication or

       6   alcohol in the last 24 hours that might affect your

       7   ability to testify accurately today?

       8       A      No.

       9       Q      Do you take any medications on a regular

      10   basis that you did not take today?

      11       A      No.

      12       Q      Do you have any health problems or medical

      13   conditions that might affect your ability to testify

      14   accurately today?

      15       A      I do have health issues, but I don't think

      16   it would get in the way.

      17       Q      Health issues beyond the injuries that you

      18   described earlier?

      19       A      Uh-huh.     Yes.

      20       Q      Okay.     Any mental health issues?

      21       A      No.

      22       Q      Any debilitating pain?

      23       A      No.

      24       Q      Can you think of any other reason that you

      25   might not be able to give your best testimony today?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 25 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 24

       1       A      No.

       2       Q      Earlier you gave me your home address.      How

       3   long have you lived there?

       4       A      Like six years, about.

       5       Q      Is that where you resided when you worked

       6   for Real Water?

       7       A      Yes.

       8       Q      Do you live there with anyone else?

       9       A      My family.

      10       Q      And who constitutes your family?

      11       A      My parents, mom and dad, my brother and

      12   sister and me.

      13       Q      What's your mom's name?

      14       A      Maria.

      15       Q      Does she have the same last name as you?

      16       A      Hernandez, yeah.

      17       Q      And your dad's name?

      18       A      Juan.

      19       Q      Is his last name Hernandez?

      20       A      Echevarria.

      21       Q      And your brother?

      22       A      Juan Jose Echevarria.     They're also --

      23       Q      So --

      24       A      Sorry.   They're also Echevarria Hernandez.

      25       Q      Like you?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 26 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 25

       1       A      Yeah.

       2       Q      But you shorten it to Echevarria?

       3       A      Yeah.

       4       Q      How old is your brother?

       5       A      He is 18.

       6       Q      And what's your sister's name?

       7       A      Jasmine.

       8       Q      And how old is she?

       9       A      She just turned 22.

      10       Q      And how old are you?

      11       A      27.

      12       Q      What's your date of birth?

      13       A      May 7, 1989.

      14       Q      Any other siblings besides the ones that

      15   live at your home?

      16       A      Yeah.   I have two half.    They're older.   One

      17   lives in California, and the other one lives here

      18   with her husband and kids.

      19       Q      At the time that you worked for Real Water,

      20   did either of those half siblings live at your home

      21   address with you?

      22       A      Not the other two.     Just the ones that are

      23   still there.

      24       Q      Okay.   Anybody else that resided at --

      25   resides at the home with you now or when you were




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 27 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 26

       1   working for Real Water?

       2       A      No.

       3       Q      Did you live anywhere other than this

       4   address during the time that you worked for Real

       5   Water?

       6       A      No.

       7       Q      Did you have a boyfriend at the time that

       8   you worked for Real Water?

       9       A      Yes.

      10       Q      And did you stay with him?

      11       A      Very seldom.     He stayed more with me than I

      12   stayed with him.

      13       Q      Do you still have the same boyfriend?

      14       A      Yes.

      15       Q      Okay.     What's his name?

      16       A      Justin Pearce, P-E-A-R-C-E.

      17       Q      Thanks.

      18       A      Uh-huh.

      19       Q      And what's Justin's address?

      20       A      I don't know the physical address.     I know

      21   how to get there, but . . .

      22       Q      Okay.     And how long have you been dating

      23   Justin?

      24       A      Almost two years.

      25       Q      And you were dating him the entire time that




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 28 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 27

       1   you worked at Real Water?

       2       A      On and off.

       3       Q      Where were you born?

       4       A      Puerto Vallarta, Mexico.

       5       Q      And when did you come to the United States?

       6       A      When I was about two years old, so '91.

       7       Q      Are you a naturalized citizen or a natural

       8   citizen?

       9       A      I'm a naturalized.

      10       Q      And when did you become naturalized?

      11       A      That's when you become a citizen, right?

      12       Q      Yep.

      13       A      I want to say I was 10.

      14       Q      Okay.   And just for identification purposes,

      15   what is your social security number?

      16       A      XXX-XX-0836.

      17       Q      That will be redacted from anything that we

      18   filed, just so you're clear.

      19       A      Okay.

      20       Q      You're currently unmarried?

      21       A      Yes.

      22       Q      Have you ever been married?

      23       A      No.

      24       Q      Do you have any children?

      25       A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 29 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                                Page 28

       1          Q      Can you describe your educational history

       2   for me?

       3          A      Graduated high school in 2006.

       4          Q      What high school did you go to?

       5          A      Valley High School.

       6          Q      Here in Las Vegas?

       7          A      Yes.

       8          Q      Did you have any post high school education?

       9          A      I'm in college right now, community college,

      10   CSN.

      11          Q      CSN?

      12          A      Uh-huh.

      13          Q      And how long have you been attending CSN?

      14          A      Since 2006.     I took a break due to health

      15   problems.

      16          Q      So now I'm going to ask you about your

      17   health problems.          What are your health problems that

      18   caused you to take a break?

      19          A      I have ulcerative colitis and Crohn's.           And

      20   it arose other problems:          anemia.     I had pyoderma

      21   gangrenosa on both feet.

      22          Q      I'm sorry.     What was that?

      23          A      Pyoderma gangrenosa.

      24          Q      Do you how to spell that?

      25          A      Yeah.     It's P-Y-O-D-E-R-M-A.     And then




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 30 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 29

       1   gangrenosa, it's G-A-N-G-R-E-N-O-S-A, I think.

       2       Q      So, I mean, it looks like gangrene.        Is that

       3   what it is?

       4       A      Kind of.     Basically MRSA.

       5       Q      MRSA?

       6       A      Uh-huh.     On both feet.   And then I had MRSA

       7   other areas, ulcers other areas of my body.

       8       Q      Any other health conditions?

       9       A      No.

      10       Q      Is your ulcerative colitis, Crohn's under

      11   control now?

      12       A      Yes.

      13       Q      Okay.     What about your anemia?

      14       A      It's under control as well.

      15       Q      Okay.     Were both -- were all three of those

      16   actually under control while you worked at Real

      17   Water?

      18       A      The ulcerative colitis, I had just started a

      19   couple months prior on a new medication, so I was

      20   still having flare-ups and still not doing really

      21   well.

      22       Q      When were you diagnosed with ulcerative

      23   colitis?

      24       A      October of 2008.

      25       Q      And what about Crohn's?        When were you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 31 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                          Page 30

       1   diagnosed with that?

       2          A      It was Crohn's 2012.     It was always colitis,

       3   and then a doctor said he saw Crohn's.          And then it's

       4   just back and forth, so they said I have both.

       5          Q      What about anemia?     When were you diagnosed

       6   with that?

       7          A      2008, the same time I got diagnosed with

       8   ulcerative colitis.

       9          Q      And the pyoderma gangrenosa, when were you

      10   diagnosed with that?

      11          A      2011 and 2012.    Once one foot was done, the

      12   other one came up -- it arose.

      13          Q      And is the pyoderma gangrenosa under control

      14   now?

      15          A      Yes.

      16          Q      Was it under control while you worked at

      17   Real Water?

      18          A      Yeah.

      19          Q      Is the pyoderma gangrenosa a chronic

      20   condition?

      21          A      Yes.    But if I have the UC, the ulcerative

      22   colitis under control, I should have -- the

      23   medication also controls the pyoderma gangrenosa --

      24          Q      Okay.

      25          A      -- along with other infections.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 32 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 31

       1       Q      Any other education?

       2       A      Just college right now.

       3       Q      What is your major area of study?

       4       A      Just fine arts, basics.

       5       Q      General education courses?

       6       A      Yeah.

       7       Q      And when you say "fine arts," are you

       8   studying a particular type of art?

       9       A      It's just to get my associate's in fine arts

      10   so I can transfer to UNLV.

      11       Q      Do you have any legal education?

      12       A      No.     I took -- I started a course to become

      13   a paralegal, but it wasn't -- I never finished it.

      14       Q      One course?

      15       A      It was -- I ordered a book, but I only read

      16   like ten pages, if that.       Again, I got sick so I had

      17   to stop.

      18       Q      And when was that?

      19       A      2012, I think.

      20       Q      Was there a particular reason that you

      21   wanted to do a paralegal course?

      22       A      I was working as a legal assistant for

      23   Lawyers Group of Nevada who then got bought out by

      24   Keith Gregory & Associates.

      25       Q      How long did you work for Lawyers Group of




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 33 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 32

       1   Nevada?

       2       A       Like six months.

       3       Q       What kind of law did they practice?

       4       A       Lawyers Group did personal injury.     That was

       5   their main course.      And then Keith Gregory &

       6   Associates, I want to say did the same thing, but I

       7   think they also did something with mortgage, if I'm

       8   not mistaken.

       9       Q       And after Lawyers Group of Nevada was bought

      10   out by Keith Gregory, did you continue to work for

      11   Keith Gregory?

      12       A       Yes.

      13       Q       And that six months that you stated, is that

      14   for both?

      15       A       Yes.

      16       Q       Was that in 2012?

      17       A       Yes.   2000- -- I want to say August 2012 to

      18   February of 2013.

      19       Q       And why did you leave that job?

      20       A       Because I was getting -- I was having

      21   very -- like flare-ups back to back.

      22       Q       Flare-ups with your ulcerative colitis and

      23   Crohn's?

      24       A       Uh-huh.   Yes.

      25       Q       Do you have any medical education?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 34 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                         Page 33

       1         A      No.     Other than being a patient, everything

       2   I've learned from that.

       3         Q      Do you have any family members with a legal

       4   education or background?

       5         A      No.

       6         Q      Do you have any family members with a

       7   medical education or background?

       8         A      Yes.     My dad.

       9         Q      Can you explain to me what his background

      10   is?

      11         A      A general doctor, Mexico.      So he has his

      12   degree to be a doctor.          He was a doctor.

      13         Q      He was a doctor in Mexico?

      14         A      Yeah.

      15         Q      Did he ever practice in the United States?

      16         A      No.

      17         Q      Did he have a job in the medical field in

      18   the United States?

      19         A      No.

      20         Q      I'm just curious.      What's he do?

      21         A      Right now?

      22         Q      Uh-huh.

      23         A      He works for a radio -- a new radio station,

      24   Hispanic radio station as a salesperson.

      25         Q      Can you give me an overview of your




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 35 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 34

       1   employment history since high school?

       2       A      My first job was PacSun at the Fashion Show

       3   Mall.

       4       Q      And what were the dates of your employment?

       5       A      That was December of 2006 to April of 2007.

       6       Q      And were you just like a retail salesperson?

       7       A      Yeah.   And I was temporary, holiday.

       8       Q      So you -- so the reason you left was because

       9   the temporary position was completed?

      10       A      Yeah.   And I was going to school at the

      11   time.

      12       Q      Are you currently enrolled in any classes?

      13       A      Yes.

      14       Q      What are the classes you're currently

      15   enrolled in?

      16       A      Communications 102 and Psychology 102.      I

      17   just finished my first eight-week course, which was

      18   Political Science 101.

      19       Q      That's a good time to take a political

      20   science course.

      21       A      Yeah.

      22       Q      Okay.   So where did you go after PacSun?

      23       A      I went to a bank.   Its name is WestStar

      24   Credit Union.

      25       Q      And what were your dates of employment at




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 36 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 35

       1   WestStar Credit Union?

       2       A      I think it was from a little after I left

       3   PacSun to, I want to say, August.     I was only working

       4   there for a few months, like maybe four months.

       5       Q      So from approximately April of 2007 to --

       6   sorry -- August of 2007?

       7       A      Yeah.   I think so.

       8       Q      And what was your position at WestStar

       9   Credit Union?

      10       A      A teller.

      11       Q      Why did you leave that job?

      12       A      The hours didn't match with school at the

      13   time.

      14       Q      So it's safe to say that they wanted you to

      15   work during the day, but you also need to go to class

      16   during the day?

      17       A      Yeah.

      18       Q      So where did you go after WestStar Credit

      19   Union?

      20       A      Mygrant Glass.

      21       Q      Mygrant?

      22       A      Yeah.

      23       Q      M-I-G --

      24       A      M-Y-G-R-A-N-T.

      25       Q      Mygrant Glass.   And what kind of business is




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 37 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 36

       1   that?

       2       A      It's an auto glass wholesaler.

       3       Q      And what were your dates of employment?

       4       A      December 12, 2007, until, I want to say,

       5   July 3rd of 2012.

       6       Q      What was your position there?

       7       A      I was a customer service representative.

       8       Q      What were the job duties of a customer

       9   service representative at Mygrant Glass?

      10       A      I took orders online and through the phone.

      11   I took orders from people who were physically there,

      12   customers.       I would order parts from other states.

      13   Sometimes I would deliver.       I handled the cash, the

      14   credit card transactions.       That's basically the gist

      15   of it.

      16       Q      What was your rate of pay at Mygrant Glass

      17   when you left?

      18       A      $13.25.

      19       Q      Per hour?

      20       A      Yeah.

      21       Q      Was there overtime associated with that job?

      22       A      No.     They didn't like it.

      23       Q      Did you work 40 hours a week?

      24       A      Yes.     Towards the end, I was working between

      25   20 to 30 because they were really slow and I was




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 38 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 37

       1   getting sick.

       2       Q      Why did you leave Mygrant Glass?

       3       A      Due to health problems.    They got severe.

       4   That's when my foot problems started arising on the

       5   second one.

       6       Q      What was your next job?

       7       A      Keith Gregory & Associates -- or Lawyers

       8   Group, Keith Gregory & Associates.

       9       Q      And you said you worked there approximately

      10   August of 2012 to February of 2013, correct?

      11       A      Yes.    And I didn't work full-time.   It was

      12   more of a part-time job.

      13       Q      Approximately how many hours?

      14       A      20 to 30, if that.

      15       Q      20 to 30 per week?

      16       A      Yeah.

      17       Q      What was your rate of pay?

      18       A      $10.00 or $10.50.    I want to say $10.50.

      19       Q      And why did you leave there?

      20       A      Because of my health problems and I just

      21   didn't really like working there.

      22       Q      What didn't you like about working there?

      23       A      There was a lot of drama in the office

      24   between them, each other.

      25       Q      Between the staff, between the lawyers,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 39 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 38

       1   between who?

       2       A      The staff.     And I was a legal assistant, but

       3   I also did what paralegals should -- they should have

       4   been doing.

       5       Q      So you believe you were doing duties that

       6   weren't within your position?

       7       A      Yes.

       8       Q      What was your next job?

       9       A      Real Water.

      10       Q      Do you remember the dates of your employment

      11   at Real Water?

      12       A      March of 2015 until October of 2015.

      13       Q      So that means that there was approximately a

      14   two-year gap in employment for you?

      15       A      Yes.

      16       Q      What did you do during that two-year gap in

      17   employment?

      18       A      In and out of hospitals.     And that's

      19   basically it.

      20       Q      So you were treating your ulcerative

      21   colitis?

      22       A      Yes.

      23       Q      And Crohn's?

      24       A      Yes.

      25       Q      And the anemia too?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 40 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                          Page 39

       1       A      Yes.     The anemia has been controlled for a

       2   little longer than the colitis.           I want to say five

       3   years now.       It was controlled two, three years after

       4   I got first diagnosed.

       5       Q      Okay.     Were you attending classes during

       6   that two years?

       7       A      No.     No.    No, I wasn't.

       8       Q      Did you do any type of employment or

       9   anything other than treat medically during those two

      10   years?

      11       A      No.

      12       Q      Okay.     Have you had any employment since

      13   Real Water?

      14       A      No.

      15       Q      And why not?

      16       A      I've been looking.       It's pretty hard to get

      17   one right now or . . .

      18       Q      What have you done to try to secure a job?

      19       A      I have a couple of online files, profiles,

      20   Monster, Career Builder, Indeed.           And then I go to

      21   individually, you know, individual sites for wherever

      22   I want to apply.         I get notifications of the job

      23   posting, and I go online and do it.

      24       Q      Approximately how many jobs have you applied

      25   for since August of 2015 when you were terminated




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 41 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 40

       1   from Real Water?

       2       A      October?

       3       Q      I'm sorry.     October.

       4       A      I probably applied to maybe five to seven,

       5   like every two weeks.       Even low-paying jobs.

       6       Q      You did those online?

       7       A      Yes.

       8       Q      By e-mail?

       9       A      Yes.     Or their website, their application

      10   process.

      11       Q      Do you have electronic or documentary

      12   evidence of these applications?

      13       A      Not me personally, but it should be in the

      14   system, in their systems.        I have all the

      15   notifications of available positions, but . . .

      16       Q      Have you had any interviews?

      17       A      I had, I want to say, three since October,

      18   but they've all been for either door-to-door jobs or

      19   you have to pay for them or you -- I forget the name,

      20   something Solutions.       I think it's -- and it's been

      21   the same type of job position.

      22       Q      Okay.     Do you know the names of the

      23   companies that you've had the interviews with?

      24       A      No.     One is -- one is Advantage -- Advantage

      25   Solutions.       Let me think.   I'm not really sure.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 42 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 41

       1       Q      Were you given offers of employment by any

       2   of these companies?

       3       A      No.

       4       Q      So since your termination from Real Water,

       5   you've had no offers of employment?

       6       A      One.     The door-to-door one.

       7       Q      What would you have been selling

       8   door-to-door?

       9       A      Solar panels, I think.

      10       Q      And how much would that job have paid?

      11       A      Commission.

      12       Q      Commission only?

      13       A      Yeah.

      14       Q      Were you given a written offer of

      15   employment?

      16       A      No.

      17       Q      Do you remember the name of the company?

      18       A      No.     I know where it's at, but I don't

      19   remember the name of it.

      20       Q      Where is it at?

      21       A      Sahara and Buffalo, I believe.     This was

      22   probably December of last year.

      23       Q      December of 2015?

      24       A      Yeah.

      25       Q      And you turned it down?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 43 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 42

       1       A      Yes.

       2       Q      Why did you turn it down?

       3       A      Because I'm not a good salesperson.

       4       Q      What makes you say you're not a good

       5   salesperson?

       6       A      I'd be really embarrassed going

       7   door-to-door.

       8       Q      Why?

       9       A      I guess you can say I'm a little shy when it

      10   comes to people I don't know.

      11       Q      Did the shyness impact your ability to do

      12   your job at Real Water?

      13       A      No.

      14       Q      Why not?

      15       A      I didn't have to sell anything, I mean,

      16   other than -- the product was already there.      I just

      17   had to sell more of it, which is a lot easier than

      18   having to convince someone to buy the product that

      19   you've never had before.

      20       Q      Have you ever been convicted of a felony?

      21       A      No.

      22       Q      Have you ever been convicted of a

      23   misdemeanor involving deception or failure to tell

      24   the truth?

      25       A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 44 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 43

       1       Q      You're making a claim for religious

       2   discrimination, correct?

       3       A      Yes.

       4       Q      What is your personal definition of

       5   religious?

       6       A      My personal definition?

       7       Q      Yes.

       8       A      Believing in a higher power, following -- I

       9   believe in God, so I follow his beliefs.

      10       Q      Anything else?

      11       A      That's the gist of it.

      12       Q      So something is religious if it deals with a

      13   higher power or God?

      14       A      Yes.    In my mind, God specifically.

      15       Q      Do you ascribe to a particular religion?

      16       A      Catholic.    I was baptized Catholic, and I

      17   grew up Catholic.

      18       Q      Do you currently attend a Catholic church?

      19       A      No.    Well, I go to Catholic and/or

      20   Christian.

      21       Q      When is the last time you went to church?

      22       A      Two weeks ago, Sunday.

      23       Q      And what church did you go to?

      24       A      The one -- it's called Prince of Peace,

      25   Charleston and Christy Lane.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 45 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 44

       1       Q      Is that a Catholic church?

       2       A      It's a Christian church.

       3       Q      You said you were baptized Catholic.     Did

       4   you have a First Communion?

       5       A      I did.

       6       Q      Did you attend catechism classes?

       7       A      I did.

       8       Q      How long did you attend catechism classes?

       9       A      A couple of years.   It was on Lake Mead

      10   and -- let's see.     Lake Mead and -- I don't remember

      11   the other street.     Not McDaniel, but it's the one

      12   right above it.     There's a church that's a Catholic

      13   church, and then the school's right in the same

      14   parking lot.

      15       Q      Did you go to a Catholic school?

      16       A      No.

      17       Q      Catechism, you did course work in religion,

      18   correct?

      19       A      Yes.

      20       Q      And how old were you when you did the

      21   catechism classes?

      22       A      I did my first communion when I was, I

      23   believe, 14, 13 or 14.     So it takes about two years.

      24   So when I was like 11.

      25       Q      So you did the catechism classes before you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 46 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 45

       1   took First Communion?

       2       A      Yes.

       3       Q      Would you say that you are familiar with the

       4   bible?

       5       A      Yes.

       6       Q      And do you have a working knowledge of the

       7   Ten Commandments?

       8       A      Yes.

       9       Q      Do you have a basic understanding of the

      10   teachings of the Old Testament?

      11       A      No.

      12       Q      Do you have a basic understanding of the

      13   teachings of the New Testament?

      14       A      Kind of.

      15       Q      When you were working at Real Water, did you

      16   attend church services?

      17       A      Not every Sunday, but, yes.

      18       Q      How often would you say you attended church

      19   services while working at Real Water?

      20       A      Once or twice a month.     And I would go to --

      21   there's a temple on Stewart and, I want to say, 10th.

      22       Q      By temple, like a Catholic church or --

      23       A      It's just a temple.   Anyone's welcome.

      24       Q      Just a Christian church?

      25       A      Yeah.   It's more like a small, little, like,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 47 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 46

       1   temple.

       2       Q       Do you consider Scientology to be a

       3   religion?

       4       A       Yes.

       5       Q       And why do you believe that?

       6               MS. BARRAZA:    Objection.   Form.

       7   BY MS. GINAPP:

       8       Q       What do you base that belief upon?

       9       A       That I believe that it's a religion?

      10       Q       Yes.

      11       A       Because they don't believe in God.     And they

      12   believe in something; they just don't believe in God.

      13       Q       So -- okay.    And how do you know that?

      14       A       I didn't know that up until -- I didn't even

      15   know what Scientology really was until I started

      16   working at Real Water.

      17       Q       Would you say you know what it is now?

      18       A       Not 100 percent, but I have a little more

      19   knowledge than I did before.

      20       Q       Okay.   And where did you get that knowledge

      21   from?

      22       A       Well, I first heard the name of Ron L.

      23   Hubbard [sic] the first week, the first day and then

      24   the first week at Real Water.       And I had no idea who

      25   he was.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 48 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 47

       1       Q       And in what context did you hear -- first

       2   hear the name L. Ron Hubbard at Real Water?

       3       A       In one of the videos and then in one of the

       4   courses, but mainly the video is what made me kind of

       5   hear him or hear who he was and then made me kind of

       6   Google him a little bit.

       7       Q       Which videos was his name in?

       8       A       I want to say it was The Way to Happiness

       9   or Just Do It.       It was between Just Do It, The Way to

      10   Happiness and the 10X Power, I believe.

      11       Q       The 10X Rule?

      12       A       Yes.

      13       Q       Was that a video?

      14       A       Yes.    I'm not exactly sure if that's the

      15   name of the video, but something -- I think it was

      16   like 10X.     I don't remember.    I don't recall.    I'm

      17   pretty sure it was On The Way to Happiness, though.

      18       Q       Okay.    And what was said about L. Ron

      19   Hubbard?

      20       A       They mentioned his name and who he was.

      21       Q       What did they say about who he was?

      22       A       This is a long time ago.    I don't really

      23   recall.

      24       Q       Were you offended by hearing his name and

      25   who he was?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 49 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 48

       1       A      At the moment, I had no idea who he was.

       2       Q      So the question was, were you offended by

       3   hearing his name and who he was?

       4       A      No.

       5       Q      At some point, did you become offended by

       6   hearing L. Ron Hubbard's name?

       7       A      I wouldn't say I was offended.

       8       Q      Did you have other emotions by hearing his

       9   name?

      10       A      I felt like I really didn't want to learn

      11   anything about him.

      12       Q      Why did you feel like you didn't want to

      13   learn anything about L. Ron Hubbard?

      14       A      Because when I Googled him, I noticed he was

      15   Scientology based.    And I believe in God.   I grew up

      16   believing in God.

      17       Q      Have you ever looked up the basic tenets of

      18   Scientology?

      19       A      No.

      20       Q      If I asked you to explain the basic beliefs

      21   of the Church of Scientology, could you do that?

      22       A      No.

      23       Q      Have you ever read anywhere that they don't

      24   believe in God?

      25       A      Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 50 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 49

       1       Q      Where did you read that?

       2       A      When I Google Ron L. Hubbard [sic] and

       3   Scientology, it says they do not believe in God.

       4       Q      What website?

       5       A      I don't know.   Like I don't exactly know the

       6   actual website, but I know I read when the whole Tom

       7   Cruise thing was going crazy about him being

       8   Scientologist, it kept saying everywhere that they

       9   don't believe in God also.

      10       Q      Did you ever talk to any member of the

      11   Church of Scientology to see if that was true?

      12       A      No.

      13       Q      Why not?

      14       A      I'm not really interested in Scientology.

      15       Q      So just to summarize what you know about the

      16   Church of Scientology is from websites you don't

      17   remember that you Googled and stuff you read about

      18   Tom Cruise?

      19       A      Yeah.   A lot on the websites.   I don't know

      20   the website, the actual website, but I'm sure if you

      21   Google his name and Scientology, it comes up.

      22       Q      Did you ever go to the Church of Scientology

      23   website?

      24       A      No.

      25       Q      Why not?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 51 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 50

       1       A      I don't know.   Because I didn't.

       2       Q      Can you describe to me what you believe that

       3   you know about the beliefs of the Church of

       4   Scientology?

       5       A      They -- they believe basically like the

       6   man's world.

       7       Q      What does that mean?

       8       A      From what I understood On the Way to

       9   Happiness and stuff that I read online is that

      10   it's -- they don't -- they don't believe in a higher

      11   power.    They believe in someone, from the

      12   understanding that I got from it.     They don't believe

      13   in, you know, God or Buddha or anything, but they

      14   believe in a certain person, and they follow that one

      15   person and his beliefs.

      16       Q      Do you know any members of the Church of

      17   Scientology?

      18       A      No.   Personally, no.

      19       Q      Have you ever been to an actual Church of

      20   Scientology location?

      21       A      No.

      22       Q      Have you ever been asked to go to a Church

      23   of Scientology location?

      24       A      No.

      25       Q      And just to be clear, no one at Real Water




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 52 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 51

       1   ever asked you to go to the Church of Scientology?

       2       A      Correct.

       3       Q      No one at Real Water ever encouraged you to

       4   go to the Church of Scientology, correct?

       5       A      Correct.

       6       Q      Have you ever read any literature from the

       7   Church of Scientology about their beliefs?

       8       A      Books?

       9       Q      Yes, literature.

      10       A      No.     I don't know if -- like me personally,

      11   to get a book from somewhere?

      12       Q      Have you ever --

      13       A      No, I haven't.

      14       Q      Just to be clear, let me ask the question

      15   one more time.       Have you ever read any literature

      16   from the Church of Scientology?

      17       A      I'm not sure if it's like -- I mean, what I

      18   read in the course books, but I don't think -- it

      19   doesn't say Church of Scientology.

      20       Q      The course books don't say Church of

      21   Scientology?

      22       A      Yeah.     But it does -- I don't recall which

      23   book, but I know that I did see something based on

      24   Scientology.       That's basically -- I've never

      25   personally gotten any books anywhere about




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 53 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 52

       1   Scientology.

       2       Q      No one -- other than the course books that

       3   have a reference to Scientology, no one at Real Water

       4   ever gave you any literature that described the

       5   beliefs of the Church of Scientology, correct?

       6       A      Correct.     Can you repeat that one more

       7   time --

       8       Q      Sure.

       9       A      -- please?

      10       Q      Other than what you say the course books

      11   that reference Scientology, no one at Real Water ever

      12   gave you any literature describing the beliefs of the

      13   Church of Scientology, correct?

      14       A      Correct.

      15       Q      Have you ever watched any movies,

      16   documentaries or TV shows about the Church of

      17   Scientology?

      18       A      Personally, no.

      19       Q      Why did you qualify that with the term

      20   "personally"?

      21       A      Like me?

      22       Q      Uh-huh.

      23       A      I haven't by myself.     After I saw some

      24   videos at Real Water, they were Scientology.

      25       Q      It's your opinion that the videos that you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 54 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                        Page 53

       1   watched were Scientology videos at Real Water?

       2         A      Yes.

       3         Q      Did they identify themselves as being

       4   Scientology videos?

       5         A      No.    But when I Googled Scientology videos,

       6   The Way of Happiness was one of them.         And then a

       7   couple other ones, but I've never -- I didn't watch

       8   them or anything.

       9         Q      There were a couple other videos that showed

      10   up when you Googled Scientology videos?

      11         A      Yes.

      12         Q      What was the Google search that you did to

      13   find these Scientology videos?

      14         A      Scientology video.

      15         Q      And why were you looking up Scientology

      16   videos if you weren't interested in Scientology as a

      17   religion?

      18         A      Because of the day after I -- the day I saw

      19   those videos at Real Water, when I got home, because

      20   of his name, Ron L. Hubbard.

      21         Q      Do you remember the website that you visited

      22   that said that The Way to Happiness was a Scientology

      23   video?

      24         A      No.    It was just a list.   And that wasn't

      25   it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 55 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 54

       1       Q       These Google searches that you have

       2   testified about, were they done on your personal

       3   computer?

       4       A       No.

       5       Q       Where were they done?

       6       A       School.

       7       Q       At CSN?

       8       A       Yes.

       9       Q       And did you have to log in to the computer?

      10       A       No.

      11       Q       Besides the videos that you watched at Real

      12   Water, have you ever watched any other movies,

      13   documentaries, TV shows or videos about the Church of

      14   Scientology?

      15       A       I YouTubed it.   It was so long ago.   I don't

      16   remember the name of it.      It was like a 15-minute

      17   video.

      18       Q       What was it about?

      19       A       The Church of Scientology.   It was talking

      20   negatively about Scientology, how people who follow

      21   Scientology, what they like, the sort of stuff they

      22   talk about, and how when you remove yourself from the

      23   Scientology church, what they are capable of doing.

      24       Q       Did you ever try to seek out anything that

      25   spoke positively about Scientology?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 56 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                     Page 55

       1         A       No.

       2         Q       Why not?

       3         A       I only saw the videos that I was told to

       4   watch at Real Water, and that's -- I mean, when I saw

       5   that, I just -- that's when I just started Googling

       6   it.       And I didn't really -- I'm not really

       7   interested.

       8         Q       When you YouTubed it and watched this

       9   15-minute video, was that on your personal computer

      10   or the CSN computer?

      11         A       It was on my personal laptop.

      12         Q       And was that -- when did you watch that

      13   video?

      14         A       Like March of last year.

      15         Q       Do you still have that personal laptop?

      16         A       Yes.

      17         Q       Have you ever seen the documentary Going

      18   Clear?

      19         A       Yes.   Actually, I have.

      20         Q       And when did you see that?

      21         A       I don't recall the date, but I did see it

      22   after I got introduced to Ron L. Hubbard.

      23         Q       Was it before or after or during your

      24   employment with Real Water?

      25         A       During.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 57 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 56

       1       Q      Do you recall whether it was at the

       2   beginning, middle or end of your employment with Real

       3   Water?

       4       A      I don't recall.     I want to say it was maybe

       5   middle, towards the end.

       6       Q      And how did you learn about Going Clear?

       7       A      Again, I think that's -- I think that's one

       8   of the ones that popped up when I Googled -- or

       9   YouTubed it.      That was the one that kept coming up

      10   when I Googled Scientology videos as well.       I

      11   remember that name.

      12       Q      Have you ever read any books, articles,

      13   online stories or anything similar about the Church

      14   of Scientology other than what we have already

      15   discussed?

      16       A      No.

      17       Q      Have you ever heard the term "suppressive

      18   person"?

      19       A      No.    Suppressive person?

      20       Q      Yep.

      21       A      I don't think so.

      22       Q      Did anyone at Real Water ever talk to you

      23   about the beliefs of the Church of Scientology?

      24       A      Not -- not -- not formally.

      25       Q      When you say "not formally," what does that




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 58 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 57

       1   mean?

       2       A       I guess it wasn't on the record, if you want

       3   to say that.

       4       Q       Did someone speak to you about the beliefs

       5   of the Church of Scientology informally while you

       6   were an employee at Real Water?

       7       A       Well, between me and Bonnie, we would talk

       8   about it.

       9       Q       Bonnie Mercado?

      10       A       Yes.

      11       Q       What was Bonnie's position at Real Water?

      12       A       A brand embassador.   But she was considered,

      13   I guess a couple of weeks after I started, considered

      14   a supervisor for me.

      15       Q       And what did you guys talk about with regard

      16   to the beliefs of the Church of Scientology?

      17       A       How they believe the way they do their

      18   business.     It wasn't anything like -- it was a

      19   general kind of.

      20       Q       So when you say how "they do their

      21   business," are you talking about Real Water?

      22       A       Yeah.

      23       Q       So Real Water does their business according

      24   to religious beliefs?

      25       A       Scientology.   She -- Bonnie constantly told




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 59 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 58

       1   me that they follow Scientology.      And they had a

       2   couple of boards on their walls following -- I don't

       3   know what it's called, but the step process that some

       4   of the Scientology believes.

       5       Q      So that was just what Bonnie told you?

       6       A      Yeah.    And there's a couple of boards on the

       7   wall.

       8       Q      You saw them?

       9       A      It doesn't say Scientology.

      10       Q      Did you look at the boards?

      11       A      Yes.

      12       Q      How many boards?

      13       A      There's one.

      14       Q      One board?

      15       A      Yeah.

      16       Q      Okay.    And what does it talk about?

      17       A      It doesn't talk about anything.    It's about

      18   the way the employees and how they're -- who's above

      19   who and who's below who and like -- I don't know how

      20   to explain it.

      21       Q      The organizational structure?

      22       A      Yes.

      23       Q      So there's a board that's like a diagram of

      24   the organizational structure of Real Water?

      25       A      Yes.    And I guess you can say that kind of




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 60 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 59

       1   makes sense to the videos, that board.

       2       Q      What videos?

       3       A      The videos we watched in the first day.

       4       Q      Which video?

       5       A      The one -- not The Way to Happiness.    I want

       6   to say it's the 10X one or the Just Do It.

       7       Q      Does the organizational structure board

       8   reference -- it doesn't reference Scientology,

       9   correct?

      10       A      No.

      11       Q      No, it does or, no, it doesn't?

      12       A      It doesn't.

      13       Q      Okay.   And does it have names of people at

      14   Real Water on it?

      15       A      Yes.

      16       Q      And their positions?

      17       A      Yes.

      18       Q      Does it say anything about God?

      19       A      No.

      20       Q      So it's basically an outline of the business

      21   structure of the company?

      22       A      Yeah.

      23       Q      And you tie it back to Scientology because

      24   of a video you watched on the first day?

      25       A      Well, it wasn't -- not only it just matched,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 61 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                          Page 60

       1   but it was also what Bonnie said too.

       2         Q      Well, what did Bonnie say that matched it

       3   up?

       4         A      She said that this is what Scientology

       5   follows.

       6         Q      Scientology follows an organizational

       7   structure of a business?

       8         A      Yeah.

       9         Q      Did you ever do any independent

      10   investigation to find out if that was true?

      11         A      No.

      12         Q      And when you were talking with Bonnie about

      13   it, did she actually say that that's what Scientology

      14   follows or did she say that that's what the business

      15   management technology follows?

      16         A      No.     She said Scientology.     She said that

      17   Real Water believes in Scientology and that they are

      18   based off Scientology and how they do their ways is

      19   how -- you know, Scientology based.

      20         Q      Okay.     Do you believe that to be illegal if

      21   they did do that?

      22                MS. BARRAZA:     Objection.     Calls for legal

      23   speculation.

      24   BY MS. GINAPP:

      25         Q      I just want your personal belief.        Do you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 62 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                         Page 61

       1   believe that to be illegal?

       2          A      I mean, you can't force religion on someone

       3   else.

       4          Q      Okay.    Did anybody at Scientology ask you to

       5   believe in a different God?

       6          A      Anyone at Scientology?

       7          Q      Sorry.    At Real Water -- I apologize -- at

       8   Real Water ask you to believe in a different God?

       9          A      No.

      10          Q      Did they ask you not to believe in God?

      11          A      Even if they did, I wouldn't stop.

      12          Q      That wasn't the question.    The question is,

      13   did they ask you to not believe in God?

      14          A      They didn't ask me that.

      15          Q      Did they ever at any time ask you your

      16   personal religious beliefs?

      17          A      Bonnie did.

      18          Q      Okay.    And in what context did Bonnie ask

      19   you?

      20          A      She said, "What are you?"

      21                 And I said, "What do you mean?"

      22                 "Do you believe in God?"

      23                 And I said, "Yeah."

      24                 She goes, "What are you?"

      25                 And I said, "Catholic."




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 63 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 62

       1       Q      And did she say what she was?

       2       A      No.

       3       Q      As you sit here today, do you have any

       4   knowledge of what Bonnie Mercado's personal religious

       5   beliefs are?

       6       A      Well, I do know she believes in God.       She

       7   did tell me that multiple times, and how she hates

       8   the fact that Real Water follows Scientology.         And

       9   she said, "I do believe in God, but because it's my

      10   job, I'm going to do as I should."

      11       Q      Did Bonnie ever encourage you to become a

      12   member of the Church of Scientology?

      13       A      No.

      14       Q      Did she ever encourage you to do any extra

      15   Scientology work?

      16       A      Extra?    Just the course work, but, no.

      17              (Defendant's Exhibit A was marked for

      18               identification.)

      19   BY MS. GINAPP:

      20       Q      The court reporter has handed you what's

      21   been marked as Exhibit A.      Will you please take a

      22   look at it.      And when you're ready to discuss it, let

      23   me know.

      24       A      Okay.

      25       Q      Do you recognize this document?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 64 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 63

       1       A      Yes.

       2       Q      And what is it?

       3       A      It's my complaint.

       4       Q      And to the best of your knowledge, is it a

       5   true and accurate copy of the complaint you filed

       6   initiating this lawsuit?

       7       A      Yes.

       8       Q      Did you review and approve this document

       9   before it was filed?

      10       A      Yes.

      11       Q      I would like you to specifically look at

      12   Paragraphs 14 through 35 under the General

      13   Allegations section.     Please read through them.    And

      14   when you're finished reading through them, let me

      15   know.

      16       A      Okay.

      17       Q      Is this a true recitation of the facts

      18   supporting your claim for religious discrimination

      19   against Real Water?

      20       A      What was that?    Can you repeat that again?

      21       Q      Sure.   Is this a true recitation of the

      22   facts supporting your claim of religious

      23   discrimination against Real Water?

      24       A      Yes.

      25       Q      Is anything in Paragraphs 14 through 35 not




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 65 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 64

       1   true?

       2       A      No.

       3       Q      And just --

       4       A      Except No. 23 is to "do any more courses,"

       5   not videos.

       6       Q      So it should say, "Ms. Mercado mentioned the

       7   courses repeatedly over the next five months, but

       8   plaintiff politely declined to watch any more

       9   courses," or "do any more courses"?

      10       A      Do more -- "do any more courses."

      11       Q      Okay.     Any others that need to be revised?

      12       A      No.

      13       Q      And just to be clear, No. 20 is an accurate

      14   statement of the facts supporting your claim for

      15   religious discrimination against Real Water?

      16       A      Number 20?

      17       Q      Uh-huh.

      18       A      Yes.

      19       Q      And No. 21 is an accurate statement?

      20       A      Yes.

      21       Q      And No. 26 is an accurate statement?

      22       A      Yes.    Can I add that --

      23              MS. BARRAZA:     There's no question pending.

      24   BY MS. GINAPP:

      25       Q      Do you have something to add?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 66 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                         Page 65

       1          A      Well, I mean, I just wanted to let you know

       2   that, like, I -- like, at the first day, I wasn't

       3   aware, you know, up until after I heard his name.

       4   And then the courses weren't until a week later or

       5   the Friday after the day I started.

       6          Q      The courses or the videos?

       7          A      The videos were the first day, and then the

       8   courses were the Friday after I started.

       9          Q      And when you say the courses were the Friday

      10   after you started, what do you mean by they were the

      11   Friday after you started?

      12          A      That's when -- that was the first day that I

      13   went.

      14          Q      How many -- go ahead.

      15          A      Sorry.    She said that every Friday we would

      16   get off -- get off a little earlier to go do the --

      17   to do the courses in that back room.

      18          Q      Who's "she"?

      19          A      Bonnie.

      20          Q      Did Bonnie say you had to do the courses, or

      21   did she just encourage you to do the courses?

      22          A      At first she said I had to.    And I had the

      23   conversation with her that I didn't really want to; I

      24   didn't feel comfortable doing it because I believe in

      25   God.       And she said, "Yeah, so do I, but it's a




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 67 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 66

       1   quarter.    Every course is a quarter."

       2              And I told her, "I don't need that quarter."

       3       Q      Then after that she didn't make you do it

       4   anymore?

       5       A      Well, she kept bringing it up for weeks, and

       6   I kind of played it off.

       7       Q      How many weeks did she bring it up?

       8       A      The first month.     I want to say the first

       9   two months.

      10       Q      And then after that she let it go?

      11       A      No.     She would bring it up seldomly.

      12       Q      How often?

      13       A      Every couple weeks.     She would say, "Hey,

      14   you haven't done any of your courses."

      15              And I said, "Okay."     I kept telling them I'm

      16   not really interested.

      17       Q      And what would she say when you said you

      18   weren't interested?

      19       A      She said that, "You should do it.     You would

      20   get a 25-cent raise."

      21              And I'm like, "I don't really need the

      22   25-cent raise."

      23              And she said she's already up to $14.      So

      24   she probably did eight courses.

      25       Q      Okay.     So the only thing she'd say in




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 68 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                         Page 67

       1   response was that you could get a raise?

       2       A       Yeah.

       3       Q       So she was encouraging you to do the course

       4   work so that you could get paid more money?

       5       A       Yeah.

       6       Q       Did she ever say you should do it because of

       7   Scientology?

       8       A       Well, no, she didn't say that exactly.      She

       9   just told me that I should do it because everyone

      10   else does it, along with the 25 cent-raise.

      11       Q       Were you ever disciplined for not doing it?

      12       A       No, not disciplined.     No.

      13       Q       Just to be clear, when I say "not doing it,"

      14   I mean you were never disciplined for not doing the

      15   course work, correct?

      16       A       Not -- like, I wasn't getting in trouble or

      17   anything.     I did get a little bit of like a -- I

      18   don't know, I guess rude in a way, but not really

      19   disciplined, no.

      20               (Defendant's Exhibit B was marked for

      21                identification.)

      22   BY MS. GINAPP:

      23       Q       You have been handed what's been marked as

      24   Exhibit B.     Take a look at it.     And once you're done

      25   looking at it, let me know.        We can discuss it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 69 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 68

       1       A      Yeah.

       2       Q      Do you recognize this document?

       3       A      I do.

       4       Q      And what is it?

       5       A      This is an EEOC, the complaint I filed.

       6       Q      I believe it's called a Charge of

       7   Discrimination.       Does that sound familiar?

       8       A      Yeah.

       9       Q      Okay.     It says Charge of Discrimination at

      10   the top.     Do you see that?

      11       A      Uh-huh.

      12       Q      Is that a yes?

      13       A      Yes.

      14       Q      And at the bottom, it says December 15,

      15   2015, and there's a signature there.       Is that your

      16   signature?

      17       A      Yes.

      18       Q      Do you remember signing this document?

      19       A      I do.

      20       Q      Did you review and approve this document

      21   before you signed it?

      22       A      I did.

      23       Q      And is this a true and accurate copy of the

      24   Charge of Discrimination you filed with the Nevada

      25   Equal Rights Commission and the EEOC?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 70 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 69

       1       A       Yes.

       2       Q       And on the first two pages of the document

       3   is a summary of your claims of discrimination,

       4   correct?

       5       A       Correct.

       6       Q       And is it a true recitation of the facts

       7   supporting your claim for discrimination?

       8       A       It is.

       9       Q       All right.     And this charge of

      10   discrimination identifies two claims:           one for

      11   disability discrimination and one for religious

      12   discrimination, correct?

      13       A       Correct.

      14       Q       But you are only pursuing the religious

      15   discrimination claim, correct?

      16       A       Yeah.

      17       Q       Do you know why you haven't filed a lawsuit

      18   with regard to the disability discrimination claim

      19   alleged in this document?

      20               MS. BARRAZA:     Object, to the extent it calls

      21   for attorney-client privileged conversations.

      22               So you can answer as long as your answer

      23   doesn't include any conversations between your

      24   attorney.

      25               ///




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 71 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 70

       1   BY MS. GINAPP:

       2       Q      I'm not asking for what you talked about

       3   with your attorney.    I'm asking for what your

       4   understanding is.

       5       A      My understanding is that it's both.

       6       Q      Did you have an attorney at the time that

       7   you filed the Charge of Discrimination with the EEOC

       8   and the Nevada Equal Rights Commission?

       9       A      I already had them.   I just -- I had to do

      10   this first.

      11       Q      So the question is, at the time that you

      12   filed this Charge of Discrimination, had you retained

      13   an attorney?

      14       A      Yes.

      15       Q      And was it the firm that you're currently

      16   with?

      17       A      Yes.

      18       Q      How did you find the attorneys that

      19   currently represent you?

      20       A      My personal injury referred me to them.

      21       Q      And when did you retain counsel for this

      22   litigation?

      23       A      It was October.   I got fired October 9th, so

      24   it was about -- it was, I want to say, the week after

      25   that.    It was on a Friday, so the week after.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 72 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 71

       1       Q      The week following your termination?

       2       A      Yes.

       3       Q      You were terminated on a Friday?

       4       A      Uh-huh.

       5       Q      And the next week you got counsel?

       6       A      Yes.

       7       Q      And was it the beginning of the week, the

       8   middle of the week, or the end of the week?

       9       A      I don't recall the exact date, but I think

      10   it was either Monday through Wednesday.

      11       Q      At the time, on the day that you were

      12   terminated, did you believe that you had been

      13   discriminated against based upon your religious

      14   beliefs?

      15       A      Yes.

      16              MS. GINAPP:    I'm going to take, like, a

      17   ten-minute break.    Is that okay?

      18              THE WITNESS:    Okay.

      19              THE VIDEOGRAPHER:       The time is approximately

      20   10:44 a.m.    We are going off the record.

      21              (Off the record.)

      22              THE VIDEOGRAPHER:       The time is approximately

      23   10:58 a.m.    We are back on the record.

      24   BY MS. GINAPP:

      25       Q      Can you describe the application and hiring




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 73 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 72

       1   process that you went through at Real Water?

       2       A      I applied online, Craigslist.

       3       Q      You found them on Craigslist?

       4       A      Yes.   I think they called me a month or so

       5   later.    And then I interviewed with Jeremy.

       6       Q      With who?

       7       A      Jeremy.

       8       Q      Jeremy Edgel?

       9       A      Yes.   And then after that he said -- he said

      10   that I was hired except I had to be seen by his boss,

      11   which is Anthony at the time.     I'm not sure if he

      12   still works there.     And then I got hired.

      13       Q      When you say you had to be seen, what does

      14   that mean?

      15       A      Interview me.

      16       Q      Oh, okay.   So you were interviewed by

      17   Anthony too?

      18       A      Uh-huh.

      19       Q      Do you remember what Anthony's last name is?

      20       A      No.

      21       Q      Do you remember what Anthony's position was?

      22       A      I want to say he was a sales manager.

      23       Q      Do you know what Jeremy's position was?

      24       A      At the time, no.   I know he was higher than

      25   Jeremy.    He was Jeremy's higher.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 74 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 73

       1       Q      During either of the interviews, did either

       2   Jeremy or Anthony discuss with you the organizational

       3   structure or the management techniques that the

       4   company used?

       5       A      No.

       6       Q      Did either of them discuss Scientology?

       7       A      No.

       8       Q      Did either of them discuss L. Ron Hubbard?

       9       A      No.

      10       Q      Were there any discussions regarding the

      11   owners of the company?

      12       A      Not really.   He just -- Jeremy just

      13   mentioned that Brent Jones was in politics, as well

      14   as Jeremy.

      15       Q      That Jeremy was in politics as well?

      16       A      Uh-huh.

      17       Q      Was he any more specific than that?

      18       A      No.

      19       Q      Prior to interviewing with Real Water, did

      20   you know that Brent Jones was in politics?

      21       A      No.

      22       Q      Other than the political science course that

      23   you took, do you have any connections to any

      24   politicians in the state of Nevada?

      25       A      (Witness shakes head.)




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 75 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 74

       1       Q       Is that a no?

       2       A       I'm just friends with Ruben Kihuen.     I've

       3   known him since my first year of college, since he

       4   was a counselor there or an advisor.

       5       Q       At CSN?

       6       A       Yeah.

       7       Q       And I've seen his name on TV, but I can't

       8   remember.     Do you know how to spell his last name?

       9       A       K-I-H-U-E-N.

      10       Q       And he is currently running for political

      11   office, right?

      12       A       Correct.

      13       Q       Any other politicians that you know?

      14       A       No.

      15       Q       And just so the record is clear, do you know

      16   Brian Sandoval?

      17       A       No.

      18       Q       Do you know who he is?

      19       A       No.

      20       Q       Do you know Mark Hutchison?

      21       A       No.

      22       Q       Do you know who he is?

      23       A       No.     I only heard of Brian Sandoval because

      24   of the media story that was on there.        I believe that

      25   was him.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 76 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                            Page 75

       1          Q      Okay.

       2          A      But I've never heard of him before that.

       3          Q      So how long was the interview process?       Did

       4   you meet with Jeremy and Anthony on the same day?

       5          A      No.     I met with Jeremy first and then

       6   Anthony a couple days later.

       7          Q      Okay.     And how long after you met with

       8   Anthony were you offered the job?

       9          A      That same day, that I could start the next

      10   day.

      11          Q      And did you start the next day?

      12          A      Yes.

      13          Q      So were you offered the job on approximately

      14   March 9, 2015?

      15          A      No.     It was like March -- I want to say it

      16   was around St. Patty's Day.          It feels like

      17   March 15th.          Was March 9th the day he interviewed me?

      18          Q      That's what I'm asking.     Do you recall?

      19          A      I don't think so, no.     I think it might have

      20   been prior to that, a little bit before the 15th.

      21          Q      Did you do any paperwork on the day that you

      22   were offered the job?

      23          A      Not the day of, no.

      24          Q      The next day?

      25          A      When I -- the first day I -- he gave me a




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 77 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                          Page 76

       1   packet.

       2         Q       Who's he?     Anthony?

       3         A       Jeremy.

       4         Q       Oh, Jeremy.

       5         A       Anthony wasn't -- he was there but he was

       6   busy, so Jeremy was the one who took care of me.          He

       7   gave me a packet to skim through, and then I signed

       8   it.       And then he put the videos on.     And then I gave

       9   it back to him, the packet.

      10         Q       So Jeremy put the videos on?

      11         A       He told the receptionist, Yanyeli, to do so.

      12   And he left, and she was the one switching the

      13   videos.       But he gave me -- or he told her to give me

      14   some -- the questionnaire of each video.

      15         Q       Okay.     So let me make sure I understand the

      16   timeline.

      17                 So the day after you were offered the job,

      18   you came in to work for your first day, correct?

      19         A       I want to -- if I'm not -- if I'm mistaken,

      20   it was -- it was a few days later.          But I know that

      21   when I started was around, like, St. Patrick's Day.

      22   I'm almost sure it was the 15th, between -- around

      23   there.

      24         Q       Okay.     So do you remember what time you came

      25   in?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 78 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                            Page 77

       1       A      I'm not -- it was in the morning.        I don't

       2   recall.

       3       Q      And as soon as you came in, you were met by

       4   Jeremy and he gave you a packet of documents?

       5       A      It was, yeah, the -- just, I guess, their

       6   packet.    And he told me to skim through it and sign

       7   it and just give it back to him.       So I did.     And

       8   immediately right after that he gave me -- he told

       9   Yanyeli to put the videos on and then the paperwork

      10   that goes with each video.

      11       Q      Okay.     What was in the packet?

      12       A      It was about what my job duties were.           And

      13   then I want to say one of the packets was talking

      14   about, like, independent contracting.          But I didn't

      15   sign that because I was working for Real Water, not

      16   independent contractor.

      17       Q      Was there the traditional new hire

      18   paperwork, like what's your address?

      19       A      Yeah.

      20       Q      Contact information?

      21       A      Uh-huh.

      22       Q      Tax forms?

      23       A      Yes.

      24       Q      Did you have to fill out the I-9 immigration

      25   form with the -- where you have to present your




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 79 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 78

       1   social security card or other documentation that

       2   shows you're eligible to work?        Was that then?

       3       A       I don't think so.     I just gave him my ID.

       4   Yeah, I don't even think I gave him my social

       5   security.     I don't remember giving them.      I might

       6   have.    I doubt it.

       7       Q       All right.     Anything else that you can

       8   recall that was in that packet?

       9       A       No.

      10       Q       And then you did the videos.      And then after

      11   you watched the videos, what did you do then?

      12       A       After each video, I had to answer questions

      13   about them.

      14       Q       So after you did all that, all the

      15   questionnaires for the videos, what -- what did you

      16   do after the videos were over and the questionnaires

      17   were done?

      18       A       I went home.

      19       Q       How long were you there that day?

      20       A       Almost a full eight hours.      I want to say it

      21   was seven to eight hours.

      22       Q       And all you did was watch the videos and

      23   fill out paperwork?

      24       A       Yeah.   And then lunch break.

      25       Q       How long did it take you to fill out the




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 80 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 79

       1   paperwork?

       2       A      Like 15 minutes, if that, after every video.

       3       Q      No.   I'm sorry.   The initial paperwork that

       4   he gave you, the packet of stuff, the new hire

       5   paperwork.

       6       A      20 minutes, give or take.

       7       Q      And how long -- how many videos did you

       8   watch?

       9       A      I want to say between four and five.

      10       Q      And how long, with the questionnaires at the

      11   end, did it take you to get through all the videos?

      12       A      Each question -- each paper, you mean?

      13       Q      No.   Just total, the videos.    How long did

      14   it take for you to watch all of the videos total and

      15   do the paperwork?

      16       A      Probably like five, six hours.     Because each

      17   video was about an hour, give or take.

      18       Q      And then you had a lunch break in there.

      19   How long did you take for lunch?

      20       A      I don't remember if it was -- I think it was

      21   an hour, yeah.

      22       Q      Did anyone go to lunch with you, or did you

      23   go by yourself?

      24       A      No.   I went by myself.

      25       Q      Did you meet anybody that day?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 81 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 80

       1       A       No.

       2       Q       Did you have any training at all with regard

       3   to your job duties besides what you read in the

       4   initial packet?

       5       A       Not that day.

       6       Q       What about the following day?

       7       A       Yeah.   I started training with Bonnie.

       8       Q       And what did that training involve?

       9       A       Showing me where the stores were at and

      10   showing me what I should be doing and how I should be

      11   doing it.

      12       Q       Did you have any more paperwork on that

      13   second day?

      14       A       I don't think so.

      15       Q       Was all of your training individual

      16   training?

      17               MS. BARRAZA:    Objection.   Form.

      18               THE WITNESS:    With her?

      19   BY MS. GINAPP:

      20       Q       Yeah.   Was it just you and Bonnie?

      21       A       Yes.

      22       Q       Did you have any training that occurred in a

      23   group of people?

      24       A       No.

      25               (Defendant's Exhibit C was marked for




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 82 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 81

       1                identification.)

       2   BY MS. GINAPP:

       3       Q      You have been handed what's been marked as

       4   Exhibit C.     Please take a look at it.   And when

       5   you're ready to discuss it, let me know.

       6       A      Okay.

       7       Q      Do you recognize this document?

       8       A      I do.

       9       Q      What is it?

      10       A      It was the thing I signed the first day.

      11       Q      Okay.    It's titled "Employment Agreement"?

      12       A      Right.

      13       Q      And you signed it on the first day that we

      14   discussed.     It was part of the packet; is that

      15   correct?

      16       A      Yes.

      17       Q      And if you turn to the last page, is that

      18   your signature on the last page?

      19       A      Yes.

      20       Q      And it's dated 3/10/15, correct?

      21       A      Correct.

      22       Q      So it would be fair to say your first day

      23   was probably March 10, 2015, then?

      24       A      Yes.

      25       Q      And looking at the rest of the document, is




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 83 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 82

       1   this your handwriting on the rest of the document?

       2       A       Yes.

       3       Q       And there are various places where there's

       4   initials.     And those are your initials with marks

       5   that you made, correct?

       6       A       Correct.

       7       Q       And did you read this document before you

       8   marked your initials and signed it?

       9       A       I skimmed it.

      10       Q       You had the opportunity to read it?

      11       A       Yes.     I did read it.   I skimmed it, then I

      12   read it.

      13       Q       I want to direct your attention to

      14   Paragraph 3.        Could you please read paragraph marked

      15   3 aloud for the record.

      16       A       "L. Ron Hubbard.     I understand that your

      17   company utilizes L. Ron Hubbard's management

      18   technology in operating the company.         I understand

      19   that L. Ron Hubbard is also the founder of

      20   Scientology, which is an applied religious

      21   philosophy.        I understand, however, that

      22   Mr. Hubbard's management technology is quite separate

      23   and distinct from the religious aspects of

      24   Scientology."

      25       Q       And you read that paragraph the day that you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 84 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 83

       1   executed this agreement, correct?

       2       A      Correct.

       3       Q      And you read that paragraph before you

       4   marked your initials directly after it, correct?

       5       A      Yes.

       6       Q      And you understand that by initialing, you

       7   were representing that you understood the contents of

       8   the paragraph, correct?

       9       A      Correct.

      10       Q      And you also understand that by initialing,

      11   you were representing that you agreed to the terms of

      12   the paragraph, correct?

      13       A      Correct.

      14       Q      Did you understand the terms of the

      15   paragraph?

      16       A      No.    I didn't know who he was.

      17       Q      Anything else that you did not understand?

      18       A      No.

      19       Q      Did you ask anybody who L. Ron Hubbard was

      20   before you signed or initialed this agreement?

      21       A      No.

      22       Q      Why not?

      23       A      I didn't even think about it.

      24       Q      Would it be fair to say that at the time

      25   that you signed this -- read this paragraph and




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 85 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 84

       1   initialed it that it wasn't important to you who

       2   L. Ron Hubbard was?

       3       A      Correct.

       4       Q      And when you signed this provision, did you

       5   agree with the terms of the paragraph?

       6       A      For that specific paragraph?

       7       Q      Uh-huh.

       8       A      Yeah.

       9       Q      Did you ever express any disagreement to

      10   anyone prior to signing it?

      11       A      No.

      12       Q      And did you understand at the time that you

      13   initialed this paragraph that you were signing a

      14   contract and by signing it, you were agreeing to be

      15   bound by the terms of the paragraph?

      16       A      Correct.

      17       Q      Could you please read Paragraph No. 4 aloud

      18   for the record.

      19       A      "Management technology.   I have been

      20   informed that this management technology involves

      21   principles of organization and its operation,

      22   including the handling of personnel, finance,

      23   promotion, production, planning and organizational

      24   correction, among other things.

      25              "As outlined in the summary of L. Ron




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 86 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 85

       1   Hubbard's management technology, which I read, I

       2   further understand and agree that in order to

       3   properly function as a team member of your company, I

       4   will be required to read, understand and apply this

       5   management technology to my job and through my work

       6   performance will be evaluated in terms of my ability

       7   to do this.

       8              "I agree that should I have any objection

       9   whatsoever in applying this management technology, I

      10   will immediately put this objection in writing, give

      11   it personally to my senior supervisor, in order that

      12   my personal problem can be handled swiftly and to be

      13   benefit of all concerned" -- "and to the benefit of

      14   all concerned."

      15       Q      And at the time you were given this

      16   agreement, you read this paragraph, correct?

      17       A      Yes.

      18       Q      And by initialing after the paragraph, you

      19   were certifying that you had read it, correct?

      20       A      Correct.

      21       Q      And you understand that by initialing after

      22   the paragraph, you were representing that you

      23   understood the contents of the paragraph, correct?

      24       A      Correct.

      25       Q      And you also understand that by initialing




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 87 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                          Page 86

       1   after the paragraph, you were representing that you

       2   agreed to the terms of this Paragraph No. 4, correct?

       3       A       Correct.

       4       Q       Did you understand the terms of the

       5   paragraph when you initialed it?

       6       A       I guess that one goes towards the other one;

       7   I had no idea who Ron Hubbard was.          I figured it was

       8   just . . .

       9       Q       You figured it was just what?

      10       A       Nothing important.     I mean, I figured it was

      11   just something they used.

      12       Q       Okay.     Was that the only thing that you

      13   didn't understand about Paragraph 4?

      14       A       Yes.

      15       Q       And, again, you didn't express that -- you

      16   didn't express that to anyone at Real Water, correct?

      17       A       No.     I mean, no, I didn't see anyone other

      18   than Yanyeli that day, besides, you know, in the

      19   morning and then when I left.

      20       Q       But Jeremy gave you the packet, correct?

      21       A       Right.     But he walked out.

      22       Q       Right after giving you the packet?

      23       A       Yeah.     And then I gave it back to him when I

      24   was done.

      25       Q       Okay.     But he came back before you started




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 88 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 87

       1   watching the videos?

       2       A      Yeah.

       3       Q      Okay.     And at that time, did you express

       4   any -- to him that you didn't understand anything,

       5   part of this agreement?

       6       A      I did not.

       7       Q      At the time you signed this, did you agree

       8   with the terms of the paragraph?

       9       A      At the time, yes.

      10       Q      At the time you signed this, did you

      11   understand that management technology -- the

      12   management technology referenced would be the same as

      13   the course work you could do for raises?

      14       A      No, I did not understand that.

      15       Q      What did you understand management

      16   technology to be at the time that you signed this

      17   agreement?

      18       A      A way they did their business.     I didn't

      19   think any deep into it when I first signed this.

      20       Q      And you didn't ask anybody what management

      21   technology referenced?

      22       A      No.     I figured I would learn along the way.

      23       Q      All right.     Can you read Paragraph 6 into

      24   the record.

      25       A      "Initial training.     This may exclude




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 89 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                         Page 88

       1   bottling employees.     During my probationary period, I

       2   understand and agree that I must complete the

       3   following training courses."

       4       Q      And then there's a list, A through D, with

       5   empty lines, correct?

       6       A      Correct.

       7       Q      And then you initialed, correct?

       8       A      Correct.

       9       Q      And did you take this to mean that you

      10   wouldn't have any initial courses that you were

      11   required to take?

      12       A      Honestly, I just signed it.

      13       Q      Did you ask anybody what it meant?

      14       A      No.

      15       Q      And you understand that by initialing, you

      16   were representing that you understood the contents

      17   and the terms of Paragraph 6?

      18       A      What was that?

      19       Q      By -- I'm sorry.     You understand that by

      20   initialing this Paragraph 6 that you were

      21   representing that you understood the terms and

      22   contents of Paragraph 6?

      23       A      I thought -- yeah.     I thought it was just

      24   training courses as in me going out and learning.         I

      25   didn't know it had anything to do with anything else.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 90 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 89

       1       Q      And you understand that by initialing,

       2   you're representing that you agreed to the terms of

       3   the paragraph?

       4       A      Yeah.

       5       Q      And you did not express to anybody any -- at

       6   Real Water any misunderstanding or anything that you

       7   did not understand regarding the terms of

       8   Paragraph 6, correct?

       9       A      Correct.

      10       Q      And you did not specifically ask anybody at

      11   Real Water regarding the meaning of training courses

      12   prior to initialing, correct?

      13       A      Correct.

      14       Q      Can you read Paragraph 7 into the record,

      15   please.

      16       A      "Additional training.   After becoming a

      17   regular employee, I understand that I will be

      18   provided the opportunity to take further courses

      19   which will be essential for my advancement, increased

      20   earnings in the company."

      21       Q      And you read this paragraph prior to

      22   initialing it, correct?

      23       A      Yes.

      24       Q      And you initialed the paragraph after

      25   reading it, correct?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 91 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 90

       1       A      Yes.

       2       Q      And you understand that by initialing, you

       3   were representing that you understood the terms and

       4   contents of Paragraph 7, correct?

       5       A      Correct.

       6       Q      And you understand that by initialing, you

       7   were representing that you agreed to the terms of

       8   Paragraph 7, correct?

       9       A      Correct.

      10       Q      Did you understand the terms of Paragraph 7

      11   at the time that you initialed it?

      12       A      Yes.

      13       Q      And did you agree with the terms of

      14   Paragraph 7 at the time you initialed it?

      15       A      Yes.

      16       Q      Did you understand that this paragraph

      17   states that the course work was optional?

      18              MS. BARRAZA:   Objection.   The document

      19   speaks for itself, and it misstates what the document

      20   says.

      21   BY MS. GINAPP:

      22       Q      I'm asking what you understood.

      23       A      What I took from this?

      24       Q      Uh-huh.

      25       A      I mean, when I read it, I figured it would




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 92 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 91

       1   be different courses, like learning about the product

       2   or learning about, you know, what they do or what my

       3   position would be.

       4       Q      And you did not relate this to the prior

       5   provisions regarding management technology at all?

       6       A      Correct.

       7       Q      And you didn't ask anybody what the further

       8   courses meant prior to initialing, correct?

       9       A      No.   Correct.

      10       Q      Can you please read Paragraph 8 into the

      11   record.

      12       A      "Freedom of religion.   I understand that

      13   your company does not permit efforts to convert its

      14   employees to any religion on its premises.     The

      15   position of your company is that its offices are a

      16   place of work.     It is a policy of your company that

      17   its management methods as developed by Mr. Hubbard

      18   are purely secular and intended for the smooth

      19   expansion of its business and are not be used by its

      20   staff or executives in an effort to convert persons

      21   to any religion.

      22              "Any violation of this rule should be

      23   reported at once in writing to my senior supervisor

      24   or other individual designation by your company.

      25   Nothing in the rules should be construed as violating




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 93 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 92

       1   a person's freedom of religion while on his/her

       2   time."

       3       Q      "His or her own time," correct?

       4       A      Correct.   "While on his or her time" -- or

       5   "own time."

       6       Q      And you read this provision at the time that

       7   you signed the agreement, correct?

       8       A      Correct.

       9       Q      And you initialed the paragraph after you

      10   read it, correct?

      11       A      Correct.

      12       Q      And you understand that by initialing, you

      13   were representing that you understood the contents

      14   and terms of Paragraph 8, correct?

      15       A      Correct.

      16       Q      And that you were agreeing to be bound by

      17   the terms of Paragraph 8, correct?

      18       A      Correct.

      19       Q      And did you understand the terms of this

      20   paragraph at the time that you initialed it?

      21       A      Half of it.

      22       Q      What didn't you understand?

      23       A      I didn't know who he was, Mr. Hubbard, Ron

      24   L. Hubbard.

      25       Q      Anything else?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 94 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 93

       1       A      No.    Everything else I understand.

       2       Q      And did you agree with the terms of the

       3   paragraph at the time you signed it?

       4       A      Yes.

       5       Q      And do you understand that this paragraph

       6   requires you to report in writing any claim of

       7   discrimination based upon religion that you might

       8   have had while an employee at Real Water?

       9       A      Yes.

      10       Q      And did you do that?

      11       A      No.

      12       Q      And why didn't you do that?

      13       A      I did it verbally, but I didn't do it in

      14   paper because even if I did, I don't think it would

      15   have gotten anywhere.

      16       Q      And what do you base that belief on?

      17       A      They're very unorganized.

      18       Q      And what is that opinion based on?

      19       A      The way the desks are and the way that every

      20   time I would turn a paper in, either it would get

      21   lost or they didn't know where it was or it would

      22   take them a minute to find it.      A lot of things were

      23   scattered.

      24       Q      So it was based upon your supposition?

      25       A      Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 95 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 94

       1       Q      Did anybody ever tell you that they made a

       2   written report of discrimination that was lost or

       3   misplaced or not acted upon?

       4       A      No.

       5       Q      Do you dispute the statement in this

       6   paragraph that Mr. Hubbard's management technology is

       7   quite separate and distinct from the religious

       8   aspects of Scientology?

       9       A      Do I understand?

      10       Q      Do you dispute it?

      11       A      Yes.

      12       Q      Okay.     And what is the basis of that

      13   dispute?

      14       A      From what I've seen and read.

      15       Q      Online?

      16       A      Yeah.

      17       Q      From those Google searches that you

      18   referenced earlier?

      19       A      Yes.    And it's still part of Scientology.

      20       Q      What do you mean?     And what's still part of

      21   Scientology?

      22       A      The management technology.

      23       Q      And are you an expert on Scientology?

      24       A      No.

      25       Q      Okay.     So what do you base that belief on




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 96 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 95

       1   that it's part of Scientology?

       2       A      It says on the paragraph that it's part of

       3   Ron L. Hubbard's work.

       4       Q      So is it your opinion that simply because

       5   someone authors religious text that any other text

       6   that they may author always have to be religious in

       7   nature?

       8       A      No.     But -- no.

       9       Q      So would you agree with me that it is

      10   possible that L. Ron Hubbard authored works that are

      11   religious in nature but also authored works that are

      12   not religious in nature?

      13       A      Yes.

      14       Q      And it is possible that the management

      15   technology referenced here was part of the secular or

      16   not religious works that he authored?

      17       A      Okay.

      18       Q      No.     Is that possible, yes or no?

      19       A      Yes.

      20       Q      What did you do to verify the authenticity

      21   of the websites that you visited regarding

      22   Scientology when you did your Google searches?

      23       A      The authenticity?

      24       Q      Yeah.

      25       A      What do you mean by that?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 97 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 96

       1       Q       How did you verify that the information that

       2   you found on those websites was correct?

       3       A       I figured it was online.   I mean, a lot of

       4   things aren't real online, but there's also a lot of

       5   things, important things that are real online.         And

       6   that's, like, the number one information area.

       7       Q       Okay.   So how did you determine that the

       8   websites that you were visiting were the ones that

       9   were real and authentic and correct?

      10       A       Well, most of the websites that I -- they

      11   had similar writing.      Like they talked about the

      12   similar things.

      13       Q       So because they were saying the same things,

      14   you decided they must be true?

      15       A       Yes.

      16       Q       Did you Google any of the actual websites to

      17   see if any other websites had said that they were

      18   false?

      19       A       No.

      20       Q       Can you read Paragraph 10 aloud into the

      21   record.

      22       A       "Mediation and binding arbitration of

      23   disputes.     I understand and agree that any claim of

      24   any nature arising out of or connected with my

      25   employment at the company, including but not limited




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 98 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 97

       1   to termination, claims of age discrimination, sexual

       2   harassment, religious discrimination or civil rights

       3   violations, and questions of arbitrability shall be

       4   resolved through a two-step dispute resolution

       5   process administered by the applicable procedures of

       6   American Arbitration Association, involving first

       7   mediation before a mediator or panel of mediators

       8   followed, if necessary, by final and binding

       9   arbitration before the same, or if requested by

      10   whether party another panel from the AAA.

      11              "By entering this" -- "by entering into this

      12   contract, both parties are giving up their

      13   constitutional right to have any such dispute decided

      14   in a court of law before a judge or jury and instead

      15   are accepting the use of mediation and arbitration.

      16              "The demand of mediation must be in writing

      17   and must be made by the agreed party within 60 days

      18   of the event giving rise to the demand.     A request

      19   for dispute resolution from the initiate form" -- "a

      20   request for dispute resolution form to initiate the

      21   mediation process can be made available from our

      22   company.    The mediation and, if necessary, the

      23   arbitration shall take place in the state and country

      24   in which I was employed by our company at the time of

      25   the event giving rise to the demand.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 99 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 98

       1              "The arbitration's power to award a remedy

       2   shall be limited to awarding monetary damages for

       3   lost wages and/or benefits and damages.     The decision

       4   of the arbitrator shall be binding and conclusive on

       5   the parties and not reviewable for error of law or

       6   legal reasoning of any kind.    Judgment upon the

       7   reward rendered by the arbitrator may be entered in

       8   any court handing proper jurisdiction.

       9              "Each party to the mediation arbitrator

      10   shall bear their own costs, including attorneys'

      11   fees.    The fees for the mediator or arbitrator should

      12   be paid equally by both parties.     If the company and

      13   I agree, we can choose a mediation to arbitration

      14   process other than the AAA.

      15              "I understand that nothing in this Paragraph

      16   10 of the employment agreement shall restrict the

      17   company's right to fully enforce through the

      18   appropriate courts the terms of any confidentiality

      19   agreement between the company and itself."

      20       Q      And you read this paragraph prior to

      21   initialing it, correct?

      22       A      Correct.

      23       Q      And you understand that by initialing, you

      24   were representing that you understood the terms of

      25   the paragraph, correct?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 100 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 99

       1        A       Correct.

       2        Q       And you understand that by initialing, you

       3    were representing that you agreed to the terms of the

       4    paragraph, correct?

       5        A       Correct.

       6        Q       And at the time that you initialed this

       7    paragraph and executed this agreement, did you

       8    understand the terms of Paragraph 10?

       9        A       No.

      10        Q       And did you ask anybody about the meaning of

      11    the terms of Paragraph 10 prior to initialing?

      12        A       I didn't.

      13        Q       And why did you not do that?

      14        A       I figured I would not need it.

      15        Q       Going back to the paragraph, looking at

      16    Paragraph 10 in the middle, there's a bolded section

      17    that states, "By entering into this contract, both

      18    parties are giving up their constitutional right to

      19    have any such dispute decided in a court of law

      20    before a judge or jury and instead are accepting the

      21    use of mediation and arbitration."

      22                Did you understand that sentence?

      23        A       I did not.

      24        Q       What don't you understand about that

      25    sentence?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 101 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 100

       1        A      I didn't know what it mean -- I didn't know

       2    what it meant.

       3        Q      At all?

       4        A      At all.

       5        Q      Specifically, what terms did you not

       6    understand?

       7        A      The whole thing.

       8        Q      You understood that this was a contract

       9    you're entering into, correct?

      10        A      Correct.

      11        Q      And you understood that "both parties" meant

      12    you and Real Water, correct?

      13        A      Correct.

      14        Q      And you understand what giving up means,

      15    correct?

      16        A      Yes.

      17        Q      Right.     And did you understand what a

      18    constitutional right was?

      19        A      Well, I'm not sure what it was talking

      20    about.

      21        Q      Okay.

      22        A      I wasn't 100 percent sure, actually, at all.

      23        Q      All right.     So it specifically says "their

      24    constitutional right to have such dispute."       You know

      25    what a dispute is, correct?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 102 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 101

       1        A      A disagreement?

       2        Q      Right.

       3        A      Yes.

       4        Q      "Decided in a court of law," you understand

       5    what "decided in a court of law" means, correct?

       6        A      Yes.

       7        Q      And you understand what the term -- what the

       8    phrase "before a judge or jury" means, correct?

       9        A      Yes.

      10        Q      Okay.    So you understood that this was an

      11    agreement where you gave up your right to have a

      12    disagreement between you and Real Water decided by a

      13    court of law before a judge or jury.       You understood

      14    that portion, correct?

      15        A      Up until now.     I didn't understand that

      16    before.

      17        Q      Did you make an attempt to understand it?

      18        A      No.

      19        Q      Why not?

      20        A      I figured I wouldn't need it.

      21        Q      Did you understand what mediation and

      22    arbitration was?

      23        A      No.

      24        Q      Did you ever ask anybody?

      25        A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 103 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                         Page 102

       1           Q      Did you ask anybody that night at home?

       2           A      No.

       3           Q      You'd previously worked at a law firm,

       4    correct?

       5           A      Correct.

       6           Q      And mediation was not something that you

       7    were familiar with from working at a law firm?

       8           A      No.    I was a legal assistant.   I just did

       9    paperwork.

      10           Q      You weren't involved in scheduling anything?

      11           A      No.

      12           Q      It was a personal injury firm; is that

      13    correct?

      14           A      Yes.

      15           Q      And were those cases subject to arbitration?

      16           A      I suppose.

      17           Q      What type of -- what type of paperwork did

      18    you do at the law firm?

      19           A      I just basically -- I, like, put it away.       I

      20    put it in order.         I sometimes helped with, like, the

      21    doctor's notes or, like, the doctor's stuff.          I would

      22    call doctors, but I wouldn't do anything legal on my

      23    end.

      24           Q      So you did filing?

      25           A      A little more than filing, yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 104 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 103

       1        Q       Okay.   So you did filing.    You did

       2    scheduling sometimes?

       3        A       No.

       4        Q       No.

       5                You worked in a law firm, and you didn't

       6    know the term "mediation"?

       7                MS. BARRAZA:   Objection.    Asked and

       8    answered.

       9    BY MS. GINAPP:

      10        Q       You can answer.

      11        A       Yeah, I didn't know.

      12        Q       And you worked in a law firm, but you didn't

      13    know the meaning of the term "arbitration"?

      14        A       Correct.

      15        Q       Okay.   And you didn't understand what it

      16    meant for some dispute to be decided in a court of

      17    law before a judge or a jury?

      18        A       I understood -- I mean, I didn't really look

      19    too deep into this paragraph at all.        I never thought

      20    I would need it.

      21        Q       Okay.   So when you signed it, you didn't

      22    really even think about it at all?

      23        A       I didn't.

      24        Q       As you sit here today, do you have any

      25    reason to believe you should not be bound by the




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 105 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 104

       1    terms of Paragraph 10?

       2        A      What do you mean?

       3        Q      You testified that this was a contract that

       4    you intended to be bound to, correct?

       5        A      This?

       6        Q      Yes.

       7        A      I'm not sure how to answer that.

       8        Q      You understand that this is a contract,

       9    correct?

      10        A      This?   Yes.

      11        Q      And when you signed it, you were intending

      12    to be bound by the terms of the contract, correct?

      13        A      Correct.

      14        Q      Is there any reason as you sit here today

      15    that you believe you should not be bound to the terms

      16    of Provision 10?

      17               MS. BARRAZA:   Objection.   Calls for a legal

      18    conclusion.

      19    BY MS. GINAPP:

      20        Q      I'm not asking for a legal conclusion.    I'm

      21    asking for your factual reasons why.

      22        A      Like, do I still go by this contract?

      23        Q      Yeah.

      24        A      Right now?

      25        Q      Yeah.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 106 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 105

       1        A      I don't work there anymore.

       2        Q      I understand.   But is there a reason that

       3    you believe that you should not be bound by this

       4    provision just because you don't work there anymore?

       5        A      Yeah.   I didn't take it serious.    I didn't

       6    really understand it.

       7               (Defendant's Exhibit D was marked for

       8                 identification.)

       9    BY MS. GINAPP:

      10        Q      Go ahead and review what has been handed to

      11    you and marked as Exhibit D.     And when you're ready

      12    to discuss it, please let me know.

      13        A      Okay.   Okay.

      14        Q      Do you recognize this document?

      15        A      Yes.

      16        Q      And can you tell me what it is?

      17        A      It was the other part of the employment

      18    agreement.

      19        Q      So this is another document titled

      20    "Employment Agreement" that you were presented with?

      21        A      Correct.

      22        Q      And is it your handwriting and your initials

      23    on all of these pages?

      24        A      Yes.

      25        Q      And turning to the back page, Page 9 of the




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 107 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                   Page 106

       1    document, marked Real Water 28, RW28, is that your

       2    signature?

       3        A      Yes.

       4        Q      Okay.    And it's dated 3/11/15, correct?

       5        A      Correct.

       6        Q      So you signed this the day after you signed

       7    Exhibit C, correct?

       8        A      Right.

       9        Q      Okay.    And so this would have been provided

      10    to you on your second day of employment?

      11        A      Yes.

      12        Q      And was it provided to you by Jeremy Edgel?

      13        A      Yes.

      14        Q      And did you read this document prior to

      15    signing it?

      16        A      I skimmed through it.

      17        Q      Did you have the opportunity to read it

      18    prior to signing it?

      19        A      Yes.

      20        Q      And can you explain the circumstances where

      21    this was presented to you to sign?

      22        A      I don't remember.    It might have been when I

      23    first went in there, the next day, when I first went

      24    into the office, which might have been after the run.

      25        Q      I'm sorry.    After the run?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 108 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 107

       1        A       Yeah, with me and Bonnie.

       2        Q       Okay.     So you believe that you went out on a

       3    run, meaning what?

       4        A       I met her at a store, and we drove in her

       5    car, in the car that she had.

       6        Q       A Real Water car?

       7        A       Uh-huh.

       8        Q       And then after that you went into the main

       9    office?

      10        A       Correct.

      11        Q       Alone or with Bonnie?

      12        A       I think she went -- I don't remember.     I

      13    think she -- she might have been with me.

      14        Q       Okay.     And you think it's then that you were

      15    given this document?

      16        A       Yes.

      17        Q       And do you remember if there was any

      18    discussion regarding this document when you were

      19    given it?

      20        A       No.     He just handed it to me, and I just

      21    signed it.

      22        Q       All right.     And you're sure it was Jeremy

      23    that handed it to you?

      24        A       No, I'm not sure.     It might have been the

      25    girl in the front, Yanyeli.        Or it could have been




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 109 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                       Page 108

       1    him.

       2           Q      Was there an HR person at the time that you

       3    started at Real Water?

       4           A      Yes, there was.    Melissa.

       5           Q      Melissa.

       6           A      She might have been the one who gave me

       7    this.

       8           Q      Do you have a recollection of Melissa giving

       9    you any paperwork or being involved in your new hire

      10    transition?

      11           A      Yeah.   I got the paperwork from Yanyeli, and

      12    then I turned it in to Melissa.

      13           Q      The paperwork on the first day?

      14           A      Yes -- no, not this one.

      15           Q      Not Exhibit C?

      16           A      Yeah.   I think I gave her my W -- my tax --

      17    my tax form.

      18           Q      And she may have given you this Exhibit D,

      19    correct?

      20           A      Correct.

      21           Q      And Melissa's last name is Nava; is that

      22    correct, or do you remember?

      23           A      I think so.

      24           Q      I'm sorry.    I can't remember if I asked, did

      25    anyone explain to you why they were giving you this




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 110 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 109

       1    paperwork?

       2        A      No.

       3        Q      Okay.     Did you ask why you were given this

       4    agreement?

       5        A      No.     I just figured it was -- since it was

       6    my first few days, I figured I needed to fill it out

       7    to work there.

       8        Q      All right.     When you looked at this

       9    document, did you understand it to be a contract?

      10        A      Yeah.     It seemed to be like the other one.

      11        Q      So you did understand it to be a contract,

      12    then?

      13        A      Yeah, basically.

      14        Q      All right.     Turn to the second page.   Can

      15    you read No. 3 aloud into the record.

      16        A      "I understand that company uses the

      17    management and ethics technologies developed by

      18    L. Ron Hubbard.       I understand that L. Ron Hubbard is

      19    the founder of Scientology, which is an applied

      20    religious philosophy.

      21               "However, I also understand that while these

      22    technologies were originally developed by Mr. Hubbard

      23    for immediate application within the Scientology

      24    religion, these technologies as applied at the

      25    company are separate and distinct from the




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 111 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 110

       1    Scientology religion."

       2        Q      And you read this paragraph or had the

       3    opportunity to read it prior to initialing it,

       4    correct?

       5        A      Correct.

       6        Q      And that is your -- those are your initials

       7    by marks that you made next to Paragraph 3?

       8        A      Yes.

       9        Q      Okay.   And you understand that by

      10    initialing, you were representing that you understood

      11    the terms of the paragraph?

      12        A      Yes.

      13        Q      And do you understand that by initialing,

      14    you were representing that you agreed to the terms of

      15    the paragraph?

      16        A      Correct.

      17        Q      Now, earlier you testified that after

      18    watching the videos the first day, you went home or

      19    to school and you Googled L. Ron Hubbard and

      20    Scientology, correct?

      21        A      Correct.

      22        Q      So when you initialed this paragraph, that

      23    was after you had done your Google search, correct?

      24        A      Yes.

      25        Q      Okay.   And you still went ahead and signed




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 112 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                   Page 111

       1    it, correct?

       2        A      Correct.

       3        Q      When you initialed Paragraph 3, did you

       4    understand the terms of the paragraph?

       5        A      Kind of.   Not really.

       6        Q      What didn't you understand?

       7        A      I still wasn't -- I didn't know what ethics

       8    technologies were.

       9        Q      Okay.   Did you ask anybody?

      10        A      No.

      11        Q      And why not?

      12        A      I just signed it.

      13        Q      And when you read Paragraph 3, did you agree

      14    with the terms of the paragraph?

      15        A      Yes.

      16        Q      Can you please read Paragraph 4 into the

      17    record.

      18        A      "I have been informed and understand that

      19    Hubbard management and ethics technologies as applied

      20    by company consists of principles of organization and

      21    its operation, including, but not limited to,

      22    personnel, finance, promotion, production, planning,

      23    statistics and organizational correction."

      24        Q      And you read this paragraph before

      25    initialing, correct?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 113 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 112

       1        A      Yes.

       2        Q      And you initialed the paragraph after

       3    reading it, correct?

       4        A      Yes.

       5        Q      And you understand that by initialing, you

       6    were representing that you understood the terms of

       7    Paragraph 4, correct?

       8        A      Correct.

       9        Q      And you understood that by initialing, you

      10    were representing that you agreed to the terms of

      11    Paragraph 4, correct?

      12        A      Correct.

      13        Q      Did you understand the terms of Paragraph 4

      14    when you signed it?

      15        A      No.     It was the same as 3.

      16        Q      Okay.     The ethics -- the management and

      17    ethics technology, you didn't understand that?

      18        A      Correct.

      19        Q      And you didn't ask anybody, correct?

      20        A      I didn't.

      21        Q      Did you agree with the terms of Paragraph 4

      22    when you signed it?

      23        A      Yes.

      24        Q      And on the date that you signed -- sorry.

      25    Strike that.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 114 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 113

       1               Can you read Paragraph 5 aloud into the

       2    record.

       3        A      "I further understand that in order to

       4    properly function as an employee of company, I will

       5    be required to read, understand and apply these

       6    technologies to my job and that my work performance

       7    will be evaluated in terms of my ability to do this.

       8               "I agree that if I should have any objection

       9    whatsoever in applying these management ethics

      10    technology, I will immediately put this objection in

      11    writing and give it to personnel, give it personally

      12    to the director of personnel in order that any

      13    personnel problem can be handled swiftly to the

      14    benefit of all concerned."

      15        Q      And you read this paragraph or had the

      16    opportunity to read it before initialing next to it,

      17    correct?

      18        A      Correct.

      19        Q      And you initialed the paragraph after

      20    reading it, correct?

      21        A      Correct.

      22        Q      And you understood that by initialing, you

      23    were representing that you understood the terms of

      24    Paragraph 5, correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 115 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 114

       1        Q      And you understood that by initialing, you

       2    were representing that you agreed to the terms of

       3    Paragraph 4, correct?

       4        A      Correct.

       5        Q      I'm sorry, Paragraph 5, correct?

       6        A      Correct.

       7        Q      And did you understand the terms of

       8    Paragraph 5?

       9        A      No.

      10        Q      What didn't you understand about the terms

      11    of Paragraph 5?

      12        A      Well, I hadn't really worked there, so I

      13    didn't understand how they worked.     So the whole

      14    Hubbard management ethics, I wasn't really aware of.

      15        Q      Okay.   Anything else about Paragraph 5 that

      16    you didn't understand?

      17        A      No.

      18        Q      Did you understand the sentence, the last

      19    sentence, "I agree that should I have any objection

      20    whatsoever in applying these management and ethics

      21    technologies, I will immediately put this objection

      22    in writing and give it personally to the director of

      23    personnel in order that any personnel problem can be

      24    handled swiftly to the benefit of all concerned"?

      25        A      Yes, I did understand it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 116 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 115

       1        Q      And would you agree that later on you felt

       2    like you had an objection to applying the management

       3    technologies?

       4        A      Yes.

       5        Q      Okay.     And would you agree that you did not

       6    put this objection in writing, give it personally to

       7    the director of personnel?

       8        A      Correct.

       9        Q      And just to break it down a little bit more,

      10    you did not put it in writing at all, did you?

      11        A      No.

      12        Q      And did you ever communicate any objection,

      13    whether orally or in writing, to the director of

      14    personnel at Real Water?

      15        A      No.     I dealt mostly with Bonnie.     All my

      16    complaints were to her.

      17        Q      And you never went beyond Bonnie?

      18        A      No.     Jeremy was hardly ever there.     Or I was

      19    out on the road, so I just talked to Bonnie.

      20        Q      You never went to anybody in human resources

      21    to complain or give -- voice your objection?

      22        A      No.

      23        Q      Why not?

      24        A      I'm not really sure who was at human

      25    resources at the time.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 117 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                         Page 116

       1           Q      Well, you know that Melissa was in human

       2    resources at the time that -- or you believe that

       3    Melissa Nava was in human resources at the time that

       4    you started, correct?

       5           A      Correct.     But --

       6           Q      You never went to Melissa?

       7           A      No.     I would always have to go to Bonnie,

       8    every complaint or any questions or anything that I

       9    had.       And then she would -- she directed me to tell

      10    her any issues or anything I had to tell her, and

      11    then she would go further on and tell whoever she

      12    needs to.

      13           Q      Okay.     But you never attempted to discuss

      14    directly with anybody in HR personnel or in

      15    management your objections?

      16           A      No.

      17           Q      Can you read Paragraph -- or sorry.

      18    Anything else about Paragraph 5 that you didn't

      19    understand?

      20           A      No.

      21           Q      And when you signed this agreement, did you

      22    agree with the terms of the paragraph?

      23           A      Yes.

      24           Q      Can you read Paragraph 6 into the record.

      25           A      "I have been informed that production as




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 118 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 117

       1    measured by statistics is one of the key factors used

       2    to judge my performance and that a rise in production

       3    will be important in achieving regular posting after

       4    the initial 90-calendar-day new-employee-training

       5    period, as well as in any subsequent advancement.

       6               "I have also been informed that declining

       7    production or production" -- "or production that

       8    levels off over a long period of time may become

       9    grounds for dismissal."

      10        Q      And you read that paragraph or had the

      11    opportunity to read it at the time you initialed and

      12    signed this document, correct?

      13        A      Yes.

      14        Q      And when you initialed Paragraph 6, you

      15    initialed it after reading it, correct?

      16        A      Correct.

      17        Q      And you understood that by initialing, you

      18    were representing that you understood the terms of

      19    Paragraph 6, correct?

      20        A      Correct.

      21        Q      And you understood that by initialing, you

      22    were representing that you agreed to the terms of

      23    Paragraph 6, correct?

      24        A      Correct.

      25        Q      And did you understand the terms of




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 119 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 118

       1    Paragraph 6?

       2        A      Yes.

       3        Q      And did you agree with the terms of

       4    Paragraph 6 at the time you signed?

       5        A      Yes.

       6        Q      Can you read Paragraph 7 aloud into the

       7    record.

       8        A      "During my 90-day calendar" -- "during my

       9    90-calendar-day initial training period, I understand

      10    that I must complete the following training actions:

      11    A, become familiar with the duties and functions of

      12    my assigned position; B, complete during scheduled

      13    work time any required corporate training, which at a

      14    minimum includes the course Basic Hat for Employees;

      15    and C, familiarize myself with the company's

      16    organizing board and company's administrative

      17    procedures."

      18        Q      And you read that Paragraph 7 or had the

      19    opportunity to read Paragraph 7 prior to initialing

      20    and executing the agreement, correct?

      21        A      Yes.

      22        Q      And you actually initialed that paragraph

      23    after reading it, correct?

      24        A      Correct.

      25        Q      And you understood that by initialing, you




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 120 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 119

       1    were representing that you understood the terms of

       2    Paragraph 7, correct?

       3        A      Correct.

       4        Q      And you understood that by initialing, you

       5    were representing that you agreed to the terms of

       6    Paragraph 7, correct?

       7        A      Correct.

       8        Q      And did you understand the terms of

       9    Paragraph 7 when you initialed it?

      10        A      Yes.    I figured I did, but I -- I figured it

      11    was just a training.

      12        Q      And did you agree with the terms of

      13    Paragraph 7 when you initialed it?

      14        A      Yes.

      15        Q      Okay.    Did you actually complete a course or

      16    have the opportunity to complete a course called

      17    "Basic Hat for Employees"?

      18        A      No.

      19        Q      Okay.    Can you read No. 8 aloud into the

      20    record.

      21        A      "After regular posting, I understand that I

      22    will be provided the opportunity to take further

      23    courses which will be essential for any advancement

      24    or increased earnings in the company.      I understand

      25    and agree that although company may choose in its




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 121 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 120

       1    sole discretion to increase wages, promote, commend

       2    or favorably review my performance as a result of my

       3    production statistics and other objective factors,

       4    neither my length of employment service, any such

       5    company benefit, or any other benefit shall in any

       6    way be interpreted or implied to modify my at-will

       7    employment status."

       8        Q      Did you read this paragraph or have the

       9    opportunity to read it prior to initialing and

      10    executing the agreement?

      11        A      Yes.

      12        Q      And when you initialed the agreement, was it

      13    after you read Paragraph 8?

      14        A      Correct.

      15        Q      And you understood that by initialing by

      16    Paragraph 8, you were representing that you

      17    understood the terms of Paragraph 8, correct?

      18        A      Correct.

      19        Q      And you understood that by initialing, you

      20    were representing that you agreed to the terms of

      21    Paragraph 8, correct?

      22        A      Correct.

      23        Q      And did you understand the terms of the

      24    paragraph when you initialed?

      25        A      I think so.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 122 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 121

       1        Q      And did you agree with the terms of the

       2    paragraph when you initialed it?

       3        A      Yes.

       4        Q      And did you understand this provision to

       5    state that you would have an opportunity but would

       6    not necessarily be required to take courses?

       7               MS. BARRAZA:    Objection.   The document

       8    speaks for itself.      Misstates what the document says.

       9    BY MS. GINAPP:

      10        Q      I'm asking what you understood.     You can

      11    answer.

      12        A      I didn't know they were going to be about

      13    the courses.

      14        Q      Okay.    So even though it discusses courses,

      15    you didn't realize this provision was about courses?

      16        A      It doesn't say what kind.

      17        Q      And you didn't ask anybody?

      18        A      I didn't.

      19        Q      Can you read Paragraph 9 into the record,

      20    please.

      21        A      "I understand that company does not permit

      22    efforts to convert its employees to any religion on

      23    its premises.      The position of company is that its

      24    offices are a place of work.      It is the policy of

      25    company that Hubbard management methods as applied by




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 123 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 122

       1    company are purely secu- -- secul- -- secul- --

       2    secular and intended for the smooth expansion of its

       3    business and are not to be used by its staff or

       4    executives in an effort to convert persons to any

       5    religion.

       6                "Any violation of this rule shall be

       7    reported at once in writing to the company CEO.

       8    Nothing in this rule should be construed as violating

       9    a person's freedom of religion or his or her right to

      10    choose to find out about" -- "find out about or

      11    convert to any religion or seek information about any

      12    religion while on his or her time" -- "her own time."

      13        Q       And you read this paragraph or had the

      14    opportunity to read it prior to signing and

      15    initialing this paragraph, correct?

      16        A       Yes.

      17        Q       And you initialed Paragraph 9 after reading

      18    it, correct?

      19        A       Yes.

      20        Q       And you understood that by initialing, you

      21    were representing that you understood the terms of

      22    Paragraph 9, correct?

      23        A       Correct.

      24        Q       And you understood that by initialing, you

      25    were representing that you agreed to the terms of the




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 124 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 123

       1    paragraph, correct?

       2        A      Correct.

       3        Q      Did you understand the terms of Paragraph 9?

       4        A      Yeah.

       5        Q      And did you agree with the terms of

       6    Paragraph 9?

       7        A      I did.

       8        Q      Did you at any point feel like the company

       9    violated Paragraph 9?

      10        A      Yes.

      11        Q      Which portion?

      12        A      It says that the company does not permit

      13    efforts to convert its employees to any religion on

      14    its premises, yet the videos and the courses are --

      15    whether its management technologies or not, it still

      16    has religion in it.     It's talking about Ron Hubbard's

      17    work, and it's somebody who they follow, all of them.

      18        Q      Every single person at --

      19        A      The Scientology people, Scientology.

      20        Q      Who are the Scientology people that you're

      21    referencing?

      22        A      Anybody who follows Scientology.

      23        Q      Okay.

      24        A      I know -- I am aware that Brent Jones

      25    follows Scientology.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 125 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                          Page 124

       1          Q       Anybody else that you're aware of at Real

       2    Water that follows Scientology?

       3          A       His wife.

       4          Q       Anybody else?

       5          A       Bonnie.     Well, she followed it because she

       6    was told to follow it, or she agrees with anything

       7    that they were agreeing with or they wanted her to

       8    do.       So if they told her to do the courses, she's

       9    going to do them, so . . .

      10          Q       And, again, you're basing this belief

      11    completely on the fact that L. Ron Hubbard is the

      12    founder of Scientology and he also authored the

      13    management technology, correct?

      14          A       Yes.

      15          Q       Is there anything else that you're basing

      16    this belief on?

      17          A       No.

      18          Q       So the second to last sentence says, "Any

      19    violation of this rule should be reported at once in

      20    writing to the company CEO."

      21                  Who's your understanding that the company

      22    CEO is at Real Water?

      23          A       Brent Jones.

      24          Q       Did you at any point ever report a violation

      25    of this rule to Brent Jones?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 126 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 125

       1        A      No.     He was hardly ever there.

       2        Q      Did you at any time report a violation of

       3    this rule to anybody at Real Water?

       4        A      Just Bonnie.

       5        Q      Okay.     And did you at any time put your

       6    belief that this rule was violated in writing?

       7        A      No.

       8        Q      And the fact that Brent Jones wasn't there,

       9    would that matter if you had put this in writing and

      10    given it to him?

      11        A      Possible.

      12        Q      It's possible that it would matter or

      13    wouldn't matter?

      14        A      That it would matter.     I would have given

      15    him something.

      16        Q      But you did not?

      17        A      I did not.

      18        Q      So you didn't give him a chance to address

      19    it, correct?

      20        A      Correct.

      21        Q      Turn to Paragraph 11 and read that into the

      22    record.

      23        A      "Subject to company's rights for restraining

      24    order and injunction in Paragraph 10 above, the

      25    parties agree that any controversy, dispute or claim




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 127 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 126

       1    between company and myself out of and/or involving

       2    this agreement and/or any other aspect of our

       3    employment relationship, except workers' compensation

       4    and unemployment insurance claims and actions for

       5    allegedly due and unpaid wages protected by

       6    California Labor Code Section 229 that cannot be

       7    promptly settled by direct communication between me

       8    and an authorized company representative shall first

       9    be submitted for resolution by mediation through a

      10    charter committee; e.g., Charter Committee of Los

      11    Angeles or other mediator to be agreed upon by the

      12    parties.

      13               "The parties shall each pay at least a fair

      14    portion of such mediation unless otherwise

      15    specifically prohibited by law or unless such cost

      16    sharing would reasonably act to deter employee from

      17    pursuing any employment-related legal right.

      18               "A party's request for petition or for

      19    mediation must be in writing and must be submitted to

      20    the other party within 90 days following the event

      21    giving rise to the event.    The mediation shall take

      22    place in Clark County, Nevada with a specific

      23    location agreed by the parties."

      24        Q      And you read this paragraph or had an

      25    opportunity to read it prior to initialing and




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 128 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 127

       1    signing it, correct?

       2        A      Correct.

       3        Q      And you initialed this paragraph after

       4    reading it, correct?

       5        A      Correct.

       6        Q      And you understood that by initialing next

       7    to Paragraph 11, you were representing that you

       8    understood the terms of Paragraph 11, correct?

       9        A      Correct.

      10        Q      And you understood that by initialing next

      11    to Paragraph 11, you were representing that you

      12    agreed to the terms of the paragraph, correct?

      13        A      Correct.

      14        Q      And did you understand the terms of this

      15    paragraph?

      16        A      No.

      17        Q      And, specifically, what didn't you

      18    understand?

      19        A      All of it.

      20        Q      And did you ask anybody about it?

      21        A      No.

      22        Q      Did you agree to the terms of the paragraph?

      23        A      Yes.

      24        Q      Can you read Paragraph 12 into the record,

      25    please.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 129 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                   Page 128

       1        A      "Except for workers' compensation and

       2    unemployment claims and for any actions for allegedly

       3    due and unpaid wages, if the best efforts of the

       4    parties to mediate a resolution do not result in a

       5    settlement of our differences, then subject to

       6    company's rights for restraining order and injunction

       7    in Paragraph 10 above, any claim or dispute out of

       8    and/or involving this agreement and/or any other

       9    aspect of our employment relationship not based on

      10    the Title VII of the Federal Civil Rights Act of

      11    1964, including without limitation any allegation of

      12    a wrongful discharge or termination, the

      13    discrimination or harassment under the Federal Age

      14    Discrimination in Employment Act, the Federal

      15    Americans with Disabilities Act, or any other

      16    applicable law or see any injury to my physical,

      17    emotional or economic interest, non Title VII claims,

      18    shall be resolved by binding arbitration pursuant

      19    applicable law.

      20               "The arbitration shall be" -- "shall be

      21    conducted by a neutral arbitrator either in

      22    accordance with the model employment arbitration

      23    process procedures of the American Arbitration

      24    Association, AAA, which are in effect at the time of

      25    arbitration or in accordance with the then current




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 130 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 129

       1    rules and procedures of another third party

       2    arbitrator.

       3               "The choice between the AAA or other third

       4    party as" -- "other third party as arbitrator shall

       5    be agreed upon by both parties.    Nothing in this

       6    agreement to arbitrate employment-related disputes

       7    prohibits the employee from submitting a

       8    workplace-related administrative claim as permitted

       9    by law."

      10        Q      And you had the opportunity to -- or you

      11    read or had the opportunity to read Paragraph 12

      12    prior to initialing next to it and signing the

      13    agreement, correct?

      14        A      Correct.

      15        Q      And you actually initialed the paragraph

      16    after reading Paragraph 12, correct?

      17        A      Correct.

      18        Q      And you understood that by initialing, you

      19    were representing that you understood the terms of

      20    Paragraph 12, correct?

      21        A      Correct.

      22        Q      And you understood that by initialing, you

      23    were representing that you agreed to the terms of

      24    Paragraph 12, correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 131 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 130

       1        Q      Did you understand the terms of

       2    Paragraph 12?

       3        A      Kind of.

       4        Q      What didn't you understand?

       5        A      I didn't really think I would need any of

       6    this, so I just signed it.

       7        Q      Okay.   And did you agree with the terms of

       8    Paragraph 12?

       9        A      Yes.

      10        Q      Can you read Paragraph 13 into the record.

      11        A      "If the best efforts of the parties to

      12    mediate a resolution of any claim based on Title VII

      13    of the Federal Civil Rights Act of 1964, Title VII

      14    claims do not result in a settlement of our

      15    differences, then subject to company rights for

      16    restraining order and injunction in Paragraph 10

      17    above, the parties shall resolve each dispute one of

      18    the following manners:     Employee is to select one of

      19    the two choices of his or her option."

      20        Q      Go ahead and read A and B.

      21        A      "A, I agree that any and all Title VII

      22    claims shall be resolved by binding arbitration in

      23    the same manner specified for non Title VII claims in

      24    Paragraph 12 above and elsewhere in this agreement,

      25    or, B, I agree that any and all Title VII claims




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 132 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 131

       1    shall be resolved in the manner and by the remedy

       2    specified by a loss for Title VII claims, including

       3    recourse to the courts.

       4               "In the event of any Title VII claim, the

       5    parties shall each utilize best efforts to agree to a

       6    comprehensive post-dispute arbitration agreement for

       7    such claims so that it would be resolved by binding

       8    arbitration in the same manner specified for non

       9    Title VII claims in Paragraph 12 above and elsewhere

      10    in this agreement.    And so that any and all disputes

      11    would be resolved in a single nonjudicial forum."

      12        Q      And you read this paragraph or had the

      13    opportunity to read it prior to initialing it and

      14    signing the agreement, correct?

      15        A      Correct.

      16        Q      And you initialed the paragraph twice,

      17    correct?

      18        A      Correct.

      19        Q      And you chose option A, correct?

      20        A      Correct.

      21        Q      And you initialed both these after reading

      22    them, correct?

      23        A      Correct.

      24        Q      And you understood by initialing in these

      25    two places, you were representing that you understood




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 133 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 132

       1    the terms of the paragraph, correct?

       2        A      Correct.

       3        Q      And you understood that by initialing, you

       4    were representing that you agreed to the terms of the

       5    paragraph, correct?

       6        A      Yes.

       7        Q      And, specifically, when you initialed next

       8    to A, you were certifying that you selected option A

       9    versus option B, correct?

      10        A      Correct.

      11        Q      And you did have a choice, correct?

      12        A      Correct.

      13        Q      And no one told you what to choose, correct?

      14        A      Correct.

      15        Q      And did you understand the terms of the

      16    paragraph?

      17        A      I did.

      18        Q      And did you agree with the terms of the

      19    paragraph?

      20        A      I did.

      21        Q      And to be clear, by choosing option A versus

      22    option B, you chose binding arbitration over pursuing

      23    your claims in the court system, correct?

      24        A      Yes.

      25        Q      And do you understand what Title VII claims




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 134 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 133

       1    are?

       2           A      Yes.

       3           Q      And do you understand Title VII covers

       4    religious discrimination claims such as the ones that

       5    you're alleging in the instant lawsuit?

       6           A      Right.

       7           Q      And as you sit here today, do you have any

       8    reason to believe why you should not be bound by the

       9    terms of Paragraph 13 and your choice of binding

      10    arbitration?

      11                  MS. BARRAZA:     Objection.   Calls for a legal

      12    conclusion.

      13                  THE WITNESS:     You're asking me --

      14                  MS. GINAPP:     I'm asking you --

      15                  THE WITNESS:     -- why I picked it?

      16    BY MS. GINAPP:

      17           Q      No.     I'm asking, as you sit here today, do

      18    you have any reason to believe that you should not be

      19    bound by the terms of the paragraph and your choice,

      20    any factual reasons?

      21                  MS. BARRAZA:     Same objection.

      22                  THE WITNESS:     I wasn't -- I wasn't planning

      23    for things to go the way they did.

      24    BY MS. GINAPP:

      25           Q      Okay.     But you did choose binding




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 135 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                        Page 134

       1    arbitration, correct?

       2           A      Yes.    Just like every other job you get, you

       3    don't want to -- you never think it's going to get to

       4    this.

       5                  (Defendant's Exhibit E was marked for

       6                   identification.)

       7    BY MS. GINAPP:

       8           Q      Go ahead.    And you don't have to read the

       9    whole thing, but just take a look at -- familiarize

      10    yourself with Exhibit E that's been handed to you.

      11    And let me know when you're ready to discuss it.

      12           A      Okay.

      13           Q      Have you ever seen this document before?

      14           A      I don't recall, to be honest.

      15           Q      This handbook purports to be ADP basic

      16    employment policies.         Would you agree with that?

      17           A      Correct.

      18           Q      Does any of it look familiar to you?

      19           A      It might seem familiar because I've seen

      20    these at other jobs, but I don't recall seeing this

      21    at Real Water.

      22           Q      Is it your belief that you didn't receive it

      23    at Real Water or that you just can't remember if you

      24    did?

      25           A      I don't think I received it, but I honestly




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 136 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 135

       1    don't remember.

       2        Q      So, but in general, this looks to be a

       3    handbook containing employment policies, correct?

       4        A      Yes.

       5        Q      All right.     Can you turn to what's marked at

       6    the bottom, RW107.      It's also marked at the top.

       7    There's a policy called "Equal Employment

       8    Opportunity," correct?

       9        A      Correct.

      10        Q      I'm just going to read Paragraph 3.

      11               "The companies will endeavor to accommodate

      12    the sincere religious beliefs of its employees to the

      13    extent such accommodation does not impose an undue

      14    hardship on your company's operations.       If you wish

      15    to request such an accommodation, please speak to

      16    your supervisor."

      17               Did you ever request a religious

      18    accommodation from Real Water?

      19        A      No.

      20        Q      And why not?

      21        A      I didn't think I needed it.

      22        Q      As you sit here today, do you think that you

      23    needed a religious accommodation?

      24        A      Yes.

      25        Q      And when did you determine that you needed a




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 137 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 136

       1    religious accommodation?

       2        A      That there would be other ways to get a

       3    raise.

       4        Q      Is it your belief that the only way to get a

       5    raise was to convert to Scientology?

       6        A      To read the courses.

       7        Q      Okay.   There was no other way to get a

       8    raise?

       9        A      Not that I know of, no.

      10        Q      Okay.   Is it your testimony that Real Water

      11    did not have merit-based raises?

      12        A      I don't know.   I --

      13        Q      Did -- go ahead.

      14        A      I was just told that the raises were if you

      15    did the courses.

      16        Q      Okay.   Did you ever ask anybody if there was

      17    another way to get a raise?

      18        A      I did not.

      19        Q      And why not?

      20        A      I trusted my supervisor, as I figured

      21    because she was a supervisor, she would know what she

      22    was talking about.

      23        Q      And you're talking about Bonnie Mercado?

      24        A      Yes.

      25        Q      Did Bonnie tell you there was no other way




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 138 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                   Page 137

       1    to get a raise?

       2        A      She didn't say anything about it.     She

       3    always just talked about the courses.

       4        Q      Turn to the next page, please, marked

       5    RW108.    At the top there's what's labeled

       6    "non-harassment policy"; is that correct?

       7        A      Yes.

       8        Q      I'm going to read paragraph -- the second

       9    paragraph of that policy.

      10               "If you feel that you have been subjected to

      11    conduct which violates this policy, you should

      12    immediately report the matter to your supervisor.      If

      13    you're unable for any reason to contact this person

      14    or if you have not received a satisfactory response

      15    within five business days after reporting the

      16    incident of what you perceived to be harassment,

      17    please contact the next level manager."

      18               I believe your testimony is that you

      19    reported this to who you believed to be your

      20    supervisor, which was Bonnie Mercado, correct?

      21        A      Correct.

      22        Q      And that you were not able to get a

      23    satisfactory response; is that correct?

      24        A      What are we talking about, what exactly?

      25        Q      Your belief that you were being




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 139 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 138

       1    discriminated against based upon your religious

       2    views?

       3        A       Correct.

       4        Q       And you didn't get a satisfactory response,

       5    correct?

       6        A       No.

       7        Q       Okay.     But you did not go anywhere, report

       8    it to anybody above her, correct?

       9        A       Correct.

      10        Q       And what was the reason that you didn't

      11    report it to anybody above Bonnie Mercado?

      12                MS. BARRAZA:     Objection.   Asked and

      13    answered.

      14                THE WITNESS:     Why was the reason I didn't go

      15    to Bonnie?

      16    BY MS. GINAPP:

      17        Q       Uh-huh.

      18        A       Or anybody above Bonnie?

      19        Q       Anybody above Bonnie.

      20        A       I don't know.     Because she would make me

      21    feel -- she would say, "Oh, don't worry.         I don't

      22    like Scientology either, but I'm doing it anyway."

      23        Q       Did Bonnie tell you not to go to anybody

      24    else and complain?

      25        A       Well, she thought she was -- because she was




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 140 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 139

       1    given the position as a supervisor, she figured she

       2    basically -- everything had to go to her

       3    specifically.

       4        Q      Is that what she said to you?

       5        A      Yes.

       6        Q      She said, "You cannot go beyond me to

       7    anybody else"?

       8        A      No.     She didn't say that, but she made it

       9    seem that way because every time I did try to talk

      10    about work-related things to Jeremy, she would be

      11    like, "You should have just told me first."

      12        Q      And, specifically, when she said this about

      13    what you testified to be work-related things, were

      14    those work-related things related to the course work

      15    or your belief that you were being discriminated

      16    against based upon religion?

      17        A      To her or to somebody else?

      18        Q      You testified that Bonnie said when you

      19    would go to Jeremy about work-related things, that

      20    she would say, "You should have just told me first."

      21    Was that specifically about the course work?

      22        A      No.     It was specifically on the runs and

      23    stuff.    Like the runs, the paperwork we submitted

      24    every Friday.

      25        Q      Okay.     So nothing having to do with the




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 141 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 140

       1    course work?

       2        A      Correct.

       3        Q      Okay.     Nothing having to do with religion?

       4        A      Correct.

       5        Q      Was Bonnie mean to you about your concerns

       6    about the courses?

       7        A      She wasn't mean.     She just didn't -- you can

       8    tell she didn't like it.       She had -- she never really

       9    tried to be mean, but you can tell it in the tone of

      10    her voice that it irritated her or it bugged her with

      11    everything that she talked about.

      12        Q      But she never disciplined you for it,

      13    correct?

      14        A      No.     But she constantly would tell me that I

      15    should do it and that I have to do it.        And I just

      16    said, "Okay."       And I never really did.

      17        Q      When you told her, what were the words that

      18    you used when you told her that you didn't like it

      19    because of the religious reasons?

      20        A      The course work?

      21        Q      Yeah.     Uh-huh.

      22        A      I remember we were sitting in the room.         At

      23    first when she told me, I didn't know what she was

      24    talking about.       Then when we went in the room and I

      25    started reading, and I'm just like, "Why" -- you want




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 142 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 141

       1    me to tell you exactly how I said it?

       2        Q      Yeah.

       3        A      I said, "Why in the hell are we reading this

       4    crap?    I'm not interested in Scientology.     I believe

       5    in God."

       6               And she -- she turned to me and said, "I

       7    know.    Me too, but it's a raise."

       8        Q      Okay.     And was that the only time that you

       9    said it that way?

      10        A      No.

      11        Q      How many other times did you say it?

      12        A      I don't know exactly how many times, but I

      13    did say it.       Throughout our relationship, I said it a

      14    few times.

      15        Q      Okay.     You said -- you specifically tied the

      16    course work to the fact that it was -- you felt it

      17    was Scientology?

      18        A      Yes.     And she agreed with me most of the

      19    times.

      20        Q      When was the first time that you said this,

      21    what you testified, "Why in the hell are we reading

      22    this crap?"

      23        A      Well, the very first day that I took -- that

      24    she took me to that room, which was the Friday after

      25    I started.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 143 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 142

       1        Q      Okay.    How long were you reading before you

       2    said that?

       3        A      Probably an hour.     Well, no.   I left after

       4    about an hour.      And prior to that, 30 minutes, if

       5    that.

       6        Q      And what were you reading?

       7        A      I don't recall the name of the book, but I

       8    was reading -- I'm not even sure.

       9        Q      Was it one of the books that you looked at

      10    in preparation for your deposition today?

      11        A      I don't recall if it was one of those or

      12    not, but I know that the word "Scientology" was in

      13    one of the pages.      I know that for -- that's why I

      14    said what I said.

      15        Q      So your main objection was that the word

      16    "Scientology" was in there?

      17        A      Right.

      18        Q      Was there anything else in that 30 minutes

      19    of reading that was objectionable to you?

      20        A      I don't know.    I don't think so.    I don't

      21    recall.

      22        Q      In what context was the word "Scientology"

      23    used?

      24        A      It was so long ago.     I don't even remember.

      25        Q      But it offended you?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 144 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 143

       1        A      Yeah.    I mean, I do believe in God and I

       2    don't want anything to do with something I don't

       3    believe in.

       4        Q      So just reading the word "Scientology" was

       5    enough to turn you off on the entire thing?

       6        A      Knowing that it was about Scientology, yes.

       7        Q      What beside the word "Scientology" led you

       8    to believe that the book was about Scientology?

       9        A      Well, if the word "Scientology" is in there,

      10    I figured it was about Scientology or something that

      11    has to do with Scientology.

      12        Q      But you do not recall the context that it

      13    was used in?

      14        A      I don't recall.

      15        Q      Could it have been used in the context of

      16    describing who L. Ron Hubbard was?

      17        A      Maybe.

      18        Q      Was any of the rest of your reading during

      19    that 30 minutes about God or about the nonexistence

      20    of God?

      21        A      No.

      22        Q      Okay.    Was it about anything having to do

      23    with religion?

      24        A      No.

      25        Q      What did it have to do with?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 145 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 144

       1        A      I guess -- honestly, I don't remember.     I'm

       2    not exactly sure what it was talking about.       I

       3    just -- when I'm not interested in something, I read

       4    it and I just answer accordingly.       I don't really pay

       5    attention.

       6        Q      Okay.     So you don't have any idea what it

       7    was about?

       8        A      No.     I mean --

       9        Q      How soon -- how far into the reading did you

      10    come across the word "Scientology"?

      11        A      Probably the last few pages maybe, yeah.

      12        Q      Approximately how many pages did you read?

      13        A      Like ten maybe, give or take.

      14        Q      So ten pages in you saw the word

      15    "Scientology"?

      16        A      (Witness nods head.)

      17        Q      But prior to that, you don't recall what it

      18    was about because you weren't interested?

      19        A      I know that going in there I was already

      20    told it was Scientology based, so that turned me off.

      21        Q      Who told you it was Scientology based?

      22        A      Bonnie.

      23        Q      She said, "This stuff is Scientology based"?

      24        A      Yes.     She said that, and she said that the

      25    company is based off Scientology.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 146 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 145

       1        Q      And do you always take people's word for

       2    stuff before reading it critically yourself?

       3        A      When it's my supervisor or my higher-up,

       4    sometimes, yes, because they're considered my boss.

       5        Q      So when you were reading it, you had just

       6    already presumed that it was Scientology before you

       7    started reading it?

       8        A      Skeptical, yes.

       9        Q      You were skeptical of it because she had

      10    said it was Scientology?

      11        A      Correct.

      12        Q      Okay.   And because you were not interested

      13    in anything Scientology, you didn't really pay

      14    attention to what you were reading, correct?

      15               MS. BARRAZA:   Objection.   Misstates

      16    testimony.

      17    BY MS. GINAPP:

      18        Q      Am I misstating your testimony, or is that

      19    true?

      20        A      I -- I'm not sure what you mean.

      21        Q      Well, if I understand your testimony

      22    earlier, you didn't really pay attention or remember

      23    what you were reading because you weren't interested

      24    in it because it was Scientology, correct?

      25        A      Correct.   But I still read it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 147 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                         Page 146

       1          Q      Okay.    But you decided it was crap because

       2    it was Scientology?

       3          A      Well, it's not my belief, so, yes.

       4          Q      And that belief that it was Scientology is

       5    based entirely on the fact that Bonnie told you --

       6    your testimony that Bonnie told you that it was

       7    Scientology based?

       8          A      Right.

       9          Q      Not based upon your own critical reading of

      10    it?

      11          A      Sure, yeah.     And reading the word

      12    "Scientology" in the book.

      13          Q      Right.     Reading one word turned you off on

      14    the entire thing, correct?

      15          A      Correct.

      16                 (Defendant's Exhibit F was marked for

      17                  identification.)

      18    BY MS. GINAPP:

      19          Q      You don't have to read the entire thing.

      20    Just familiarize yourself with it.         And when you're

      21    ready to discuss it -- anything specific that you

      22    need to read, I'll ask you to read prior to answering

      23    questions.      So when you're ready to discuss, let me

      24    know.

      25          A      Okay.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 148 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 147

       1        Q      Do you recognize this document?

       2        A      No.     Just some parts, but I don't recognize

       3    a lot of it.

       4        Q      Do you recognize the front page, or do you

       5    remember receiving an employee handbook from Real

       6    Water?

       7        A      No.

       8        Q      What parts do you recognize?

       9        A      Just the page where it gives you the dress

      10    code.

      11        Q      At the bottom there's numbers.     If you can

      12    find it and direct me to that.

      13        A      It's -- it's not on here.

      14               Page 19.

      15        Q      All right.     You remember the public image

      16    part?

      17        A      Yes.

      18        Q      And just for the record, this page is Bates

      19    stamped at the bottom RW139?

      20        A      Okay.

      21        Q      So you remember this page.     You don't

      22    remember any of the -- do you remember the page

      23    before it regarding -- it looks like it discusses

      24    harassment and telephone use?

      25        A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 149 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                           Page 148

       1        Q       What about the page after it that goes on

       2    about drug free workplace and substance abuse?           Do

       3    you remember that?

       4        A       No.

       5        Q       Okay.     I would like to direct your attention

       6    to Page 5 of the agreement -- or the, sorry,

       7    handbook, the exhibit which is marked Bates stamp

       8    RW125.     Oops, sorry.       I apologize.   That's not where

       9    we're going.        Sorry.    Page 7 marked RW127.   I think

      10    my caffeine has worn off.          I apologize.

      11                This has a policy 3.1, Nondiscrimination.

      12    Do you see that?

      13        A       Yes.

      14        Q       Just read through it quietly to yourself,

      15    and let me know when you're done.

      16        A       Okay.     Okay.

      17        Q       Do you recall ever seeing this policy

      18    before?

      19        A       No.

      20        Q       Paragraph 4 of this policy states,

      21    "Employees with questions or concerns about

      22    discrimination in the workplace are to bring these

      23    issues to the attention of the personnel department,"

      24    correct?

      25        A       Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 150 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 149

       1        Q      And, again, you didn't do that, correct?

       2        A      Correct.

       3        Q      And, specifically, you didn't do that with

       4    regard to your current claim that you feel

       5    discriminated against based upon religion, correct?

       6        A      Well, there was a couple of concerns, and I

       7    did go to Bonnie with them.

       8        Q      Okay.     The concerns about religious issues,

       9    correct?

      10        A      Yes.     And disabled as well.

      11        Q      Okay.     But you went to Bonnie, not to the

      12    personnel department?

      13        A      Right.

      14        Q      Not to HR, which would be the same thing,

      15    correct?

      16        A      Yeah.     But I don't think we had an HR person

      17    for a while.       When I got into a car accident, I

      18    didn't have anybody there.

      19        Q      You went to Bonnie?

      20        A      Uh-huh.

      21        Q      And she helped you get set up with the

      22    paperwork, correct?

      23        A      Paperwork for what?

      24        Q      Workers' compensation?

      25        A      No.     I -- I didn't go to her, no.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 151 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                           Page 150

       1        Q       Oh, okay.

       2        A       I had an attorney for the workers' comp.

       3        Q       But you reported the accident to somebody,

       4    correct?

       5        A       Yes, to her.

       6        Q       And they filled out the initial forms, the

       7    paperwork?

       8        A       I suppose, yeah, her and Jeremy.       I let her

       9    know, and she let him know.

      10                MS. GINAPP:    All right.     It is 12:36.   Now

      11    seems like a good time to take a break, a lunch

      12    break, if everybody's okay with that.          We'll

      13    resume -- just for ease, let's do 1:45.

      14                THE WITNESS:    Okay.

      15                MS. GINAPP:    Okay.

      16                THE VIDEOGRAPHER:       The time is approximately

      17    12:37 p.m.     We are going off the record.

      18                (Lunch break was taken.)

      19                THE VIDEOGRAPHER:       The time is approximately

      20    1:47 p.m.     We are back on the record.

      21    BY MS. GINAPP:

      22        Q       Okay.   You're still under oath.

      23                Let's talk about the videos.       Prior to our

      24    break, you testified that you had watched videos on

      25    the first day of your employment with Real Water,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 152 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 151

       1    correct?

       2        A      Correct.

       3        Q      All right.     And can you remind me what those

       4    videos were that you watched?

       5        A      The Secret, Just Do It, The Way to

       6    Happiness, and I don't recall the other.

       7        Q      How many did you watch?

       8        A      All of them.

       9        Q      Yeah.     I mean the number, do you remember?

      10        A      I want to say it was like four or five.

      11        Q      I'll just remind you to speak up.

      12        A      Okay.

      13        Q      And even though you are miked, as the rest

      14    of us, I need to hear you way over here.

      15        A      Okay.

      16        Q      Prior to watching the videos, were you

      17    provided any explanation from any Real Water employee

      18    as to what you would be watching?

      19        A      No.

      20        Q      You were just told you had to watch some

      21    videos?

      22        A      Yes.

      23        Q      Were you given an explanation about the

      24    questionnaires?

      25        A      No.     Just watched the videos and watch --




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 153 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 152

       1    and answer the questions in the paper --

       2        Q      Were you given --

       3        A      -- each paper.

       4        Q      Sorry.     Go ahead.

       5        A      Sorry.     Each paper.

       6        Q      Were you given the paper to fill out

       7    beforehand?

       8        A      No.     It was after I watched the video.

       9        Q      You didn't have the paper with you as you

      10    were watching?

      11        A      Yes, I did.     Sorry.   Yeah.

      12        Q      Okay.     And you were not told why you were to

      13    watch the videos?

      14        A      No.

      15        Q      Did you ask if they were required to be

      16    watched?

      17        A      Yes.     Jeremy -- well, prior, Jeremy had told

      18    me that I had to watch these videos, that was

      19    orientation.

      20        Q      Okay.     So you didn't ask; he just told you

      21    you had to watch them?

      22        A      Right.

      23        Q      At any point during watching any of the

      24    videos, did you become uncomfortable with the content

      25    of the video?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 154 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 153

       1        A      Not really, because I did not know what I

       2    was getting myself into, like who they were talking

       3    about or anything like that.

       4        Q      So you did not become uncomfortable while

       5    watching the videos, correct?

       6        A      Correct.     I had no idea, yeah, not at the

       7    moment.

       8        Q      It was only later that you became

       9    uncomfortable with the videos?

      10        A      Yes.

      11        Q      And I believe, based upon your prior

      12    testimony, it was only after you Googled information

      13    about L. Ron Hubbard and Scientology, correct?

      14        A      Right.     After I got to know who that was,

      15    yeah.

      16        Q      And when you testify, After you got to know

      17    who that was, that's after you Googled the

      18    information?

      19        A      Yeah.

      20        Q      You didn't do anything else to get to know

      21    who L. Ron Hubbard was or what Scientology was about,

      22    correct?

      23        A      Correct.

      24        Q      Did you, at any point, tell anyone at Real

      25    Water that you thought that the videos were religious




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 155 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 154

       1    in nature?

       2        A      Not at the beginning, no.   I wouldn't say I

       3    said religious in nature.     I was just wondering why

       4    they had to do with Scientology.

       5        Q      And who did you wonder that to?

       6        A      Again, Bonnie.

       7        Q      And when did you first say that to Bonnie?

       8        A      I think it was, like, probably halfway me

       9    working there.     So three, three and a half, four

      10    months in.

      11        Q      Three to four months into your employment

      12    you told Bonnie that?

      13        A      Yeah.   I told her, "So these videos are

      14    Scientology based."

      15               She said that, "Yeah."

      16        Q      All of the videos are Scientology based?

      17        A      Not -- I don't believe The Secret is

      18    Scientology based.

      19        Q      So it's your testimony The Secret is not a

      20    Scientology video?

      21        A      Correct.

      22        Q      Is it also your testimony that The Secret is

      23    not religiously based?

      24        A      Correct.

      25        Q      What about Just Do It?   Is it your testimony




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 156 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 155

       1    that Just Do It is Scientology based?

       2        A      Yes.

       3        Q      And what is that based upon?

       4        A      Ron L. Hubbard, that -- The Way To Happiness

       5    was also Ron L. Hubbard.       And after watching that

       6    one, the Just Do It made a lot -- like, made sense.

       7    They seemed to connect.

       8        Q      Does Just Do It specifically reference

       9    Scientology, to your recollection?

      10        A      I don't remember.

      11        Q      Does it specifically reference L. Ron

      12    Hubbard?

      13        A      I'm not exactly sure.

      14        Q      Were there any other references to religion

      15    in Just Do It that you can recall?

      16        A      No.

      17        Q      The Way to Happiness, does it specifically

      18    reference Scientology?

      19        A      I don't remember, but I know that it does

      20    talk about Ron, Ron L. Hubbard.

      21        Q      Okay.   And what do you recall it says about

      22    L. Ron Hubbard?

      23        A      They talked about him.

      24        Q      What did it say?

      25        A      I don't remember.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 157 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 156

       1        Q      They just talked about the man?

       2        A      Yeah.

       3        Q      And when you were watching it, it didn't

       4    bother you, correct?

       5        A      Correct.

       6        Q      Was there anything else -- was there

       7    anything in The Secret, when you were watching that,

       8    that bothered you?

       9        A      No.

      10        Q      Was there anything besides the connection

      11    you made between The Way to Happiness and Just Do It

      12    that bothered you in the video Just Do It?

      13        A      No.

      14        Q      Okay.

      15        A      I don't think.

      16        Q      Was there anything else other than the

      17    reference to L. Ron Hubbard in The Way to Happiness

      18    that bothered you?

      19        A      Some of the things that it was saying was

      20    just weird to me, the way they lived the life, their

      21    life, whoever is talking about the video.     I think

      22    it's talking about how you should live your life a

      23    certain way.

      24        Q      Did you disagree with --

      25        A      Some of the stuff, yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 158 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 157

       1        Q      Do you remember what you disagreed with?

       2        A      No, not exactly.

       3        Q      Do you remember why you disagreed with it?

       4        A      It was too, like -- I don't know how to

       5    explain it.      Like, it's -- you know, me being

       6    religious and Catholic, I believe in God.      And this

       7    was too man-made, like strictly man-made.

       8        Q      So it wasn't religious in nature?

       9        A      No.

      10        Q      The Way to Happiness wasn't religious in

      11    nature, correct?

      12        A      I'm not sure if I would say it's not -- I

      13    mean, if it's based off Scientology, then they have

      14    connection.      But it doesn't say -- you know, I don't

      15    know if it says anything religiously.

      16        Q      Okay.    And you don't know if it's based off

      17    Scientology, correct?

      18        A      I do know it's based off Scientology.

      19        Q      And how do you know that?

      20        A      Because -- well, based on my searches on

      21    Google, it said that that was one of the videos by

      22    Ron L. Hubbard, and if it's by Ron L. Hubbard, it has

      23    to do something with Scientology.

      24        Q      Because of your supposition that you

      25    testified earlier to, that everything L. Ron Hubbard




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 159 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 158

       1    does has to be related to Scientology, correct?

       2        A      Yeah.

       3        Q      Did you do any other independent

       4    investigation to verify that it was -- The Way to

       5    Happiness was related to Scientology?

       6        A      No.     That's just internet.

       7        Q      Okay.     So it's your belief, though, that

       8    when you were watching it, you felt like it was too

       9    strictly focused on the man and not based on God for

      10    your preference, correct?

      11        A      Yes.     But at that point, I wasn't aware, you

      12    know, anything of Scientology.

      13        Q      I understand.     But at the time that you

      14    watched it, you didn't think it was enough God

      15    focused, correct?

      16        A      I don't -- what do you mean "God focused"?

      17        Q      Well, you said that you were

      18    uncomfortable with it -- you testified that you were

      19    uncomfortable with it because it didn't comport with

      20    your personal religious beliefs.       You believed in God

      21    and this was too strictly man-made, correct?

      22        A      Meaning that was towards the Scientology

      23    part.    Not --

      24        Q      Not towards your religion?

      25        A      If that doesn't make -- if that makes any




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 160 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 159

       1    sense.

       2        Q       But you didn't know it was Scientology at

       3    the time, correct?

       4        A       Right.

       5        Q       Thank you.

       6                Did you tell anybody that you were

       7    uncomfortable with any of the videos -- I'm sorry --

       8    that day?

       9        A       No.   Not that day, no.

      10        Q       Even though you just read the employment

      11    agreement that said that you were to report it if you

      12    felt that way?

      13        A       Right.

      14        Q       What about the next day after you Googled it

      15    and became uncomfortable with the videos?        Did you

      16    tell anybody then?

      17        A       I just mentioned that I didn't really want

      18    to watch -- well, already watched them, so there was

      19    really no point to say anything.

      20        Q       So even though the second day you signed

      21    another employment agreement that directed you to

      22    report anything, any uncomfortableness you had with

      23    religion in the workplace, you failed to do it on the

      24    second day, too, correct?

      25        A       Well, no.    The first one -- the first one




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 161 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                           Page 160

       1    and the second day were basically almost alike.           So

       2    the second one, I just kind of signed it feeling that

       3    I -- it's my first job in two years.        I figured I

       4    needed to comply with what I needed to do to get the

       5    job.

       6           Q      But the question is, you didn't report

       7    feeling uncomfortable --

       8           A      No.

       9           Q      -- the next day?

      10           A      No.

      11                  (Defendant's Exhibit G was marked for

      12                   identification.)

      13    BY MS. GINAPP:

      14           Q      Okay.   Go ahead and review what's been put

      15    in front of you and marked as Exhibit G.        And when

      16    you're ready to discuss it, please let me know.

      17           A      Okay.

      18           Q      Do you recognize this document?

      19           A      Yes.

      20           Q      Okay.   Can you tell me what it is?

      21           A      I believe it was one of the videos about the

      22    way they make their alkaline water.

      23           Q      And, specifically, is this the questionnaire

      24    that you filled out after watching a video titled

      25    "Real Water Culture"?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 162 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 161

       1        A       Yes.

       2        Q       And is this your handwriting on the

       3    document?

       4        A       Yes.

       5        Q       Is any -- can you identify any handwriting

       6    on here that does not belong to you?

       7        A       No.

       8        Q       Does this appear to be a true and accurate

       9    copy of the review you completed for the Real Water

      10    Culture video?

      11        A       Yes.

      12        Q       Can you, again, tell me in your own words

      13    what that video was about?

      14        A       I think this is the one about just the way

      15    they do their product, how they do the alkalized

      16    process.

      17        Q       How they make it alkalized?

      18        A       Uh-huh.

      19        Q       Did you -- do you recall watching one or

      20    more videos about the way they do business at Real

      21    Water?

      22        A       Other than the videos that I just -- that I

      23    mentioned.

      24        Q       Well, specifically about Real Water.   Now,

      25    this video, can you explain to me, like, who's in it?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 163 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 162

       1    Who's in the video?

       2        A       I'm not exactly sure who's in it.     But if

       3    I'm remembering right, this is the one where it

       4    starts off with -- I think Brent Jones is in it,

       5    actually.     I'm not 100 percent.     But then another

       6    person who's showing you how to use the pH drops with

       7    the water.

       8        Q       Okay.     Are there -- is this the only video

       9    that you watched that had Brent Jones in it?

      10        A       Uh-huh.     Yes.

      11        Q       Was there anything about this video that you

      12    considered to be religious in nature?

      13        A       No.     Because this was just, if I remember it

      14    correctly, it was all about Real Water, just the way

      15    they make it.

      16        Q       So looking at No. 1, it references an arc

      17    triangle.     Do you recall the video discussing an arc

      18    triangle?

      19        A       Not really, no.

      20        Q       Read through this and let me know if

      21    everything -- sorry -- if your answers to the

      22    question posed in the review accurately reflect your

      23    actual position with regard to the issues that are

      24    discussed.

      25        A       No.     There is -- there doesn't seem to be




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 164 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 163

       1    any religious anything on here.

       2        Q      Okay.

       3        A      It's just speaking about the Real Water.

       4        Q      Right.    The question that I've asked,

       5    though, is does it all accurately reflect your view

       6    of the video?

       7        A      Yes.

       8        Q      Did you feel the need to lie in this

       9    document at all when you were filling it out?

      10        A      Not necessarily lie, but I did want to

      11    answer the best because it was my first job in two

      12    years.

      13        Q      Is there anything in here that you stated

      14    that you didn't necessarily agree with because you

      15    were trying to answer the best?

      16        A      Maybe just applying them to my -- the

      17    principles in your daily work or --

      18        Q      Are you referencing the last question, "How

      19    can you apply these principles to your daily work"?

      20        A      Yes.

      21        Q      Your response to that might not have been

      22    completely accurate?

      23        A      Yeah.    I mean, maybe just for that job.

      24        Q      Turn back to the first page.    I'll direct

      25    your attention to Item 3 on that page.      It states,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 165 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                         Page 164

       1    "Work and operate in a positive and up-tone manner

       2    which results in efficient production resulting

       3    in" -- I'm going to state it again.         "Work and

       4    operate in a positive and up-tone manner which

       5    results in efficient production resulting in high

       6    moral" -- sorry -- "morale within the company; i.e.,

       7    we are a happy and productive team."

       8                  Can you read to me what you wrote under

       9    there.

      10           A      "Production, getting things done.       I

      11    definitely agree with this.         If there wasn't

      12    structure or productivity, the company wouldn't

      13    really be operative in a positive and tone-up manner.

      14    That's the way it should be done so more results show

      15    up on it" -- "upon it."

      16           Q      Okay.    Is that -- when you wrote that, was

      17    that an accurate reflection of how you actually felt?

      18           A      Yes.    After reading -- after seeing the

      19    video about Real Water, yeah.

      20           Q      Did anyone ever discuss the responses that

      21    you put on this Real Water Culture video review with

      22    you?

      23           A      No.

      24           Q      Did anyone ever say that they were not

      25    sufficient, or did you ever -- sorry.         Did anyone say




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 166 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 165

       1    that they weren't sufficient?

       2        A      No.

       3        Q      Did you ever feel like you were punished in

       4    any way for what you wrote on that document?

       5        A      No.     I agreed to mostly their video, so, no.

       6               (Defendant's Exhibit H was marked for

       7                identification.)

       8    BY MS. GINAPP:

       9        Q      Please review what's been handed to you and

      10    marked as Exhibit H.       And when you're ready to

      11    discuss it, let me know.

      12        A      Okay.

      13        Q      Do you recognize this document?

      14        A      Yes.

      15        Q      What is it?

      16        A      It's another video.

      17        Q      It's a video review for what video?

      18        A      Message to Garcia.

      19        Q      And do you recall watching this video?

      20        A      I do.

      21        Q      Is this your handwriting on both pages of

      22    this document?

      23        A      Yes.

      24        Q      Is there any handwriting on this document

      25    that is not yours?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 167 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 166

       1        A      No.

       2        Q      And does this appear to be a true and

       3    accurate copy of the review you completed for the

       4    video Message to Garcia?

       5        A      Yes.

       6        Q      Can you describe to me what that video was

       7    about?

       8        A      I honestly don't remember.

       9        Q      Do you recall anything in that video that

      10    you believed was religious in nature?

      11        A      I don't recall.   I remember watching this

      12    video, but I don't recall what it was about.

      13        Q      Do you recall having any type of adverse

      14    reaction to it?

      15        A      I don't know, other than what I wrote.

      16        Q      Do you recall anything that was specifically

      17    related to Scientology in the video Message to

      18    Garcia?

      19        A      I don't recall.

      20        Q      Do you recall anything about L. Ron Hubbard

      21    in the video Message to Garcia?

      22        A      I don't recall.

      23        Q      Do you recall anything in the video that was

      24    particularly adverse to your own personal religious

      25    beliefs?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 168 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 167

       1        A       I don't think so.   I don't remember the

       2    video.

       3        Q       I would like you to read through the

       4    questions and answers and the review and what you

       5    wrote.    And when you're done, let me know.

       6        A       Okay.

       7        Q       Did that refresh your recollection about

       8    what the video was about?

       9        A       A little bit.

      10        Q       Do you want to change any of your answers to

      11    the questions regarding Scientology and L. Ron

      12    Hubbard or anything adverse to your personal

      13    information after reading it?

      14        A       No.

      15        Q       To the best of your knowledge, do the

      16    answers that you gave to the questions in this review

      17    accurately reflect your actual position with regard

      18    to the issues discussed?

      19        A       Other than No. 2, asking me if it's going to

      20    change my way of thinking.      So I said, "No, it will

      21    not."

      22        Q       You said, no, it will not change your way of

      23    thinking?

      24        A       Yeah.   And I just said, "I will add the

      25    Message to Garcia onto it."




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 169 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 168

       1        Q      Okay.     And so does -- that does or does not

       2    accurately reflect your thinking?

       3        A      I'm not sure.

       4        Q      Is it true?

       5        A      Yes.     This, what I wrote?

       6        Q      Yes.

       7        A      Yes.

       8        Q      Okay.     It reflects your true position on

       9    Message to Garcia and that information you learned

      10    from it, to the best of your recollection?

      11        A      Yes.

      12        Q      Did anybody ever discuss your responses in

      13    this video review with you?

      14        A      No.

      15        Q      Did you feel there were any repercussions

      16    for anything that you wrote in this against you --

      17    for anything that you wrote in this video review for

      18    Message to Garcia?

      19        A      I felt like I had to write the most positive

      20    thing I could.

      21        Q      Did anybody tell you you had to do that?

      22        A      No.     But it was my first -- my first day on

      23    the job, so I felt like I had to.

      24        Q      So your answer to the first question, the

      25    first question is, "How do you feel about the video?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 170 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                         Page 169

       1    Did you agree with it, disagree?         Were there any

       2    specific parts that you liked or disliked?"

       3                 And you answered, "Honestly, the video was

       4    confusing and boring," right?

       5          A      Right.

       6          Q      Did anybody ever say to you that you

       7    shouldn't have written that?

       8          A      No.     No one discussed with me about what I

       9    wrote on here.

      10          Q      Did you ever feel that you were treated

      11    differently because you said that the video was

      12    confusing and boring?

      13          A      I don't -- no, not at the moment, no.

      14                 (Defendant's Exhibit I was marked for

      15                  identification.)

      16    BY MS. GINAPP:

      17          Q      Go ahead and review the document that's been

      18    put in front of you marked I.         And when you're ready

      19    to discuss it, let me know.         Please go ahead and read

      20    through it, because I'll be asking you questions.

      21          A      Okay.

      22          Q      Can you -- do you know what this document

      23    is?

      24          A      Yes.

      25          Q      Can you tell me what it is?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 171 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 170

       1        A       The Secret.

       2        Q       Is it your video review of The Secret that

       3    you completed for Real Water?

       4        A       Correct.

       5        Q       And is all of the handwriting on this page

       6    your handwriting?

       7        A       Yes.

       8        Q       Do you identify any handwriting that is not

       9    your handwriting?

      10        A       No.

      11        Q       Okay.   And you read through the questions

      12    and the answers, correct?

      13        A       Correct.

      14        Q       All right.    And does this appear -- sorry.

      15    Does this appear to be a true and accurate copy of

      16    the review you completed for The Secret video?

      17        A       Yes.

      18        Q       Can you tell me what the video of The Secret

      19    is about?

      20        A       Thinking positive and attracting the

      21    positivity.

      22        Q       Okay.   Had you seen it before you watched it

      23    at Real Water?

      24        A       Yes.

      25        Q       And, in fact, you'd actually read the book,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 172 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 171

       1    too, hadn't you?

       2        A      Yes.

       3        Q      And you testified earlier that nothing in

       4    The Secret is religious from your point of view,

       5    correct?

       6        A      Correct.

       7        Q      And, specifically, nothing in The Secret is

       8    related to Scientology, correct?

       9        A      Correct.

      10        Q      And is there anything in The Secret that

      11    differs from your own personal religious beliefs or

      12    that you find offensive?

      13        A      No.

      14        Q      Do your answers to the questions in the

      15    video review accurately reflect your actual position

      16    with regard to the issues discussed?

      17        A      Meaning is this real, what I wrote on here?

      18        Q      Yeah.

      19        A      Is that how I feel about it now?

      20        Q      Is that how you felt about it at the time?

      21        A      Yes.

      22        Q      Okay.    Is that how you still feel about it?

      23        A      Yes.    Somewhat.   I don't see this being

      24    Scientology, so, yes.

      25        Q      Did you feel the need to lie or fabricate




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 173 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 172

       1    anything on this document?

       2        A      No.

       3        Q      Did anybody discuss your responses to the

       4    questions on The Secret video review with you?

       5        A      No.

       6        Q      And did you ever feel that there were any

       7    repercussions to your job for anything that you wrote

       8    on that paper?

       9        A      No.     It was all positive.

      10               (Defendant's Exhibit J was marked for

      11                 identification.)

      12    BY MS. GINAPP:

      13        Q      You have been handed what's been marked as

      14    Exhibit J.       Please take a look at it.   And when

      15    you're ready to discuss it, let me know.

      16        A      Okay.

      17        Q      Do you recognize this document?

      18        A      I do.

      19        Q      What is it?

      20        A      It's the video review to The Way to

      21    Happiness.

      22        Q      Okay.     And, specifically, it's the video

      23    review that you did for The Way to Happiness,

      24    correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 174 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 173

       1        Q      All right.    Is all of the handwriting on

       2    these two pages of this exhibit your handwriting?

       3        A      Yes.

       4        Q      Do you identify any handwriting on these two

       5    pages that belongs to somebody else?

       6        A      No.

       7        Q      Would you -- is it your testimony that this

       8    is a true and accurate copy of your video review of

       9    The Way to Happiness that you completed for Real

      10    Water?

      11        A      Yes.

      12        Q      Had you ever seen The Way to Happiness

      13    before you watched it for Real Water?

      14        A      No.    Just there.

      15        Q      And you have read through the questions and

      16    the answers, correct?

      17        A      Yes.

      18        Q      And were all of your answers accurate as of

      19    the time that you gave them?

      20        A      Yes.

      21        Q      In response to Question No. 1, which was,

      22    "How do you feel about the video?      Do you agree with

      23    it, disagree?      Were there any specific parts that you

      24    liked or disliked?" you wrote, "The video was

      25    actually great.      I definitely agree with it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 175 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                      Page 174

       1    Everything was good.      I liked how they gave a

       2    detailed explanation to everything."      Correct?

       3          A      Correct.

       4          Q      And that was the way that you felt

       5    immediately after watching the video; is that

       6    correct?

       7          A      Yes.

       8          Q      Is any portion of that a lie or expounded

       9    upon to make yourself look better?

      10          A      No.

      11          Q      Do you feel differently about the video

      12    today?

      13          A      Yes.

      14          Q      And is that -- is the reason that you feel

      15    differently about the video based upon what you

      16    testified earlier, which is that since then, since

      17    watching the video, you found out who L. Ron Hubbard

      18    is?

      19          A      Correct.

      20          Q      And that you believe this video must be a

      21    Scientology video because it references L. Ron

      22    Hubbard?

      23          A      Yes.

      24          Q      Is there anything in the video, after having

      25    reviewed this or as you sit here and you can recall




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 176 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 175

       1    about the video, that you specifically remember,

       2    besides the reference to L. Ron Hubbard, that you

       3    believe to be Scientology related?

       4        A       Other than what I'm reading, I don't really

       5    recall the whole video.

       6        Q       Is there anything that you are reading that

       7    you believe to be related to Scientology?

       8        A       I mean, if this was related to Ron Hubbard

       9    and his -- so this whole list, if I'm not mistaken, I

      10    read that when I was Googling it, some of it, on the

      11    internet.

      12        Q       So let me make sure I understand what you're

      13    testifying here.      You're looking at Page 2, correct,

      14    of this document?

      15        A       Yes.

      16        Q       The bottom is kind of hard to see, but it

      17    says RW35, right?

      18        A       Yes.

      19        Q       And this is a list of 21 items, correct?

      20        A       Yes.

      21        Q       And are these 21 items the virtues that were

      22    talked about in the video The Way to Happiness?

      23        A       Yes.

      24        Q       Okay.   And it's your testimony that

      25    because -- it's your understanding that The Way to




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 177 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                            Page 176

       1    Happiness is based upon thoughts of L. Ron Hubbard,

       2    that these 21 virtues are inherently

       3    Scientologists -- Scientology?         Sorry.

       4        A       Yes.

       5        Q       So let's go through them.      No. 1, you wrote:

       6    "Take care of yourself.        Keep body clean.      Preserve

       7    your teeth.        Eat properly.   Get rest."

       8                Correct?

       9        A       Correct.

      10        Q       Is there anything about any of those that

      11    your particular religious beliefs are adverse to?

      12        A       No.

      13        Q       Do they conform with your particular

      14    beliefs?

      15        A       Yes.

      16        Q       Number 2:     "Be temperate.   Don't go to

      17    extremes.     Don't take harmful drugs.         Don't take

      18    alcohol to excess."

      19                Did I correctly read that?

      20        A       Yes.

      21        Q       Is there anything about that that doesn't

      22    conform to your particular religious beliefs?

      23        A       No.

      24        Q       And is it your understanding that the

      25    Christian bible talks about temperance?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 178 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 177

       1        A      Yes.

       2        Q      So, in fact, this does conform with your

       3    Christian beliefs?

       4        A      Catholic.

       5        Q      Okay.   Catholic beliefs?

       6        A      Yes.

       7        Q      Would you prefer that I say Catholic and not

       8    Christian?

       9        A      Yeah.

      10        Q      So No. 2 does conform with your Catholic

      11    beliefs?

      12        A      Yes.

      13        Q      Number 3:   "Don't be promiscuous.   Be

      14    faithful to your sexual partner."

      15               Did I read that correctly?

      16        A      Yes.

      17        Q      Does the items in No. 3, do they conform

      18    with your particular Catholic religious views?

      19        A      Yes.

      20        Q      In fact, doesn't "Don't be promiscuous, be

      21    faithful to your sexual partner" conform with No. 7

      22    of the Ten Commandments against adultery?

      23        A      Yes.

      24        Q      Number 4:   "Love and help children."

      25               Is there anything in that that you find to




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 179 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 178

       1    be inherently against your particular beliefs?

       2        A      No.

       3        Q      Is there anything in that that you find to

       4    be particularly religious in nature?

       5        A      No.

       6        Q      Okay.   Does it conform with your personal

       7    religious beliefs?

       8        A      No.

       9        Q      It doesn't conform to your --

      10        A      It does, yeah.

      11        Q      It does.    Okay.

      12               Number 5:    "Honor and help your parents."

      13               Did I read that correctly?

      14        A      Yes.

      15        Q      Okay.   And does that conform with your

      16    personal religious beliefs?

      17        A      Yes.

      18        Q      And, in fact, "Honor your parents" is the

      19    fifth commandment of the Ten Commandments, correct?

      20        A      Yes.

      21        Q      Which are Christian, Catholic in nature,

      22    correct?

      23        A      Yes.

      24        Q      Number 6:    "Set a good example."

      25               Did I read that correctly?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 180 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 179

       1        A      Yes.

       2        Q      Okay.   Is there anything in "Set a good

       3    example" that you find to be inherently religious?

       4        A      No.

       5        Q      Is it adverse to you religious beliefs in

       6    any way?

       7        A      No.

       8        Q      Would you say that it conforms with your

       9    religious Catholic beliefs?

      10        A      Yes.

      11        Q      Number 7:    "Seek to live with the truth.

      12    Don't tell harmful lies.        Don't bear false witness."

      13               Did I read that correctly?

      14        A      Yes.

      15        Q      Is there anything inherently religious about

      16    any of the items in No. 7?

      17        A      No.

      18        Q      Do the items in No. 7 conform with your

      19    personal religious views?

      20        A      No.

      21        Q      They do not conform with your --

      22        A      They do.    Sorry.

      23        Q      That's okay.

      24        A      I'm getting it confused.

      25        Q      So let me say it again.      Do the items in




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 181 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 180

       1    No. 7 conform to your personal religious views?

       2        A      Yes, they do conform.

       3        Q      Okay.   And, in fact, "Do not bear false

       4    witness" is the ninth commandment of the Ten

       5    Commandments, correct?

       6        A      Yes.

       7        Q      And lying in some instances is actually an

       8    illegal act in general society, not related to

       9    religion, correct?

      10        A      Yes.

      11        Q      So are you offended by any of the items in

      12    No. 7 at all?

      13        A      No.

      14        Q      Number 8:   "Do not murder."

      15               Did I read that correctly?

      16        A      Yes.

      17        Q      Does that conform with your personal

      18    religious views?

      19        A      Yes.

      20        Q      And, in fact, it's the sixth commandment of

      21    the Ten Commandments, correct?

      22        A      Yes.

      23        Q      And it's also illegal in our general

      24    secular, non-religious society, correct?

      25        A      Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 182 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 181

       1        Q      All right.    Do you find anything offensive

       2    with Item No. 8, "Do not murder"?

       3        A      No.

       4        Q      Number 9:    "Do not do anything illegal."

       5               Does that comport with your general personal

       6    religious views?

       7        A      Yes.

       8        Q      Do you find "Do not do anything illegal" to

       9    be inherently religious in any way?

      10        A      No.

      11        Q      Number 10:    "Support a government designed

      12    and ran by people."

      13               Did I read that correctly?

      14        A      Yes.

      15        Q      Does that item comport with your general

      16    personal religious views?

      17        A      Does it conform?

      18        Q      Conform, yeah.

      19        A      Yes.

      20        Q      Do you find anything about No. 10 to be

      21    inherently adverse to your personal beliefs?

      22        A      No.

      23        Q      Do you find anything in No. 10 to be

      24    inherently religious in nature?

      25        A      No.




                    All-American Court Reporters (702) 240-4393
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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 183 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 182

       1        Q      Number 11:    "Do not harm a person of good

       2    will."

       3               Did I read that correctly?

       4        A      Yes.

       5        Q      Does that comport with your personal

       6    religious views?

       7        A      Yes.

       8        Q      Is there anything in No. 11 that you find to

       9    be personally offensive?

      10        A      No.

      11        Q      Is there anything in No. 11 that you find to

      12    be religious in nature?

      13        A      No.

      14        Q      Number 12:    "Safeguard and improve your

      15    environment.      Take care of your own area.   Help take

      16    care of the planet."

      17               Is there anything in No. 12 that you find to

      18    be adverse to your personal religious views?

      19        A      No.

      20        Q      Does it conform to your personal views?

      21        A      Yes.

      22        Q      Is there anything in No. 12 that is

      23    inherently religious?

      24        A      No.

      25        Q      Number 13 says:    "Do not steal."




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 184 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 183

       1               Did I read that correctly?

       2        A      Correct.

       3        Q      Does "Do not steal" comport with your

       4    personal religious views?

       5        A      Does it conform?

       6        Q      Conform, yes.

       7        A      Yes.

       8        Q      And, in fact, "Do not steal" is Commandment

       9    No. 8 of the Ten Commandments; correct?

      10        A      Yes.

      11        Q      And it's also illegal in our secular,

      12    non-religious society, correct?

      13        A      Correct.

      14        Q      Do you find anything in "Do not steal" to be

      15    inherently religious?

      16        A      No.

      17        Q      Number 14:   "Be worthy of trust."

      18               Do you find anything to be -- sorry.    Did I

      19    read that correctly, "Be worthy of trust"?

      20        A      Yes.

      21        Q      Do you find anything in No. 14 to be

      22    inherently religious in any way?

      23        A      No.

      24        Q      Does it conform to your personal religious

      25    views?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 185 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                   Page 184

       1        A      Yes.

       2        Q      Number 15:   "Fulfill your obligations."

       3               Did I read that correctly?

       4        A      Yes.

       5        Q      Do you find anything in "Fulfill your

       6    obligations" to be inherently religious in any way?

       7        A      No.

       8        Q      Does it conform with your personal religious

       9    views?

      10        A      Yes.

      11        Q      Then it says 16, but it doesn't have

      12    anything, correct?

      13        A      Correct.

      14        Q      Do you recall why you don't have anything

      15    next to 16?

      16        A      No.

      17        Q      Number 17:   "Be competent.   Look to see what

      18    you see, not what someone tells you what you see.

      19    Learn, selecting data.     Example, important from

      20    unimportant, truth from false."

      21               Did I read that correctly?

      22        A      Yes.

      23        Q      Is there anything in No. 17 that you find to

      24    be inherently religious?

      25        A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 186 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                         Page 185

       1        Q      Is there anything in 17 that doesn't conform

       2    to your personal religious views?

       3        A      Yes.

       4        Q      Okay.     What?

       5        A      Wait, what?        I'm sorry.   Repeat that.

       6        Q      Is there anything in No. 17 that does not

       7    conform to your personal religious views?

       8        A      No.

       9        Q      Number 18:        "Respect religious beliefs of

      10    others."

      11               Did I read that correctly?

      12        A      You did.

      13        Q      Does that conform with your personal

      14    beliefs?

      15        A      Yes.

      16        Q      And is there anything inherently religious

      17    in respecting the religious beliefs of others?

      18        A      Is there anything that what?

      19        Q      That's inherently religious?

      20        A      No.

      21        Q      19:     "Try not to do to others what you don't

      22    like them to do to you."

      23               I think I read that correctly.         Is that

      24    right?

      25        A      Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 187 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 186

       1        Q       And I'm going to take No. 20 with it, "Try

       2    to treat others how you want them to treat you."

       3                Did I read that correctly?

       4        A       Yes.

       5        Q       Is there anything in No. 19 or No. 20 that

       6    you find to be inherently religious?

       7        A       No.

       8        Q       And is there anything in No. 19 or No. 20

       9    that is adverse to your personal religious views?

      10        A       No.

      11        Q       Okay.   And, in fact, doesn't 19 and 20 kind

      12    of sound like the Golden Rule of "Do unto others as

      13    you would have them do unto you"?

      14        A       Yeah.

      15        Q       And do you have an understanding that the

      16    Golden Rule comes from the Book of Matthew in the New

      17    Testament of the Christian bible?

      18        A       Yes.

      19        Q       And No. 21 at the top says:   "Flourish and

      20    prosper."

      21                Does that have any particular religious

      22    connotation to you?

      23        A       No.

      24        Q       Does it comport with your personal religious

      25    beliefs?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 188 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 187

       1        A       No.

       2        Q       It doesn't?

       3        A       Yes, it does.   Sorry.   I'm sorry.   I keep

       4    confusing that.

       5        Q       That's okay.

       6                Does it conform to your personal religious

       7    beliefs?

       8        A       Yes.

       9        Q       Okay.   Now, we have gone through all of

      10    these.     Is there anything -- any of these items that

      11    you find to be inherently, on their own have some

      12    sort of Scientology basis or background that you find

      13    to be offensive to your personal religious beliefs?

      14        A       They are not offensive to my personal

      15    religious beliefs, but these can be -- I mean,

      16    it's -- how do I explain it?

      17        Q       Well, there's not really a question pending.

      18    So why don't I just ask one, which is, do you believe

      19    that by making you watch The Way to Happiness that

      20    Real Water was forcing Scientology on you?

      21        A       Because of his name was on it, yes.     If it

      22    would have been the Pope or any other religious

      23    person, same thing would have been happening.        People

      24    would have, you know, because it's not what they

      25    believe in, they still -- one word can make a




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 189 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 188

       1    difference.    And his name made a difference.

       2        Q      His name changed it from not being

       3    inherently religious to being inherently religious?

       4        A      What do you mean?

       5        Q      Well, so what you're saying is if the Pope's

       6    name was on it, it would be religious, correct?

       7        A      Well, yeah.     Scientology is a form of

       8    religion, so it is religious.

       9        Q      I agree.    The question is, if it were the

      10    Pope's name rather than L. Ron Hubbard, then you

      11    would have viewed it as them forcing religion on you

      12    as well?

      13        A      If I -- yeah.     Probably if I didn't believe

      14    in -- yeah.

      15        Q      So if it were all exactly the same but

      16    instead of it talking about L. Ron Hubbard it talked

      17    about the Pope, you would still have -- feel like you

      18    were discriminated against based upon your religion?

      19               MS. BARRAZA:     Objection.   Misstates

      20    testimony.

      21    BY MS. GINAPP:

      22        Q      Is that true, you would?

      23        A      Yeah.

      24        Q      Okay.   Even though you're Catholic?

      25        A      Well, no.     I mean, if I was -- meaning if I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 190 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 189

       1    was another religion.

       2           Q      Oh, okay.     But I'm asking about you.

       3           A      If it was Catholic, no.

       4           Q      So it's okay as long as it is a name that

       5    has to do with your religion?

       6           A      Yes.     With the religion that I grew up with,

       7    yes.

       8           Q      Okay.     But it's not okay if it's somebody

       9    who is a member of a different religion?

      10           A      No, it's okay, but not to force it upon or

      11    try to make others believe in the same thing they

      12    believe in.

      13           Q      Okay.     But you testified that you actually

      14    do believe in all 21 of these things, correct?

      15           A      Right.

      16           Q      Okay.     Did anyone discuss your answers to

      17    the questions on this video review with you?

      18           A      No.

      19           Q      Did you ever feel that there were any

      20    repercussions for anything that you wrote?

      21           A      Again, I figured I needed to write positive

      22    because it was my first day on the job.

      23           Q      Did you lie on this document?

      24           A      Not at the moment, no.

      25           Q      So the following day after you figured out




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 191 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 190

       1    who L. Ron Hubbard was, did you say anything to

       2    anybody about your concerns about the video The Way

       3    to Happiness?

       4        A      I mentioned it.

       5        Q      The following day?

       6        A      It wasn't the following day.   It was a few

       7    days later.

       8        Q      Who did you mention it to?

       9        A      Bonnie.

      10        Q      And what did you say?

      11        A      I said, "Are all these videos based on

      12    Scientology?"

      13               And she said, "Yeah, minus The Secret."

      14        Q      Did you confirm that with anybody else?

      15        A      No.

      16        Q      Did you tell her at that time you had a

      17    problem with that?

      18        A      Not really, because I already seen the

      19    videos.    They were already watched.

      20        Q      At any point, did you tell anybody at Real

      21    Water that you had a problem with any of the videos

      22    that you watched?

      23        A      No, because I was afraid I was going to get

      24    fired.

      25        Q      And what did you base that fear upon?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 192 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 191

       1        A       Well, at the very time when all of, like,

       2    this, I just started working.      So I wasn't going to

       3    jeopardize my job telling them something that I -- it

       4    wasn't -- to me, it wasn't really that, at that

       5    moment, serious.

       6        Q       But why did you believe that you would be

       7    fired from your job?

       8        A       Because everyone else was following the same

       9    thing.     And if I didn't like it and went against what

      10    they liked, I -- the treatment was different.

      11        Q       You saw somebody being treated differently?

      12        A       Me.   Like I just felt weird every time I'd

      13    be around them just because I wasn't following what

      14    they were following.

      15        Q       You felt weird because of things they were

      16    saying to you or because that's just how you felt

      17    internally?

      18        A       That's how I felt internally.   And they

      19    just -- the fact that I didn't do the courses wasn't

      20    okay.     It didn't seem to be okay.

      21        Q       It didn't seem to be okay because someone

      22    said it wasn't okay?

      23        A       Well, they kept telling me to do it, and I

      24    didn't.

      25        Q       But you were not disciplined in any way for




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 193 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                        Page 192

       1    not doing it?

       2          A      At the beginning, I don't think so, I mean,

       3    other than Bonnie telling me to do it, to keep doing

       4    it.

       5          Q      But you weren't written up?

       6          A      No.

       7          Q      Did you ever receive a non-optimum report

       8    for not doing the videos?

       9          A      No, because I did them.

      10          Q      I'm sorry.   Did you ever receive a

      11    non-optimum report for not doing the courses?

      12          A      No.

      13          Q      Did you actually have any conversations with

      14    anybody other than Bonnie about the videos?

      15          A      Christy Oldenkamp.

      16          Q      During your employment?

      17          A      Yes.   And then that's it.    And Yanyeli, the

      18    girl that was working there, the receptionist.         At

      19    the time, she was a receptionist there.

      20          Q      Explain your job duties.

      21          A      I -- basically, I drove from store to store,

      22    and I had to sell them -- have them try to make them

      23    buy more water a week.       And I would basically fix any

      24    displays or bring any -- restock the shelves and

      25    stuff.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 194 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 193

       1        Q      What was your job title?

       2        A      There was a couple different --

       3    merchandiser, brand embassador.       And then apparently

       4    in the first one I read that I was a product -- there

       5    was a couple, but I called myself a merchandiser and

       6    so did Bonnie.

       7        Q      Did you have a company car?

       8        A      I did.

       9        Q      Explain to me what an average day was like

      10    for you?

      11        A      It was -- it would start at 6, get off at 2,

      12    2:30.    And I would go from store to store.     I would

      13    go in there, and if the managers weren't busy, I

      14    would talk to them, restock the shelves, talk to them

      15    and see if they wanted to order more.       And then I

      16    would get a signature, and then I would go to the

      17    next store and so on.

      18        Q      Did you start from your home?

      19        A      Yes.

      20        Q      And did you end at your home?

      21        A      Yes.

      22        Q      And did you go to the corporate offices?

      23        A      Fridays and when I needed something from the

      24    office, yes.

      25        Q      So how long were -- you went every Friday to




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 195 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 194

       1    the corporate office?

       2        A      Not every Friday.

       3        Q      Okay.    How often did you go on Friday to the

       4    corporate office?

       5        A      Well, almost -- yeah, almost every Friday

       6    unless I was told otherwise, because that's when we

       7    had to turn in our weekly total.

       8        Q      And you always turned those in in person?

       9        A      Yes.

      10        Q      You never e-mailed them?

      11        A      No.

      12        Q      Never took a snapshot of them and sent them

      13    to Bonnie?

      14        A      The text message, yes, because she asked me

      15    to text them to her.      I'm like, "I don't have it.   I

      16    won't be able to give it to you until later."

      17               And she's like, "Just text it to me."

      18               And I said, "Okay."

      19        Q      Did you ever lose any of those documents?

      20        A      Not the weekly, no.

      21        Q      Okay.    Did you lose other documents that you

      22    were supposed to turn in?

      23        A      I did.

      24        Q      What documents did you lose?

      25        A      The weekly papers.    There was papers we had




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 196 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 195

       1    to file, fill out, which was each store.       And the

       2    papers, you would have the signature.       You would --

       3    how much the bottles there was and then how much

       4    you -- after you filled it up.       And then that's

       5    basically the gist of it.

       6               I did lose a few.   But the rest she told

       7    me -- she stopped asking me.     After the fourth month,

       8    she stopped asking for them.     She just asked, "How

       9    much was it here?"

      10               And I would tell her the total of it.       Or

      11    she said as long as I had that one paper at the end

      12    of the week, that's all that really mattered.

      13        Q      So you stopped filling them out?

      14        A      I didn't stop filling them out.

      15        Q      Okay.

      16        A      I just stopped giving them to her.

      17        Q      Do you currently have them in your

      18    possession?

      19        A      I don't have all of them, no.     I have some,

      20    yeah.

      21        Q      Why don't you have all of them?

      22        A      Because I lost some of them.

      23        Q      How did you lose them?

      24        A      They flew off my truck.

      25        Q      Approximately how many flew off your truck?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 197 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 196

       1        A      I don't know.     I didn't count.

       2        Q      You drove a truck for Real Water?

       3        A      No.     I drove a smart car.

       4        Q      Okay.     Then how did they fly off your truck?

       5        A      Because I was using my truck when I had

       6    doctors' appointments after I get off work.       And I

       7    would use my own gas simply because I didn't want the

       8    hassle of getting told to not use the car for

       9    personal reasons.

      10        Q      So how often were you at the corporate

      11    offices on Friday?

      12        A      Mostly every Friday.

      13        Q      And how long were you there?

      14        A      Six, seven months.     Six, seven months.

      15        Q      No.     How long were you there on Fridays?

      16        A      Oh, like 30 minutes to an hour.

      17        Q      Okay.     And who did you interact with while

      18    you were there?

      19        A      Bonnie.

      20        Q      Anybody else?

      21        A      Sometimes Claire, who is the lady who -- I'm

      22    not aware of her position, but I know she took care

      23    of the courses.       And Jeremy sometimes.

      24        Q      Why did you interact with Claire?

      25        A      She -- one time she came up to me and asked




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 198 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 197

       1    me -- just every now and then just asked me how come

       2    I haven't done my courses or why did I sue Real

       3    Water, or meaning, for workers' comp.

       4        Q      And when she asked you why you didn't do the

       5    courses, what did you say?

       6        A      I told her I'm not interested.

       7        Q      And what did she say?

       8        A      She said, "Why not?"

       9               And I just said, "Just because."

      10        Q      Okay.   And then what did she say after that?

      11        A      She said, "Okay."

      12        Q      She just let it go?

      13        A      Well, she asked me about the workers' comp.

      14        Q      Okay.   But she let the courses go when you

      15    said you weren't interested?

      16        A      Yeah, but -- yeah.

      17        Q      And then she asked you about the workers'

      18    comp?

      19        A      This was a while after I started, yeah.

      20        Q      Okay.   It was obviously after you had the

      21    accident, correct?

      22        A      Correct.

      23        Q      You actually had two incidents in Real Water

      24    cars, right?

      25        A      One accident, two claims.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 199 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 198

       1        Q      And what does she say to you about the work

       2    comp?

       3        A      She asked me why I'm suing it.

       4               And I said, "No, I'm just filing a claim."

       5    That's it.

       6        Q      And that was the extent of the conversation?

       7        A      Uh-huh.

       8        Q      All right.     So Monday through Thursday, what

       9    Real Water employees did you interact with?

      10        A      Just on the phone, Bonnie.     She would call

      11    me at the end of the day to give me my schedule

      12    through the phone.

      13        Q      Did you work on Saturday and Sunday?

      14        A      No.

      15        Q      And the Fridays that you didn't go in to the

      16    office, what employees would you work with or

      17    interact with?

      18        A      Just Bonnie, if she was there.     And then

      19    like I said, Jeremy every now and then just to sign

      20    the paperwork.

      21        Q      Okay.     Did you ever discuss the courses on

      22    the phone with Bonnie?

      23        A      Yes.

      24        Q      How many times?

      25        A      I don't recall how many times, but I know I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 200 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                        Page 199

       1    talked to her a few times about them.

       2          Q      Okay.    And what were the contents of those

       3    conversations?

       4          A      Asking me -- she's saying "Okay."     A few

       5    times she asked me, "Okay.        So we're going Friday to

       6    do the courses."

       7                 And I'm like, "I don't really want to."

       8                 And she's like, "Come on.     You just have" --

       9    "they're for a raise."

      10                 And I didn't want to.    And I was like, "You

      11    told me they were Scientology based."

      12                 She's like, "They are, but", she's like, "a

      13    quarter."

      14                 And I kept telling her no, and I refused to

      15    go.

      16          Q      And that was the end of it?

      17          A      That was the extent mostly.     Maybe worded

      18    differently, but about the same conversation every

      19    time we talked about the courses.

      20          Q      Okay.    How many times approximately did that

      21    happen?

      22          A      A few.

      23          Q      More than two?

      24          A      Yes.

      25          Q      More than five?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 201 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 200

       1        A      Yes.

       2        Q      More than ten?

       3        A      Formally, we would talk about them probably

       4    more than seven, below ten.     But informally, just

       5    here and there, nothing serious, a few times, like

       6    five other times.

       7        Q      About approximately how long would these

       8    discussions last?

       9        A      About the courses?

      10        Q      Uh-huh.

      11        A      Like ten minutes.

      12        Q      You talked about them for ten minutes going

      13    back and forth about whether you should do them?

      14        A      Five to ten, yeah.

      15        Q      Okay.

      16        A      And how it's Scientology based.   And even if

      17    she doesn't believe in it, she's still going to do

      18    it, it's her job.

      19        Q      Did she ever tell you you'd get fired for

      20    not doing it?

      21        A      No.

      22        Q      Did she ever threaten you with any type of

      23    discipline?

      24        A      I don't think so.

      25        Q      She just wanted you to try to get the raise,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 202 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 201

       1    correct?

       2        A      Right.

       3        Q      And would you say that she wasn't trying to

       4    be mean?     She was trying to help you, in her view?

       5        A      According to the courses?

       6        Q      Yeah.

       7        A      In reference to the -- yes.    There is no

       8    reason why she would be mean about it.

       9        Q      It kind of seems to me from what you have

      10    testified to today that you and Bonnie were kind of

      11    the same mind about them with regard to the fact that

      12    they were Scientology, that she agreed with you that,

      13    you know, in general, that didn't need to do them,

      14    but she still thought you should still do them for

      15    the raise?

      16        A      Yeah.    And she said that it -- because

      17    everyone was doing it, we should.      And she doesn't

      18    believe in Scientology, but she did what she had to

      19    in order to keep her job.      And she's following the

      20    rules, so . . .

      21        Q      Did you ever discuss religion with Bonnie

      22    not related to the videos or the course work?

      23        A      Yes.

      24        Q      Okay.    And when did that happen?

      25        A      A few times.    I don't recall the dates, and




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 203 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 202

       1    I don't recall how long, but most -- a lot of our

       2    conversations were based off how I'm Catholic, and I

       3    don't recall what religion she is, but she doesn't

       4    believe in Scientology but she does it anyway because

       5    she likes her job.       And how even if she doesn't

       6    believe in it, she's going to do it anyway.

       7        Q      And when you say "do it," you're talking

       8    about doing the course work?

       9        A      Right.     And follow the way they do their

      10    work, yeah, their business.

      11        Q      Their business model, she follows that?

      12        A      Uh-huh.

      13        Q      Is it your testimony that their business

      14    model is Scientology?

      15        A      I believe some of it is, yes.

      16        Q      Okay.     And what is that based off of, that

      17    belief?

      18        A      Ron L. Hubbard, if it's . . .

      19        Q      If his name is attached to it, it must be

      20    Scientology, right?

      21        A      Yes.     He is a Scientologist.

      22        Q      Everything that you have ever done or

      23    written is Catholicism?

      24               MS. BARRAZA:     Objection.   Form.

      25               THE WITNESS:     Everything I ever done, like




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 204 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 203

       1    in my whole life?

       2    BY MS. GINAPP:

       3        Q      Everything you have ever written or done, is

       4    that Catholicism because you're Catholic?

       5        A      I would like to think I follow it.

       6        Q      But is the contents of any document that you

       7    write inherently Catholic?

       8        A      No.     I don't think a lot of documents

       9    have -- I mean.

      10        Q      People can write documents that aren't

      11    religious in nature?

      12        A      They can.

      13        Q      Okay.     Did you ever complain to anybody

      14    about your discussions about religion with Bonnie?

      15        A      No.

      16        Q      Okay.     And is that because you and Bonnie

      17    were basically friends?

      18        A      We were.

      19        Q      So you weren't actually upset by any of

      20    these conversations that you had with Bonnie?

      21        A      Kind of.     Sometimes.

      22        Q      Okay.     Can you give me an example of a time

      23    that you were upset with your conversation with

      24    Bonnie?

      25        A      I have to realize it was either her way or




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 205 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 204

       1    the highway, so I kind of agreed with her.       She was

       2    my supervisor, so I had to agree with her, whether we

       3    were friends or not.

       4        Q      Oh, okay.     So you're not just talking about

       5    the religious.     You're talking about just in general

       6    the things she asked you to do?

       7        A      Yeah.

       8        Q      Are you specifically talking about anything

       9    religious in nature, or are you just talking about

      10    when she directed you to do your work?

      11        A      Well, that, too, but I generalized

      12    everything.

      13        Q      I'm sorry?

      14        A      Everything.

      15        Q      I don't understand what you mean by you

      16    generalized everything?

      17        A      Like when I would talk to her about

      18    religion, yeah, as friends.       But also because she was

      19    my supervisor, I wasn't going to say, "Oh, no."       Like

      20    I agreed -- like I agreed to whatever she said.

      21        Q      Okay.   But you didn't do the course work?

      22        A      I did not.

      23        Q      Okay.

      24        A      And she kept pushing me, and I still didn't.

      25        Q      And you never got in trouble?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 206 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 205

       1           A      No.     I mean, she would tell me like, "Oh, go

       2    here instead of this," or, "Make sure you do this."

       3                  And I do it.

       4           Q      But not the course work?

       5           A      No.

       6           Q      Because that was optional, correct?

       7           A      It was optional.

       8           Q      All right.     And you never complained about

       9    Bonnie to her supervisors, correct?

      10           A      I did.

      11           Q      You did.     Who did you complain to?

      12           A      I complained to Jeremy that she does things

      13    a lot harder than they should be, and just because

      14    it's not done her way doesn't mean it's not the right

      15    way, and that customers don't -- complained about

      16    her.

      17           Q      Okay.     And, specifically, when you said she

      18    does things a lot harder than they need to be, what

      19    were you talking about?

      20           A      Work, actual work.

      21           Q      Not about the courses?

      22           A      No.

      23           Q      And when did you complain to Jeremy about

      24    Bonnie?

      25           A      I have no idea.     It was -- I think I might




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 207 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 206

       1    have done it, like, twice.

       2        Q      In the middle -- beginning, middle, end of

       3    your employment?

       4        A      I want to say I did towards the end and in

       5    the middle.

       6        Q      What did Jeremy say in response?

       7        A      "Okay.    I'll let her know."

       8        Q      If you could go back to Exhibit A, which is

       9    the complaint.      If you could turn to Page 4 and look

      10    at Paragraph No. 26.

      11        A      Okay.

      12        Q      All right.    Can you read Paragraph 26 out

      13    loud?

      14        A      "As time progressed, her coworkers began to

      15    interact differently with plaintiff, and the

      16    workplace environment became extremely unpleasant."

      17        Q      When it says "her coworkers," who

      18    specifically does that mean?

      19        A      Claire, Bonnie, Christy, Jeremy sometimes.

      20    Those are -- Amy, Maria.      Those are the only ones I

      21    basically saw.

      22        Q      All right.    And how did Claire begin to

      23    interact differently with you?

      24        A      Well, she was rude.    She was rude, and she

      25    was -- just never really listened to what I had to




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 208 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 207

       1    say, so . . .

       2        Q      What were you trying to say to Claire?

       3        A      Like even when she asked me a question, I

       4    would respond, and she wouldn't even listen.

       5    So . . .

       6        Q      Okay.     And when did that begin?

       7        A      It started getting worse.

       8        Q      No.     When did it start?   Not when it started

       9    getting worse.

      10        A      I don't know the date.

      11        Q      Beginning, middle or end of your employment?

      12        A      Probably middle.

      13        Q      Okay.     And what were you trying to say to

      14    her that she wasn't listening to?          I'm sorry.   I

      15    think I asked that, but I don't know that you

      16    answered it.

      17        A      I don't recall.

      18        Q      And you connected this -- did you connect

      19    this to religion in any way?

      20        A      Yeah.     That had some part.

      21        Q      Okay.     And what part does it play in

      22    Claire's being rude to you and not listening to what

      23    you have to say?

      24        A      Not doing the courses.

      25        Q      Okay.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 209 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 208

       1        A      The fact that I wasn't complying to that

       2    like everyone else was.

       3        Q      Did Claire say --

       4        A      They did not like it.

       5        Q      Did Claire say something to you that made

       6    you believe that?

       7        A      No.     But just the way it was, she was nice

       8    to everyone else who did the courses.

       9        Q      And this was based upon when you were at the

      10    office on Fridays for 30 to 60 minutes once a week?

      11        A      Yes.     Because Fridays were the days that we

      12    were supposed to do the courses.

      13        Q      Okay.     So you didn't see the way that Claire

      14    interacted with everybody else the rest of the week?

      15        A      I did see them the seldom times that I went,

      16    like very -- you know, like when I had events and

      17    stuff like that.

      18        Q      How often was that?

      19        A      I don't know.     Like twice every couple

      20    months.    Well, I only did like five -- four events.

      21        Q      Did anyone ever tell you that Claire was

      22    upset with you or treating you this way because of

      23    your not doing the courses?

      24        A      No.

      25        Q      Is it completely speculation on your part?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 210 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 209

       1        A      Well, yeah.     The way she made me feel, yes.

       2        Q      But it's completely speculation on your part

       3    that it was related to your not doing the courses,

       4    correct?

       5        A      Correct.

       6        Q      Okay.     Christy, when you say Christy, you

       7    mean Christy Panalakus?

       8        A      No.     Oldenkamp.

       9        Q      Oh, okay.     Christy started treating you

      10    differently?

      11        A      No.     That was who I spoke to.

      12        Q      Okay.     Because it says, "As time progressed,

      13    her coworkers began to interact differently."       So --

      14        A      She was best friends with Bonnie.

      15        Q      Okay.     Did she start interacting with you

      16    differently?

      17        A      Yes.

      18        Q      Okay.     And can you explain to me how she

      19    started interacting with you differently?

      20        A      Well, we were friends in the begin- -- well,

      21    when she -- a little after she started.       And then she

      22    just became very hostile and, I guess you'd say,

      23    rude.    It got to the point where I didn't even want

      24    to show up to the office because I felt the negative

      25    vibe.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 211 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 210

       1           Q      Do you relate the way that Christy was

       2    acting when you say that you felt like she became

       3    hostile and rude, do you relate that to religion in

       4    any way?

       5           A      No.

       6           Q      Do you relate that to the course work in any

       7    way?

       8           A      No.     Not her.

       9           Q      All right.     You relate that to something

      10    personal between the two of you?

      11           A      No.

      12           Q      Okay.     What do you relate it to?

      13           A      The fact that I left and she's friends with

      14    Bonnie.

      15           Q      Okay.     So what do you mean you left?

      16           A      Well, I got fired.

      17           Q      Oh, okay.     So this was after that she

      18    treated you different, not while you were actually

      19    employed?

      20           A      No.     While we were employed -- while I was

      21    employed, she was different, and I think it still has

      22    to do with Bonnie.

      23           Q      Just because she was friends with Bonnie?

      24           A      No.     She's been friends with Bonnie.

      25           Q      Okay.     But that was why she was being rude




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 212 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 211

       1    to you?

       2        A      I'm not sure.

       3        Q      Okay.

       4        A      I didn't ask her.

       5        Q      Oh, okay.     Did you ask Claire why she was

       6    being rude to you?

       7        A      No.     She wasn't a friend, so I figured that

       8    would be the reason why.       Christy was.

       9        Q      So you're not really sure why Christy became

      10    hostile and rude to you?

      11        A      Uh-huh.     Yeah.

      12        Q      That's a true statement, you don't know why?

      13        A      Not Christy, no.

      14        Q      So it would be complete speculation for you

      15    to testify the reason why Christy treated you

      16    hostilely or rudely, correct?

      17        A      Other -- I mean, other than Bonnie, like I

      18    said, it's -- other than Bonnie, that's the only

      19    reason.

      20        Q      Do you have any actual evidence that it was

      21    because of Bonnie, or is that just something --

      22        A      In written form?     No.

      23        Q      Okay.

      24        A      Not no more.

      25        Q      Did anybody say anything to you, say it was




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 213 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 212

       1    Bonnie?

       2        A      She did.

       3        Q      She said it was because of Bonnie?

       4        A      Yeah.    She told me that Bonnie was saying,

       5    you know, that I wasn't doing my job and that --

       6    yeah.

       7        Q      Okay.    She said that Bonnie said you weren't

       8    doing your job?

       9        A      A few times.

      10        Q      And that was what you believe was the

      11    reason?

      12        A      Yeah.

      13        Q      Amy, Amy who?

      14        A      Jones.

      15        Q      Okay.    And what interaction did you have

      16    with Jamie -- or sorry, with Amy in your position?

      17        A      Not so many.    Not so much.

      18        Q      So how did she begin to interact with you

      19    differently?

      20        A      Well, she was just -- every time I came by

      21    her, she was just really rude.      And there was no need

      22    for her to be like that to me.      And I feel like with

      23    her and Jeremy, I feel like it was because I wasn't

      24    following what all of them were following.      I was

      25    kind of like the outcast.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 214 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                         Page 213

       1           Q      And when you say because you weren't

       2    following what they were following, what do you mean?

       3           A      The videos, the courses, their structure.       I

       4    did my job, and I didn't want anything to do with

       5    what they believe in.

       6           Q      Okay.    But you did watch the videos, right?

       7           A      Right.    Because I wasn't aware of what they

       8    were about in the beginning.

       9           Q      Okay.    Were you not following -- were you

      10    actively not following what the videos told you about

      11    the company?

      12           A      They're very unorganized.     They don't

      13    really --

      14           Q      That's not my question.     My question is,

      15    were you actively not following --

      16           A      I was following what they told me.     I was

      17    doing my job, telling me what I needed to do, so I

      18    did.

      19           Q      Okay.    So it wouldn't have been the videos.

      20    It would have just been the course work that Amy

      21    would have been upset with you about, because you

      22    were doing the videos?

      23           A      Yeah.    Yes.

      24           Q      Okay.    And did you ever have any discussions

      25    with Amy about the course work?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 215 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 214

       1        A       No.

       2        Q       Have you ever talked to Amy Jones?

       3        A       Like twice.

       4        Q       Okay.     What did you talk about?

       5        A       I -- nothing really.     We never really had a

       6    conversation.        It was more of a "hey" and "bye"

       7    thing.    But --

       8        Q       Did anybody ever tell you that Amy was upset

       9    with you?

      10        A       No.

      11        Q       So is it completely speculation on your part

      12    that Amy was upset with you for not doing the course

      13    work?

      14        A       Yeah.

      15        Q       What about Jeremy?     Did Jeremy ever talk to

      16    you about not doing the course work?

      17        A       Yes.

      18        Q       Okay.

      19        A       Twice.

      20        Q       What did he say to you about it?

      21        A       He asked me, "When are you doing the course

      22    work?"

      23                And I said, "I don't know."

      24                And he said, "Okay.     Make sure you get it

      25    done."




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 216 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 215

       1                And I said, "Okay."

       2        Q       Both times that's what he said?

       3        A       Once.     The second time he just mentioned the

       4    course work.        He didn't really ask me to do it or

       5    anything.

       6        Q       And is it your belief that Jeremy was

       7    interacting with you differently because you weren't

       8    doing the course work?

       9        A       That's part of it, yes.

      10        Q       And what else?

      11        A       After the religious and the case, the

      12    complaints I had open as well.

      13        Q       The work comp complaints?

      14        A       Uh-huh.

      15        Q       Oh, okay.     So you thought he was upset about

      16    work comp.        All right.

      17                Did Jeremy ever tell you that he was upset

      18    about the work comp complaints?

      19        A       No.

      20        Q       Did he ever tell you that he was upset about

      21    you not doing the course work?

      22        A       No.

      23        Q       So is it complete speculation on your part

      24    that he was upset with you about those two things?

      25        A       I mean, you can tell.     But if that's -- I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 217 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                           Page 216

       1    guess, yeah.        I mean, you can tell when their

       2    demeanor changed.

       3           Q      Demeanor changed when?

       4           A      Well, things started to get weird.      That's

       5    why I didn't want to go to the office anymore.           I

       6    still went, but I didn't want to.

       7           Q      When did they start to get weird?

       8           A      After the accident.

       9           Q      So how do you know that it is related --

      10    that the way that Jeremy was interacting with you

      11    differently was related to the religious aspect of

      12    not doing the course work or just not doing the

      13    course work versus the accidents that you were in?

      14           A      Well, from what I saw, people who did the

      15    course work, their attitude didn't change, his

      16    attitude didn't change towards them.         And to me, it

      17    did.

      18           Q      Were those people involved in an accident?

      19           A      No.   But the accident wasn't my fault.

      20           Q      I understand that.    I'm just saying, how do

      21    you know that it's -- when he was interacting

      22    differently with you that it was due to not doing the

      23    course work versus --

      24           A      It shouldn't last a very long time.

      25           Q      Did anybody ever tell you that Jeremy was




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 218 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 217

       1    upset with you for not doing the course work?

       2        A      No.     Not officially.

       3        Q      So you don't have any actual evidence.       It's

       4    just your surmise, correct?

       5        A      Sure.

       6        Q      Is that a yes?

       7        A      Yes.

       8        Q      All right.     Marie, who's Marie?

       9        A      Maria.

      10        Q      I'm sorry.     Maria.

      11        A      She's the accountant.

      12        Q      What's Maria's last name?     Do you know?

      13        A      No.

      14        Q      What kind of interaction did you have with

      15    the accountant?

      16        A      I saw her when I needed the gas receipts, my

      17    check, every time I needed to turn in any type of --

      18    like any time I needed to talk to her about, like,

      19    any gas or mileage or anything about the car or

      20    anything like that.

      21        Q      And she was treating you differently?

      22        A      She was.     She was really nice at first, and

      23    then out of nowhere she just turned.

      24        Q      And when did she turn?

      25        A      She was rude.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 219 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 218

       1                  About the same time Jeremy did.

       2           Q      Right after the accident?

       3           A      A little before that.

       4           Q      Before the accident?

       5           A      Uh-huh.

       6           Q      And do you relate Maria's changing to your

       7    not doing the course work or any religious issues?

       8           A      No.

       9           Q      Okay.     Did anyone at Real Water ever tell

      10    you that your religion was wrong?

      11           A      No.

      12           Q      Did anyone ever degrade your religion in any

      13    way?

      14           A      No.

      15           Q      Did you ever meet Brent Jones?

      16           A      I want to say once or twice for like a

      17    minute, if that.

      18           Q      Do you recall when you met him?

      19           A      No.     I saw him once towards the end of my

      20    work period, and then I saw him at the beginning.             I

      21    want to say within the first month of starting.

      22           Q      What did you -- did you talk to him when

      23    you --

      24           A      No.     He just -- Jeremy just introduced me,

      25    and that's it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 220 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                       Page 219

       1           Q      Did you speak with him about Scientology at

       2    all?

       3           A      No.

       4           Q      Did he ever try to communicate with you in

       5    any way, either orally or written form, about

       6    Scientology?

       7           A      No.

       8           Q      Do you know who Blaine Jones is?

       9           A      His son.

      10           Q      Do you know what his position is at the

      11    company?

      12           A      No.

      13           Q      Did you ever meet Blaine?

      14           A      I mean, I walked by his office, but we never

      15    got formally introduced.

      16           Q      Did you ever speak to him at all?

      17           A      No.

      18           Q      So did you ever speak to him about

      19    Scientology?

      20           A      No.

      21           Q      Did he ever attempt to communicate with you

      22    in any way, orally or written, about Scientology?

      23           A      No.

      24           Q      Do you know if Blaine is a Scientology?

      25           A      Do I know he is a Scientologist?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 221 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 220

       1        Q      Do you know if he is?

       2        A      I don't know.

       3        Q      Did Amy Jones ever speak to you about

       4    Scientology?

       5        A      No.

       6        Q      Did she ever try communicate with you in any

       7    way, written or oral, about Scientology?

       8        A      No.

       9        Q      Do you know who Frank Consiglio is?

      10        A      No.

      11        Q      Did Jeremy Edgel ever try to -- or did

      12    Jeremy Edgel ever speak with you about Scientology?

      13        A      No.

      14        Q      Did he ever try to communicate with you in

      15    any way, oral or written, about Scientology?

      16        A      No.

      17        Q      Do you know if Jeremy is a Scientologist?

      18        A      I don't know if he is an official

      19    Scientologist, but he has never really said he is a

      20    Scientologist.

      21        Q      Do you know who Christy Panalakus?

      22        A      Yes.

      23        Q      Who is Christy Panalakus?

      24        A      She was the HR of Real Water.

      25        Q      Okay.   She was HR at the end of your




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 222 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 221

       1    employment relationship with Real Water?

       2        A      Correct.

       3        Q      Okay.   Did you ever speak with Christy

       4    Panalakus about Scientology?

       5        A      No.

       6        Q      Did she ever attempt to communicate with you

       7    in any way, oral or written, about Scientology?

       8        A      No.

       9        Q      Do you know if she's a Scientologist?

      10        A      No.

      11        Q      No, you don't know, or, no, she isn't?

      12        A      No, I don't know.

      13        Q      Claire, who we referenced earlier, did she

      14    ever speak to you about Scientology?

      15        A      No.

      16        Q      Did she ever try to communicate with you in

      17    any way, oral or written, about Scientology?

      18        A      Other than the courses, no.

      19        Q      Do you know if she's a Scientologist?

      20        A      I do not know.

      21        Q      Marie Nava, who we spoke about earlier -- or

      22    not Marie, Melissa Nava who we spoke about earlier,

      23    did she ever speak to you about Scientology?

      24        A      No.

      25        Q      Did she ever attempt to communicate with you




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 223 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 222

       1    in any way, oral or written, about Scientology?

       2        A      No.

       3        Q      Do you know if she's a Scientologist?

       4        A      No, I do not know.

       5        Q      Did anyone else at the company ever try to

       6    talk to you, besides Bonnie Mercado, about

       7    Scientology?

       8        A      No.

       9        Q      When you were hired, did your job

      10    description require that you travel around Nevada and

      11    California?

      12        A      Yes.

      13        Q      And did you actually ever travel to

      14    California?

      15        A      No.

      16        Q      Why not?

      17        A      Because they never sent me out there.    And

      18    then after the accident, I was under medical

      19    restriction.

      20        Q      So you had a medical restriction that said

      21    you could not go to California?

      22        A      No.    But it said I couldn't sit for long

      23    periods of time, and I told him that.      I sent him the

      24    paper.    I showed it to him.

      25        Q      Who's him?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 224 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                          Page 223

       1        A      Jeremy.

       2        Q      You showed Jeremy the paperwork?

       3        A      Uh-huh.

       4        Q      Okay.     And they didn't make you go to

       5    California, correct?

       6        A      No.

       7        Q      That is correct, right?

       8        A      Correct.

       9        Q      Did you have any problems performing your

      10    job after the accident?

      11        A      Yes.

      12        Q      What was that?     You couldn't sit for a while

      13    so you couldn't travel to California, correct?

      14        A      Correct --

      15        Q      Anything else?

      16        A      -- or anywhere.

      17        Q      You couldn't travel anywhere?

      18        A      No.     I couldn't really travel.   I couldn't

      19    sit for long periods of time.

      20        Q      You could drive around town, though, and

      21    attend to the stores in the state, correct, or in the

      22    Las Vegas area?

      23        A      They're only -- yeah.     They're only ten

      24    minutes apart, so, yes.       And I would get up and walk.

      25    I would have to -- I still got my work done.          But I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 225 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 224

       1    couldn't be squatting or lifting the boxes.       So I

       2    would individually take out the bottles and put them

       3    in a cart and then push them.

       4        Q      Were you eventually released to full duty?

       5        A      No.

       6        Q      The restriction was on sitting for long

       7    periods of time?

       8        A      Uh-huh.

       9        Q      Was that the only restriction that you had?

      10        A      No lifting above ten pounds, no squatting,

      11    no bending.       And those restrictions are still now.

      12        Q      What is your understanding of why you were

      13    terminated from Real Water?

      14        A      What I was told?

      15        Q      Yeah.     What were you told?

      16        A      Well, it was -- I feel like it was a mixture

      17    of everything, of both.

      18        Q      What were you told was the reason you were

      19    terminated?

      20        A      They told me it was because I couldn't

      21    travel, so they don't need me anymore.

      22        Q      That was the reason they gave you?

      23        A      Yes.

      24        Q      Okay.     Were you provided with non-optimum

      25    reports?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 226 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 225

       1        A      The day of, yes, the day I got fired.      Right

       2    after he told me that, yes.

       3        Q      And by he --

       4        A      Jeremy and Christy.

       5        Q      Christy Panalakus?

       6        A      Yes.

       7        Q      Were they the only two at your termination

       8    meeting?

       9        A      Yes.

      10        Q      Any other reason that you were given that

      11    you were terminated?

      12        A      Not that I recall, no.

      13        Q      What do you believe was the reason you were

      14    terminated?

      15        A      I believe it's because of the not following

      16    what they -- their Scientology belief and also the

      17    medical disability.       It was a mixture of both.   I

      18    feel like if it was just one thing, they wouldn't

      19    have lied to me to come and bring the car in.

      20        Q      And that belief regarding because you didn't

      21    follow Scientology is based on everything that you

      22    testified to today, correct?

      23        A      Correct.

      24        Q      Is there any other evidence that you have to

      25    support that claim that you haven't testified about




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 227 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                       Page 226

       1    yet?

       2           A      No.

       3           Q      At your termination meeting, did either

       4    Jeremy or Christy state anything about your

       5    termination being based upon your not following

       6    Scientology?

       7           A      Of course not.

       8           Q      Did either of them say anything about your

       9    not doing the course work?

      10           A      No.

      11           Q      Did either of them say anything about your

      12    medical disability?

      13           A      They said I couldn't travel.

      14           Q      And that was the reason that you were

      15    getting terminated?

      16           A      Well, they knew that I -- he knew -- Jeremy

      17    knew that I was under medical restriction, so, yes,

      18    he knew.

      19           Q      So because you couldn't travel, that was the

      20    only reason given to you for your termination?

      21           A      Yeah.   And then the optimum reports came up

      22    after.

      23           Q      And you didn't relate the non-optimum

      24    reports to your termination?

      25           A      I did, but they came up to me the day of.      I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 228 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 227

       1    never got a warning or anything, and I had no chance

       2    to defend myself or anything.       They didn't really

       3    care what I had to say, so . . .

       4               (Defendant's Exhibit K was marked for

       5                 identification.)

       6    BY MS. GINAPP:

       7        Q      You have been handed what's been marked as

       8    Exhibit K.     Please take a look at it, and let me know

       9    when you're ready to talk about it.

      10        A      Okay.

      11        Q      You ready?

      12        A      Uh-huh.

      13        Q      Do you recognize this document?

      14        A      I do.

      15        Q      Have you seen it before?

      16        A      Once or twice.

      17        Q      And when did you see it?

      18        A      The day I got fired.

      19        Q      What is this document?

      20        A      A non-optimum report.

      21        Q      It's a non-optimum report dated 10/18/15,

      22    correct?

      23        A      10/8.

      24        Q      Sorry.     10/8/15, correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 229 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 228

       1        Q       All right.     And at the bottom, it's marked

       2    Plaintiff 1 and Plaintiff 2, correct, pltf?

       3        A       Yes.     Uh-huh.

       4        Q       And so did you receive a copy of this at

       5    your termination meeting?

       6        A       I did.

       7        Q       And is this, in fact, a copy that you

       8    received?

       9        A       Yes.

      10        Q       Is this a true and correct copy of this

      11    particular non-optimum report that you received at

      12    your termination meeting?

      13        A       Yes.

      14        Q       All right.     On the front page, it's signed

      15    by what looks to be Bonnie Mercado.        Do you recognize

      16    that as Bonnie's signature?

      17        A       Yes.

      18        Q       And there is no signature of the recipient,

      19    which would be you, correct?

      20        A       Correct.

      21        Q       Did you refuse to sign this agreement --

      22        A       Yes.

      23        Q       -- or sorry, this non-optimum report?

      24        A       Yes.

      25        Q       And why did you refuse to sign it?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 230 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 229

       1        A      Because I didn't get to defend myself.    They

       2    didn't give me a chance to explain or anything.      So

       3    their mind was already made up.

       4        Q      So the contents of this, I'm going to

       5    summarize it, is essentially that Bonnie made a

       6    statement that these stores listed on Page 2, that

       7    the representatives there had not seen a Real Water

       8    employee since Bonnie had been on a business trip

       9    in -- for essentially a month, from September to

      10    October, correct?

      11        A      That's what she says.

      12        Q      Okay.    And the stores listed, were those the

      13    stores that you were supposed to be servicing on

      14    behalf of Real Water in your position as brand

      15    manager?

      16        A      Yes.    But not every day.

      17        Q      Okay.    But they all are your stores -- were

      18    your stores, correct?

      19        A      She gave me the stores, yeah, while she was

      20    gone.

      21        Q      And did you actually go to these stores

      22    during that time?

      23        A      Yes.

      24        Q      So it's your position that these individual

      25    managers who she cites are lying about the fact that




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 231 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 230

       1    you were not there?

       2        A      No.     I was there.   And I didn't -- I'm not

       3    saying they're lying.       I did not see -- like when

       4    they -- if they're busy, I'm not going to take away

       5    the time from them.       So I would go in there and do my

       6    job and leave.

       7        Q      Weren't the managers supposed to sign off on

       8    a document, though?

       9        A      Right, they were.      But they were busy.

      10        Q      So you didn't have them sign off on the

      11    document that they needed to?

      12        A      No.     And, yeah -- okay.

      13        Q      Is there any other defense that you have

      14    that you want to state right now to what's contained

      15    in this non-optimum report?

      16        A      I mean, according to these stores?      In

      17    reference to the stores?

      18        Q      In reference to this --

      19        A      -- defending myself to Jeremy?

      20        Q      Yeah.     You said you weren't allowed to

      21    defend yourself, so I'm asking what your defense is.

      22        A      In this -- the middle section, especially

      23    the very first person, they didn't have a manager, a

      24    nutrition manager, so any other manager was taking

      25    care of this section.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 232 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                         Page 231

       1          Q       When you say this "middle section," can you

       2    tell me the stores that you're referencing?

       3          A       The 225 East Centennial, I'm speaking about

       4    that one in general.

       5          Q       That's Smith's?

       6          A       Yeah.    And then I did go to the other

       7    people.       I know Larry and I know Del.    And I dealt

       8    with the guy.         He was on vacation for a week too.

       9          Q       So it's your testimony that either Bonnie or

      10    the individuals listed for each store are not being

      11    truthful about what happened?

      12          A       I'm not saying they're not being truthful,

      13    no.       I'm just saying they probably don't remember or

      14    I didn't see them.

      15          Q       Anything else you want to say about this

      16    particular non-optimum report?

      17          A       I did go to the last -- yeah.    I did go to

      18    the last stores.

      19          Q       But you didn't meet with any of these

      20    managers, correct?

      21          A       I met with Ben, the receiver, which is on

      22    the second line.

      23          Q       I'm sorry.    Can you tell me what store

      24    you're referring to?

      25          A       Yeah.    1760 East Charleston and 2085.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 233 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                         Page 232

       1         Q      You met with Ben?

       2         A      Yeah.

       3         Q      Any other ones that you met with?

       4         A      1155 East Twain Avenue, I met with somebody

       5    else.     Not Don.

       6         Q      But you didn't have them sign off on

       7    anything, correct?

       8         A      Correct.

       9         Q      So you can't prove that you met with them?

      10         A      Yeah.

      11         Q      Anything else on that one?

      12         A      No.

      13                (Defendant's Exhibit L was marked for

      14                 identification.)

      15    BY MS. GINAPP:

      16         Q      You have been handed what's been marked as

      17    L.   Can you take a look at it.     And when you're ready

      18    to discuss it, let me know.

      19                MS. GINAPP:   You know what?     While she's

      20    looking at that, why don't we take a bathroom break.

      21    We'll go off for like ten minutes.         Does that work?

      22                THE VIDEOGRAPHER:   The time is approximately

      23    3:25 p.m.     We are going off the record.

      24                (Off the record.)

      25                THE VIDEOGRAPHER:   The time is approximately




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 234 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 233

       1    3:35 p.m.     We are back on the record.

       2    BY MS. GINAPP:

       3        Q       Okay.   Have you read Exhibit L, and are you

       4    ready to speak about it?

       5        A       Yes.

       6        Q       Do you recognize this document?

       7        A       Yes.

       8        Q       What is it?

       9        A       It's a non-optimum report.

      10        Q       And is it another non-optimum report dated

      11    10/8/15?

      12        A       Yes.

      13        Q       And did you receive this document at your

      14    termination meeting as well?

      15        A       Yes.

      16        Q       And is this your copy of the document that

      17    you received at your termination meeting?

      18        A       Yes.

      19        Q       And it's a true and accurate copy of the

      20    document you received at your termination meeting?

      21        A       I thought this one was with this.   They were

      22    together.     Or maybe not.   I don't know.

      23        Q       And you're referencing Exhibit K, the prior

      24    exhibit?

      25        A       Yeah.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 235 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                           Page 234

       1        Q      Okay.     All right.   Well, just looking at

       2    Exhibit L, then, this document is also signed by

       3    Bonnie Mercado, correct?

       4        A      Correct.

       5        Q      But it is not signed by you, right?

       6        A      Right.

       7        Q      And why didn't you sign this document?

       8        A      Because I didn't get a chance to defend

       9    myself.

      10        Q      Did you refuse to sign it?

      11        A      Yes.

      12        Q      And can you summarize for me what this

      13    non-optimum report says?

      14        A      She called me to ask me if I went to these

      15    stores, which I'm not exactly sure which stores she's

      16    referring to.       And she said, "I see these people

      17    every week."       And --

      18        Q      Let's just go through it line by line.         Do

      19    you recognize this to be Bonnie's handwriting on the

      20    second page?

      21        A      Yes.

      22        Q      Let's talk about non-optimum reports.        Are

      23    non-optimum reports essentially another name at Real

      24    Water for a disciplinary action, or is it not

      25    disciplinary in nature?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 236 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 235

       1        A      A written.

       2        Q      It's like a written?

       3        A      Yeah, a write-up.

       4        Q      A write-up.    Okay.

       5               Can anybody write a non-optimum report for

       6    any other employee?

       7        A      I thought it was just your higher-up.

       8        Q      Did you ever write a non-op report for

       9    anybody?

      10        A      Not that I know of, no.

      11        Q      So looking at Page 2 of Exhibit L, this

      12    appears to you to be Bonnie's handwriting, correct?

      13        A      Yes.

      14        Q      And you're familiar with her handwriting,

      15    correct?

      16        A      Yes.

      17        Q      All right.    So the first sentence says,

      18    "Today, 10/18/15, I called her to ask her if she

      19    has -- asked if she has went to these stores.       And

      20    she lied saying, 'Yes, I see these people every

      21    week.'"

      22               So did -- to your recollection, did Bonnie

      23    call you on October 8, 2015, and ask you if you had

      24    gone to your stores?

      25        A      Yes.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 237 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 236

       1        Q      Okay.    And 10/8/15 was the day before your

       2    termination, correct?

       3        A      Correct.

       4        Q      And did you tell her, "I see these people

       5    every week"?

       6        A      Yeah.    And I was speaking about in general.

       7        Q      Okay.    Did she ask you about specific stores

       8    or just all of your stores in general?

       9        A      I don't recall.    I think she was just asking

      10    about that day.

      11        Q      The next sentence says, "I specifically

      12    asked Grecia about the stores who said they have

      13    never met her at all.      And she said with attitude,

      14    'Of course, Bonnie.      I see these people every week.

      15    Of course I know them.'"

      16               Is that a true statement?

      17        A      Yes.    But it wasn't said with an attitude.

      18        Q      Okay.    The next statement says, "I then knew

      19    she was lying and asked her to bring paperwork, Real

      20    Water merchandise reports to verify.      And she told

      21    me, 'Oh, girl, I lost them the other day.      I only

      22    have this week and a few from last week.'"

      23               So setting aside her opinion that you were

      24    lying, did she ask you to bring paperwork to Real

      25    Water, merchandising reports to verify that you had




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 238 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 237

       1    visited those places?

       2        A      After a few months, yes.     She asked me to

       3    bring -- I don't know if she was talking about just

       4    those or all of them, because she hadn't asked me in,

       5    like, more than a month and a half.

       6        Q      But on October 8th, did she ask you to do

       7    that?

       8        A      Yes.

       9        Q      In that telephone call?

      10        A      Yes, I think so.

      11        Q      Okay.     And then did you respond, "Oh, girl,

      12    I lost them the other day.       I only have this week and

      13    a few from last week"?

      14        A      No.     I told her what happened, the truck,

      15    because I was using my truck.       And I didn't just lose

      16    certain -- I lost a pile.       And it was -- I don't know

      17    if they were from three months ago or that week.          It

      18    was just a pile that I had put on top while I was

      19    getting in.

      20        Q      Was there anything else about this summary

      21    that you dispute other than her opinion that you were

      22    lying?

      23        A      My attitude.

      24        Q      Okay.     Anything else that you dispute?

      25        A      I did see the people -- well, other than she




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 239 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                        Page 238

       1    thought I was lying, no.

       2           Q      Okay.    Anything else that you want to say

       3    about Exhibit L?

       4           A      Just that if I didn't say things how she

       5    wanted to hear them, then it was considered an

       6    attitude or rude.

       7           Q      And that's your opinion based upon your

       8    conversations with her?

       9           A      Yes.    And because she likes things done her

      10    way.       Even if it's the same exact thing, just an

      11    easier way, she still gets mad because it's not done

      12    exactly how she likes it.

      13           Q      Okay.    And she was your supervisor, correct?

      14           A      Correct.

      15                  (Defendant's Exhibit M was marked for

      16                   identification.)

      17    BY MS. GINAPP:

      18           Q      Okay.    You have been handed what's been

      19    marked as Exhibit M.         Please review it.   And when

      20    you're ready to discuss it, let me know.

      21           A      Okay.

      22           Q      Do you recognize this document?

      23           A      I do.

      24           Q      And can you explain what it is?

      25           A      It's a non-optimum report.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 240 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 239

       1        Q       And it's another non-optimum report dated

       2    10/8/15, correct?

       3        A       Correct.

       4        Q       All right.     And the signature of the

       5    originator for this non-optimum report, and it says

       6    at the top, Bonnie, was Bonnie Mercado, correct?

       7        A       Correct.

       8        Q       And you actually signed this non-optimum

       9    report, right?

      10        A       Right.     Because it was the first one on top

      11    of all of them.

      12        Q       Okay.     So this was the first one you

      13    received?

      14        A       Uh-huh.

      15        Q       Okay.     And that was the whole entire reason

      16    that you signed it?

      17        A       No.     And partially it was true.

      18        Q       Oh, okay.     And did you receive this document

      19    in your termination meeting?

      20        A       I did.

      21        Q       Okay.     And is this a true and accurate copy

      22    of the document that you received at your termination

      23    meeting?

      24        A       Yes.

      25        Q       Okay.     So this non-optimum report says, "I,




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 241 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 240

       1    Bonnie Mercado, received a text at 10:27 a.m. stating

       2    that Grecia had a doctor appointment around 12-ish

       3    because she had been throwing up about two days now

       4    and forgot to tell me.       She has previously done this,

       5    and today was the last straw of just stopping early.

       6    There was no mention in previous text to me that she

       7    was ill, as she usually does."

       8               Did I read that correctly?

       9        A      Yes.

      10        Q      All right.     So the first sentence states

      11    that Bonnie received a text at 10:27 a.m. stating

      12    that you had a doctor appointment around 12-ish

      13    because you had been throwing up for two days?

      14        A      Right.

      15        Q      Is all that true?

      16        A      Yes.

      17        Q      Okay.     And that you had forgotten to tell

      18    her that you were sick for two days?

      19        A      No.     I had mentioned to her prior to that.

      20    She knew I was constantly sick.

      21        Q      Okay.     You were constantly sick throwing up?

      22        A      And she knew I had ulcerative colitis and

      23    Crohn's.

      24        Q      So the question was, she knew you were

      25    constantly sick throwing up?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 242 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 241

       1        A      She knew I was constantly sick throwing up

       2    that time, yes.

       3        Q      Is throwing up something that's just part of

       4    your illness with --

       5        A      Yes.

       6        Q      -- ulcerative colitis and Crohn's?

       7        A      Yes.

       8        Q      And how did she know that you had ulcerative

       9    colitis and Crohn's?

      10        A      I told her, as well as I told Jeremy and

      11    Anthony.

      12        Q      Had you previously done this as she reports?

      13        A      Yes.   But I told her with time.   I told her

      14    a couple of days prior.

      15        Q      So this time you didn't give her any notice,

      16    correct?

      17        A      Correct.

      18        Q      And that was what she was upset about, as

      19    far as you knew?

      20        A      Yes.

      21        Q      All right.   Is there anything else that you

      22    want to add to your defense of this non-optimum

      23    report?

      24        A      Well, that was a -- just that doctor's

      25    appointment was made late.     It wasn't, like, planned




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 243 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 242

       1    and then I just told her last minute.

       2        Q      The two days prior to that that you were

       3    throwing up, were you working?

       4        A      Yes.

       5        Q      And were you working on the 8th as well?

       6        A      Yes.

       7               (Defendant's Exhibit N was marked for

       8                 identification.)

       9    BY MS. GINAPP:

      10        Q      You have been handed what's been marked as

      11    Exhibit N.     If you would review that, and let me know

      12    when you're ready to discuss it.

      13        A      Okay.

      14        Q      Do you recognize this document?

      15        A      I do.

      16        Q      And what is this document?

      17        A      A non-optimum report.

      18        Q      And is this non-optimum report dated

      19    October 9, 2015?

      20        A      Correct.

      21        Q      Okay.   And it was also initiated by Bonnie

      22    Mercado?

      23        A      Yes.

      24        Q      And you signed this one, correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 244 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                        Page 243

       1          Q      All right.    And why did you sign this one?

       2          A      Because this day I didn't have that route.

       3          Q      Okay.   Is all of the handwriting on this

       4    document Bonnie Mercado's, to the best of your

       5    knowledge?

       6          A      Yes.

       7          Q      Other than your signature, is any of the

       8    handwriting on this non-optimum report yours?

       9          A      No.

      10          Q      Okay.   So basically, if I can summarize

      11    this, and please correct me if you disagree, this is

      12    Bonnie's summary that she actually went to the

      13    particular stores listed and spoke with them and

      14    viewed the displays for Real Water and what she saw

      15    there, correct?

      16          A      Correct.

      17          Q      And you dispute the contents of this

      18    non-optimum report?

      19          A      Yes.

      20          Q      And can you explain to me why you dispute

      21    it?

      22          A      Our -- the runs, she would call me and give

      23    me the runs daily.        And then while she was gone, she

      24    just would tell me what run to do.        So I would look,

      25    you know, at my old -- like old schedules.        And she




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 245 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 244

       1    would change them last minute, and then she would

       2    just make a mess.     But this day I went to another

       3    route, the last day.       This was her route.

       4        Q      But she had been in California, correct?

       5        A      Correct.

       6        Q      And were you supposed to be covering her

       7    route in Vegas while she was gone?

       8        A      Yes.

       9        Q      And did you go to any of these stores while

      10    she was gone?

      11        A      I covered them twice.

      12        Q      Do you have any documentation showing that

      13    you covered them twice?

      14        A      I don't know.     I have a whole stack of

      15    papers at home.

      16        Q      Okay.   And those have not been produced to

      17    us through your attorney?

      18        A      I didn't think I needed them.

      19               MS. GINAPP:     We're going to need those

      20    documents, Counsel.

      21    BY MS. GINAPP:

      22        Q      Anything else you want to say about this

      23    non-optimum report?

      24        A      No.

      25        Q      When you were presented with this




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 246 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 245

       1    non-optimum report or any of the others at your

       2    termination meeting, did you offer to provide them

       3    evidence that you had actually been to any of the

       4    stores listed on any of the non-optimum reports?

       5        A      No.     They didn't really care.

       6        Q      And what makes you believe they didn't

       7    really care?

       8        A      They wouldn't let me give my side of the

       9    story.

      10        Q      Did you text message with Bonnie?

      11        A      Yes.

      12        Q      Did you text message with her after you were

      13    terminated?

      14        A      I did.     And Jeremy.

      15               (Defendant's Exhibit O was marked for

      16                 identification.)

      17    BY MS. GINAPP:

      18        Q      Go ahead and review what's been marked as

      19    Exhibit O.       And when you're ready to discuss, let me

      20    know.

      21        A      Okay.

      22        Q      Do you recognize these text messages?

      23        A      I do.

      24        Q      Are these text messages that you sent to

      25    Bonnie?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 247 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 246

       1        A      I did.

       2        Q      Okay.     And are there any text messages in

       3    here that you deny sending to Bonnie?

       4        A      No.

       5        Q      Are the text messages complete?

       6        A      On my side?

       7        Q      Uh-huh.

       8        A      Yes.     I think so.

       9        Q      So looking at the first page, marked at the

      10    bottom RW54, there's a text message that says,

      11    "You're a coward."

      12               Can you tell me why you sent that text

      13    message to Bonnie?

      14        A      Yes.     Thursday and Friday, or Thursday,

      15    specifically, she kept blowing up my phone.          So I

      16    blocked her.       And after I got fired on Monday

      17    morning, I get text messages from a client, one of

      18    the customers, saying that Bonnie is bad-mouthing me

      19    and saying bad things about me when she shouldn't.

      20    And if she did it to her, she's probably going to do

      21    it to everyone else.       And then -- yeah.

      22        Q      What was the customer that you received the

      23    text message from?

      24        A      What was?

      25        Q      Who was the customer?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 248 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 247

       1        A       Her name is Mercedes.

       2        Q       Do you remember Mercedes' last name?

       3        A       No.

       4        Q       Okay.   Was she from a store?

       5        A       Yes.

       6        Q       What store was she from?

       7        A       I don't know the number, but it's on

       8    Flamingo and Decatur, the Smith's.

       9        Q       Did she tell you what she was saying?

      10        A       She was saying that I wasn't -- she was

      11    basically saying that I wasn't doing my job, that I'm

      12    a bad worker, things like that.        She didn't really

      13    get into detail.      I was just like, "Okay.    Thanks for

      14    letting me know."

      15        Q       So why did you call her a coward in this

      16    text message?

      17        A       Because she wouldn't -- when I called her

      18    back after blowing up my phone, she wouldn't respond.

      19    So I just let it be.      And then I blocked her.    So I

      20    don't know if she responded to these messages or not.

      21    And because she likes to talk about other people

      22    behind their back, and then when you confront her

      23    about it, she denies it.

      24        Q       So the next two text messages seem to go

      25    together.     They say, "You think people aren't going




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 249 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                         Page 248

       1    to talk to me about what you're doing?         Lol.   Stop

       2    talking about me, Bonnie, or things will get bad."

       3                  What did you mean by that, that "things will

       4    get bad"?

       5           A      That things would blow up.

       6           Q      How?

       7           A      Meaning that I'm going to have to go to

       8    Jeremy.       I told Jeremy, and Jeremy didn't respond,

       9    so . . .

      10           Q      So this was after you were terminated, you

      11    were going to have to go to Jeremy?

      12           A      Well, I texted Jeremy telling him about

      13    what's Bonnie talking about me and stuff.         And I

      14    don't know if he responded or not.         I blocked him as

      15    well.

      16           Q      So that's what you meant "or things will get

      17    bad."       That meant you would go to Jeremy.    It didn't

      18    mean anything else?

      19           A      Correct.

      20           Q      If they're already --

      21           A      Or -- sorry.   Or basically say things that

      22    she talked to me in confidence.

      23           Q      You were going to tell people what she told

      24    you?

      25           A      Not tell people, but tell Jeremy, talk to




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 250 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                         Page 249

       1    Jeremy about it.     But I never did.     I let it go.

       2        Q      Things related to work?

       3        A      Some, yes.

       4        Q      What were those things?

       5        A      I'd rather not.

       6        Q      You don't have a choice.      You can say no if

       7    you want, but I can give a motion to compel.

       8        A      Well, all the Scientology stuff.      And all,

       9    like, how she keeps the per diem money and she uses

      10    the car for private -- private usage.

      11        Q      For personal use?

      12        A      Yes.

      13        Q      Okay.   Anything else?

      14        A      When she goes to California, she takes her

      15    daughter when she's at work.        And I was told that's

      16    not supposed to be.     But I never did, so . . .

      17        Q      Anything else?

      18        A      What she said about Jeremy.      I mean --

      19        Q      What did she say about Jeremy?

      20        A      That Jeremy was an ex-heroin addict and that

      21    he probably still uses.      Things that weren't

      22    really -- so, you know, I didn't say anything.           I

      23    just let it go.

      24        Q      Okay.   Next sentence says, "If they already

      25    let me go because of you and some injustice and lies




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 251 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 250

       1    about your shit, then shut your fucking mouth and let

       2    it be easy as that."

       3               Is that correct?   Did I read that correctly?

       4        A      You did.

       5        Q      Then it looks like there's just a period on

       6    10/14, correct?

       7        A      Yes.

       8        Q      Then on 10/19/2015, it says, "Seriously,

       9    stop telling people what's not true.     Stop saying

      10    things based upon assumptions."

      11               What were you referencing there?

      12        A      Well, I went to a store and talked to one of

      13    the managers, and, again, he was telling me the same

      14    thing, similar things.

      15        Q      What store did you go to?

      16        A      Rainbow and Charleston, I believe.

      17        Q      What store?

      18        A      It's an Albertsons.

      19        Q      Okay.   Why did you go to that store to talk

      20    to a manager?

      21        A      I was there shopping and I saw him, so I was

      22    just talking to him.     He was asking me how I was

      23    doing and how come I'm not there anymore.       And he

      24    said Bonnie came in there bad-mouthing me.       And I was

      25    like, "Oh, okay."




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 252 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                        Page 251

       1           Q      What did he say that she said about you?

       2           A      The same thing as Mercedes.

       3           Q      That you weren't working there and that you

       4    weren't doing your job?

       5           A      Yeah.   And then she was saying -- basically

       6    telling everyone else.         But she wasn't just saying it

       7    like that.       She was saying it in a very derogatory

       8    way.

       9           Q      That's what he told you, or that's what you

      10    surmised?

      11           A      That's what he told me.

      12           Q      All right.    Then there's one that says,

      13    "They're over here trying to tell me everyone is

      14    trying to get ahold of me, and it was only you and

      15    Jeremy after 2:30.         I don't answer after 2 to them."

      16           A      This was prior to me getting fired.

      17           Q      Okay.

      18           A      Well, that text message, I believe.    That

      19    was the day I got fired, if I'm not mistaken.

      20           Q      What does it mean, "I don't answer after 2

      21    to them"?

      22           A      Meaning I was already off work.

      23           Q      So you don't have to respond to your

      24    employer's telephone calls after you're off work?

      25           A      Not -- no, I don't want to.    Plus I had




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 253 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 252

       1    stuff to do, so, no.      I had a doctor's appointment.

       2    But I got ahold of Christy Panalakus, who told me to

       3    bring the car in, when in reality it was to fire me.

       4        Q       It says, "He was lucky I did today."     What

       5    does that mean?

       6        A       That I answered after 2:30.

       7        Q       So you were sending these text messages, you

       8    believe, on the day that you were fired after you got

       9    fired, correct?

      10        A       Yes.

      11        Q       Okay.   So then the next one says, "Good job,

      12    Bonnie.     You just cost Real Water money."     Or monry,

      13    but I assume you meant money.        Correct?

      14        A       Yes.

      15        Q       And what do you mean by that, "You just cost

      16    Real Water money"?

      17        A       To be honest, I'm not really sure.

      18        Q       Was it a threat?

      19        A       It's probably because I was sad.     No, it

      20    wasn't really a threat.        I don't see why it would be

      21    a threat.

      22        Q       Did you mean that you were going to file a

      23    lawsuit against Real Water?

      24        A       No.

      25        Q       Okay.   So next one says, "Shit just got




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 254 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 253

       1    real."

       2               What did you mean by that?

       3        A      That I was sad and angry.

       4        Q      It was not meant as a threat?

       5        A      No.     I don't think so.

       6        Q      Well, you're the one that sent it, correct?

       7        A      Correct.     I was sitting there crying,

       8    texting her back, so I guess -- these are -- this is

       9    the front page to this one.

      10        Q      Oh, okay.     So the back page is actually the

      11    front page?

      12        A      Uh-huh.

      13        Q      "You are such a two-faced.     How dare you not

      14    come and ask me what really happened instead of

      15    saying things you don't really know."

      16        A      She didn't come to me and ask me anything.

      17    She just went directly to the non-optimum reports.

      18    She just asked me the day of.

      19        Q      So that's probably what "you're a coward"

      20    means, that she didn't come ask you, since that

      21    follows on the same day?

      22        A      Probably.

      23        Q      Okay.     Are those text messages missing

      24    anything that you can recall?

      25        A      No.     Because I had already blocked her, so I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 255 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                              Page 254

       1    don't know if she replied or not.             And I didn't try

       2    texting her after that.

       3           Q      So you had blocked her but -- that you could

       4    text, but she couldn't text you back?

       5           A      Right.

       6           Q      Okay.     So let's talk about the courses.

       7    When did you first learn about the -- the course

       8    program?

       9           A      When I actually realized about it or my --

      10           Q      No.     When did someone tell you about it?

      11           A      The Friday after I started.

      12           Q      Okay.     And that was the first day you

      13    actually tried to do courses?

      14           A      Uh-huh.     Yes.

      15           Q      And that was actually the only day you tried

      16    to do courses?

      17           A      Correct.

      18           Q      And you read for about 30 minutes, about ten

      19    pages, and then you said at some point to Bonnie that

      20    it was crap, right?

      21           A      Yeah.

      22           Q      Okay.     And then you left?

      23           A      Well, yeah.        She left with me.   She -- did

      24    she?       Yeah, I think she left.        I waited for her, and

      25    then we left.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 256 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 255

       1        Q      And how did you learn about the course

       2    program?

       3        A      Her.

       4        Q      Through Bonnie?

       5        A      Uh-huh.

       6        Q      And what did Bonnie tell you about it?

       7        A      She said that if I -- every course I

       8    complete, it is 25 cent raise and that I have to --

       9    it's during work hours.

      10        Q      So you got paid for doing the course work?

      11        A      Yes.    And it was in that back middle room

      12    between the warehouse and the reception.        It was a

      13    small, little rectangle room.

      14        Q      Specifically set aside for doing course

      15    work?

      16        A      Yes.

      17        Q      Were the books in there, or did you have to

      18    get them from anybody?

      19        A      The books were in there, and you had to

      20    leave them in there.

      21        Q      Go back to Exhibit A, which is the

      22    complaint, and look at Paragraph 20.        Can you read

      23    that Paragraph 20 out loud?

      24        A      Under General?

      25        Q      Yeah.     There's only one 20.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 257 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 256

       1        A      "A week or two after beginning her work,

       2    plaintiff attempted to sit through one course but

       3    quickly realized it was similar to the one she was

       4    required to watch on her first day.       And that day

       5    they revolved around Scientology themes and overtly

       6    promoted the religion."

       7        Q      Okay.     So the way I read that, when you

       8    attempted to read through one course, it was a video

       9    that you were sitting through, correct?

      10        A      No.     It was a book.

      11        Q      So maybe just this was worded poorly.

      12        A      No.     It says it's -- attempted to sit

      13    through one course but then realized that it was

      14    similar to the -- the things -- the videos that I had

      15    to watch the first day.

      16        Q      And then No. 21 says, "Plaintiff came up

      17    with an excuse to leave without finishing the

      18    course."

      19               Is that correct?

      20        A      Yes.

      21        Q      All right.     And what was that excuse you

      22    came up with?

      23        A      I wanted to go home.

      24        Q      Okay.     But it says you came up with an

      25    excuse.    Your excuse was you want to go home?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 258 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 257

       1        A      I -- it wasn't -- it was like I had -- I

       2    just told her I left.     I wanted to leave.

       3        Q      Oh, okay.   So you didn't actually have to

       4    come up with an excuse?

       5        A      It wasn't an excuse, yeah.     It was more of

       6    a, "I don't want to do this.       I want to leave."

       7               And she's like, "Okay.     Give me a second."

       8        Q      And you were saying this to Bonnie?

       9        A      Yes.

      10        Q      And when you told her that, she just said

      11    okay?

      12        A      She was like "Well, wait a little longer.

      13    Just sit here and then just wait."

      14               And I'm like, "Okay."     So then we waited a

      15    little bit, and then we left.

      16        Q      Of course, it was during work hours when you

      17    were supposed to be at work anyway, right?

      18        A      Yes.

      19        Q      So you were getting paid to sit there and

      20    not do anything?

      21        A      Yeah.   But I was still kind of skimming.

      22    That's it.

      23        Q      Okay.

      24        A      I wasn't doing the course work.

      25        Q      Okay.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 259 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 258

       1        A       I told her I didn't want to.

       2        Q       And she said okay?

       3        A       Yeah.

       4        Q       And did you ever go back into that room

       5    again?

       6        A       I passed through it, but, no, I didn't go

       7    back there.

       8        Q       Why did you pass through it?

       9        A       Because it's in between the reception and

      10    the warehouse, and the warehouse is where all the

      11    Real Water is at.        So you had to walk through there

      12    to go to the warehouse.

      13        Q       Oh, okay.     So it was like a pass-through

      14    hallway?     It wasn't a separate room?

      15        A       It was like a -- it was the reception, front

      16    room, and then there was like a door and then like a

      17    small, little room, and then the warehouse, the door

      18    to the warehouse.

      19        Q       Okay.     And the small, little room was off to

      20    the side?

      21        A       No.     It -- yeah, yeah.

      22        Q       And it was separate from the door to the

      23    warehouse.

      24                Was there a door on that small, little room?

      25        A       No.     I don't think so.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 260 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 259

       1        Q      Do you remember the name of the book that

       2    you were skimming through?

       3        A      I don't recall the name of it, no.

       4               (Defendant's Exhibit P was marked for

       5                 identification.)

       6    BY MS. GINAPP:

       7        Q      And you've been handed what's been marked as

       8    Exhibit P.       If you'd go ahead and take a look at it.

       9    And when you're ready to discuss it, let me know.

      10        A      Okay.

      11        Q      Have you ever seen this document before?

      12        A      No.

      13        Q      Do you recognize any of these titles as the

      14    book that you looked at that one Friday that you

      15    attempted to do course work?

      16        A      I don't recall the name of the book.

      17        Q      Do any of these -- you said you reviewed

      18    some books prior to your deposition today.         Do any of

      19    these titles look familiar to you from those books

      20    that you looked at in preparation for your deposition

      21    today?

      22        A      I don't know the names of it.

      23        Q      Okay.     What about the second page?    Have you

      24    ever seen the second page?

      25        A      No.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 261 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 260

       1        Q      So is it your testimony that you never

       2    received a copy of this first page of Exhibit P?

       3        A      I don't recall getting this first page, no.

       4               (Defendant's Exhibit Q was marked for

       5                identification.)

       6    BY MS. GINAPP:

       7        Q      You don't have to read this whole thing, but

       8    take a look at it.     And when you're ready, my

       9    question is, do you recognize this document?       Have

      10    you ever seen it before?

      11        A      I don't remember reading this.

      12        Q      Is it your testimony that you have never

      13    seen that document before?

      14        A      I don't recall if I did or haven't.

      15        Q      Does it appear to -- I know you said you

      16    don't recall, but does it appear to be the document

      17    that you looked at that Friday in the course room?

      18        A      This one?

      19        Q      Right.

      20        A      I don't know, to be honest.

      21        Q      If I asked you to identify a place in that

      22    document that references Scientology, would you be

      23    able to do that?

      24        A      In this?

      25        Q      Yeah.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 262 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                        Page 261

       1          A       I mean --

       2          Q       Other than it saying "L. Ron Hubbard" on the

       3    front?

       4          A       I don't -- I haven't read it, so I don't

       5    know.

       6          Q       Okay.

       7          A       I don't think I have.    I don't -- I don't

       8    recall.       I don't remember this.

       9          Q       Okay.   Go ahead and put it to the side,

      10    then.

      11                  (Defendant's Exhibit R was marked for

      12                   identification.)

      13    BY MS. GINAPP:

      14          Q       Okay.   Same thing with this.   Take a look at

      15    it.       You can take that off.   And let me know if you

      16    recall seeing or ever looked at that -- this

      17    document.

      18          A       It was so long ago that I don't even

      19    remember.

      20          Q       Well, approximately a year and a half ago,

      21    correct, in March of 2015?

      22          A       Yeah.

      23          Q       You don't remember the pictures that are on

      24    those pages?

      25          A       They don't -- I don't -- it doesn't -- I




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 263 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                        Page 262

       1    don't -- it doesn't seem any, like, familiar to me or

       2    anything.

       3        Q       Okay.     So if I asked you to locate for me

       4    religious material or material regarding Scientology

       5    within that document, you wouldn't be able to do

       6    that; is that correct?

       7        A       Correct.     Because I don't -- I don't know if

       8    I read this or not.

       9        Q       And you testified earlier you would have

      10    only read like the first ten pages of whatever book

      11    you looked at, correct?

      12        A       Correct.     And, like, I skimmed through it.

      13        Q       Okay.     You skimmed through it till you found

      14    the word "Scientology."        That's your testimony,

      15    correct?

      16        A       No.     I just happened to see it.

      17        Q       Okay.     You can go ahead and put the rubber

      18    band on it and put it to the side.

      19                (Defendant's Exhibit S was marked for

      20                 identification.)

      21    BY MS. GINAPP:

      22        Q       You've been handed what's been marked as

      23    Exhibit S.        Go ahead and take a look at that

      24    document.     It's titled "How to Effectively Handle

      25    Work."     And if you could let me know if you recognize




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 264 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 263

       1    this document, if you have looked at it before.

       2        A      I don't recall this.

       3        Q      So is it your testimony you do not believe

       4    that this was the book that you looked at on that

       5    Friday that you did the course work for 30 to

       6    60 minutes?

       7        A      I can't say I did or I didn't.    I don't

       8    remember which book it is.

       9        Q      So if I asked you to identify any religious

      10    or Scientology information in this book, you wouldn't

      11    be able to do it; is that correct?

      12        A      Correct.

      13               (Defendant's Exhibit T was marked for

      14                 identification.)

      15    BY MS. GINAPP:

      16        Q      You've been handed what's been marked as

      17    Exhibit T.     It's titled "How to Increase Efficiency

      18    in Your Company.      Go ahead and look at it to your

      19    comfort level.     And then let me know if you recognize

      20    this book, if you have ever seen it before.

      21        A      I don't think I've seen this book.

      22        Q      Okay.   So you could not identify in that

      23    book any religious or Scientology-based material; is

      24    that correct?

      25        A      Correct.    I don't think I've ever read this




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 265 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 264

       1    book before, no.

       2                (Defendant's Exhibit U was marked for

       3                 identification.)

       4    BY MS. GINAPP:

       5        Q       I'm handing you what's been marked as

       6    Exhibit U.        It's titled "Formulas for Business

       7    Success."     Same with the prior exhibits, go ahead and

       8    look at it to your comfort, and then let me know if

       9    you believe you've ever read any part of this book or

      10    seen it before.

      11        A       I don't remember if this was the book

      12    either.

      13        Q       Okay.     Do you recognize that book at all?

      14        A       I'm not sure.

      15        Q       Do you have any reason to believe that you

      16    read that book or part of it?

      17        A       I honestly can't remember which book, which

      18    one it was.

      19        Q       Well, we have got a few more, so we can look

      20    at those to see if any of those were the books that

      21    you read.     Do you remember the subject matter of the

      22    book that you were looking at?

      23        A       No.

      24                (Defendant's Exhibit V was marked for

      25                 identification.)




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 266 of 290

                 Grecia Echevarria Hernandez November 3, 2016
                         * * *Videotaped Deposition* * *
                                                                        Page 265

       1    BY MS. GINAPP:

       2         Q      I'm giving you what's been marked as Exhibit

       3    V.   It's a copy of a book called "Management by

       4    Statistics."        Again, as with the other ones, please

       5    look at it to your comfort level.        And then when you

       6    are ready to answer the question, the question is,

       7    have you ever seen this book?        Do you believe it to

       8    be the one that you read that day?

       9         A      Are all of these the same books?     They all

      10    have -- I mean, that's why it's a little difficult,

      11    because they have a lot of similar -- I don't recall

      12    on this one either.

      13         Q      So if I asked you to show me a place in

      14    Exhibit V that talked about Scientology or religious

      15    matters, you wouldn't be able to do that, correct?

      16         A      Correct.

      17         Q      Okay.     Go ahead and put it to the side.

      18                (Defendant's Exhibit W was marked for

      19                 identification.)

      20    BY MS. GINAPP:

      21         Q      I'm handing you what's been marked as

      22    Exhibit W.     It's titled, "Speaking from Experience."

      23    Again, please look at it to your comfort level.          And

      24    the question will be if you've ever seen this book

      25    before, if it was the book that you read that day in




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 267 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 266

       1    the course room.

       2        A      I don't have any recollection of this book

       3    either.

       4        Q      Okay.   So if I asked you to point out

       5    anything that was religious or based on Scientology

       6    at all in that book, you wouldn't be able to do it,

       7    correct?

       8        A      Correct.

       9        Q      Do you have any recollection of the book you

      10    were looking at?      Was it copies of a book, or was it

      11    a hardbound book that you were looking at that day?

      12        A      I believe it was a book.

      13        Q      A hardbound book or a paperback book?

      14        A      It looked like a paperback book.    I'm not

      15    sure.

      16        Q      Was it thick a paperback book, or was it

      17    thin?

      18        A      It was -- I'm not sure.

      19        Q      Do you remember the color of the book?

      20        A      No.

      21        Q      Do you remember anything about the book?

      22        A      No, I do not.

      23        Q      When you were looking at the book, did you,

      24    by any chance, skip to the end pages and look at the

      25    end pages?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 268 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 267

       1        A       No, I did not.

       2        Q       Would you have skipped to the end and read

       3    the glossary of any of the book -- of the book if it

       4    had one?

       5        A       Would I?

       6        Q       Yeah.

       7        A       I normally do.

       8        Q       You skip to the end and read a glossary?

       9        A       Sometimes.

      10        Q       Without reading the rest of the book?

      11        A       Depending on the book.

      12        Q       Okay.     Do you recall doing that in this

      13    instance?

      14        A       No.

      15        Q       No.     You just read the first ten or so pages

      16    of the book?

      17        A       Right.

      18        Q       Or skimmed them, correct?

      19        A       Correct.

      20        Q       Have you ever done an independent

      21    investigation of the business management technology

      22    used by the company?

      23        A       No.

      24        Q       Why not?

      25        A       I just didn't want to.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 269 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                       Page 268

       1          Q      You never Googled it?

       2          A      No.

       3          Q      Do you know what WISE is?

       4          A      I've heard of it, but I don't know what it

       5    is.

       6          Q      Okay.   And what context have you heard of

       7    WISE?

       8          A      I'm not sure.   I remember it.    It sounds

       9    familiar, but I just don't remember where.

      10          Q      Did you hear about it at Real Water or

      11    somewhere else?

      12          A      I'm not sure.   I think I might have heard it

      13    there.

      14          Q      Do you remember in what context?

      15          A      No.

      16                 (Defendant's Exhibit X was marked for

      17                  identification.)

      18    BY MS. GINAPP:

      19          Q      Appropriately, you've been handed Exhibit X.

      20    Take a look at it, and let me know when you're ready

      21    to talk about it.

      22          A      I'm ready.

      23          Q      Do you recognize this document?

      24          A      No.

      25          Q      You have never seen this document before?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 270 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 269

       1        A      I don't think so.

       2        Q      I believe it was produced by your counsel.

       3    You didn't -- as far as you know, it didn't come

       4    from -- originate with you?

       5        A      I think -- I've never received it, but I

       6    heard about the 10X Club from Christy Oldenkamp.       She

       7    mentioned it.     I think it was after I had already

       8    left.

       9        Q      Are you familiar with the book The 10X Rule?

      10        A      I'm not.

      11        Q      So do you have any belief whether or not The

      12    10X Rule is based in Scientology or not?

      13        A      I don't think -- I don't know.

      14        Q      You don't have any knowledge whatsoever?

      15        A      I don't have any knowledge.

      16        Q      So the 10X Club and -- at Real Water, which

      17    appears to require you to read The 10X Rule, by Grant

      18    Cardone, that didn't affect you in any way?

      19        A      No.   I believe this was our -- this

      20    started -- well, I heard about it after I was gone.

      21        Q      Oh, okay.

      22        A      Christy told me about it, and we had a

      23    conversation about it talking about how it's

      24    Scientology based.

      25        Q      Oh, okay.   But that was after you left?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 271 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                        Page 270

       1          A      After I left.

       2          Q      And you don't have any independent knowledge

       3    as to whether or not it's Scientology based?

       4          A      No.

       5          Q      Okay.   And The 10X Club is not at all part

       6    of any evidence that supports your claim for

       7    religious discrimination at Real Water, correct?

       8          A      She -- Christy mentioned it.

       9          Q      But is it part of your claim?     Was it --

      10    does it underlie the facts of your claim for

      11    religious discrimination?

      12          A      I never got this, so, no.

      13          Q      Did you tell Bonnie Mercado that you had a

      14    past prescription drug problem?

      15          A      I had mentioned it vaguely.

      16          Q      Okay.   And in what context did you mention

      17    it?

      18          A      I told her -- well, I was sick.     And because

      19    I was getting prescribed, I -- I guess you can say I

      20    used them because I was sick.

      21          Q      Okay.   And did you tell her that you had a

      22    prescription drug problem?

      23          A      I told her I abused a little bit, yeah.       And

      24    then she told me she --

      25          Q      Go ahead.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 272 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 271

       1        A      -- smokes weed.

       2        Q      Was this during the time when you guys were

       3    being friends?

       4        A      Yes.

       5        Q      And just to be clear, when you were telling

       6    her about your past prescription drug abuse, you

       7    were -- that was definitely a past issue, correct?

       8        A      Yes.

       9        Q      All right.     And you weren't asking for any

      10    accommodation or anything like that at work?

      11        A      No, no.     In fact, when I got into the car

      12    accident, I told Jeremy that the doctor prescribed me

      13    pain medicine.       And I told him that I only take -- if

      14    I needed it, I take it after I get off work.       And he

      15    said, "Have you ever tried smoking weed?"

      16               And I said, "No.     I don't really want to."

      17        Q      Have you calculated how much you're asking

      18    for in damages related to lost wages?

      19        A      I believe I did.

      20        Q      Can you tell me what that is?

      21        A      Just the months that I haven't been able to

      22    find a job.

      23        Q      Okay.     Do you have an approximate estimate

      24    as to what that equals currently as you sit here

      25    today?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 273 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                          Page 272

       1           A      Not off the top of my head.

       2           Q      And you're not currently employed, correct?

       3           A      Correct.

       4           Q      Your complaint requests damages for mental

       5    anguish, emotional distress and pain and suffering.

       6    Are you aware of that?

       7           A      What was that?

       8           Q      Your complaint requests damages for mental

       9    anguish, emotional distress and pain and suffering.

      10    Are you aware that it does that?

      11           A      Yes.

      12           Q      Can you explain to me what that means in

      13    your own words?

      14           A      That it's made me feel anxious, depressed,

      15    sad.

      16           Q      Anything else?

      17           A      Penniless.     And it's hard to get a job.   So

      18    stressful.

      19           Q      Has your anxiety, depression, sadness,

      20    stress, has that manifested itself in any physical

      21    symptoms?

      22           A      No.     As in like --

      23           Q      Just any physical symptoms.

      24           A      I don't think so, no.

      25           Q      Okay.     Since you were terminated from Real




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 274 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 273

       1    Water, have you been hospitalized at all?

       2        A       Yes, but for my UC.

       3        Q       And you don't relate that to -- UC, sorry,

       4    means ulcerative colitis?

       5        A       Yes.

       6        Q       And you don't relate that in any way to your

       7    feeling anxious or depressed or anything like that,

       8    right?

       9        A       Maybe just a little bit of the stress,

      10    but . . .

      11        Q       But in general --

      12        A       Yes.

      13        Q       -- it's not related?

      14        A       No.

      15        Q       It's not related, correct?

      16        A       No.

      17        Q       Have you sought medical treatment for your

      18    anxiety, depression, sadness, stress?

      19        A       When I first got fired, I -- well, a little

      20    bit after that, I went to my doctor and he prescribed

      21    me Xanax, low dose.

      22        Q       Are you still on Xanax?

      23        A       No.

      24        Q       How long did you take Xanax?

      25        A       Very seldomly for a month.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 275 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                     Page 274

       1        Q      Approximately how many Xanax do you think

       2    you took over the course of that one month?

       3        A      Maybe like three or four, and they were

       4    .25s.

       5        Q      And then you stopped?

       6        A      Yeah.

       7        Q      Because you didn't feel like you needed them

       8    anymore?

       9        A      I just don't like taking pills anymore.

      10        Q      Did you tell your doctor that you were going

      11    to stop taking the Xanax?

      12        A      Yeah.

      13        Q      And he was fine with that, or she?     I don't

      14    know if it's --

      15        A      Yeah.   He was okay with it.

      16        Q      Okay.   What was your doctor's name?

      17        A      Raphael Mirchou.

      18        Q      Can you spell the last name?

      19        A      M-I-R-C-H-O-U.

      20               He prescribed -- he prescribed them to me,

      21    but I didn't use them.      And he knew, just in case.

      22        Q      Does he work through a practice, or is he on

      23    his own?

      24        A      I think he owns his own.

      25        Q      Do you know the name of it?




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 276 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 275

       1        A      No.

       2        Q      Any other doctors or medical treatment that

       3    you received for your anxiety, depression, sadness --

       4        A      No.

       5        Q      -- stress?

       6               Your complaint also requests damages for

       7    humiliation.       Is it your testimony that you suffered

       8    humiliation as a result of your termination?

       9        A      After that media, yes.     Specifically, after

      10    the media coverage they had, yes.

      11        Q      So after the media coverage, you had

      12    humiliation.       And the media coverage occurred after

      13    you filed your complaint, correct?

      14        A      Yes.

      15        Q      The complaint also seeks damages for harm to

      16    reputation.       Is it your testimony that you suffered

      17    harm to your reputation as a result of being

      18    terminated from Real Water?

      19        A      Well, that was also for the media.

      20        Q      Okay.     So your harmed reputation was only

      21    after the media coverage, correct?

      22        A      And -- yeah.

      23        Q      Okay.     And that occurred, again, after you

      24    filed your lawsuit, correct?

      25        A      Correct.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 277 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 276

       1        Q      All right.     And then it also requests

       2    damages for other losses.       Did you suffer any other

       3    losses that you are requesting to be compensated for

       4    as a result of your termination?

       5        A      I -- I don't think so.

       6        Q      All right.     Do you have a Twitter account?

       7        A      I don't use it.

       8        Q      But you have one?

       9        A      It's been dead forever.

      10        Q      How long has it been dead?

      11        A      I don't know.     Since I opened it, I never

      12    used it.

      13        Q      Do you remember what your screen name is for

      14    your Twitter account?

      15        A      No.

      16        Q      Are you on Facebook?

      17        A      It's deactivated.

      18        Q      How long has it been deactivated?

      19        A      For a while.     For over a year.   It was

      20    deactivated for months and then I reopened it, and I

      21    had Facebook requests from Amy, Maria, Amy Jones and

      22    Maria, and I obviously didn't approve them.        And then

      23    I re-deactivated it.       And I got messages from people

      24    telling me about the whole media thing, and then I

      25    just deactivated it again.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 278 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 277

       1        Q      Okay.   So when was the first time you

       2    deactivated it?

       3        A      A long time ago.

       4        Q      Okay.   Was it while you were working for

       5    Real Water?

       6        A      Before that --

       7        Q      Okay.

       8        A      -- because I don't use it.

       9        Q      All right.   It was deactivated before you

      10    worked at Real Water.

      11               When you worked at Real Water, was it active

      12    at any time?

      13        A      No.

      14        Q      Okay.

      15        A      I don't think so.   I only normally get on

      16    there just to speak to family from other -- from

      17    Mexico.

      18        Q      Okay.   When did you reactivate it?

      19        A      Around my birthday, May 7th.   Around there.

      20        Q      Of 2016?

      21        A      Yes.

      22        Q      Okay.

      23        A      I reactivated it for like three, four days

      24    and then deactivated it again.

      25        Q      And that was when you saw that Amy and




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 279 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                                Page 278

       1    people from Real Water had tried a friend request to

       2    you?

       3           A      Uh-huh.

       4           Q      And did you notice the dates that they had

       5    tried to friend request you?

       6           A      No.     Because it was deactivated, so I

       7    guess --

       8           Q      You couldn't tell when?

       9           A      Yeah.     I don't know.

      10           Q      Do you have an Instagram account?

      11           A      I do.

      12           Q      Do you have a screen name for your Instagram

      13    account?

      14           A      I don't really use it.           I don't really use

      15    social media that much.

      16           Q      Do you have any other social media accounts

      17    that you do use?

      18           A      No.     That I do use?

      19           Q      Yeah.

      20           A      No.

      21                  MS. GINAPP:     All right.        I'm going to take a

      22    break to just kind of go through my notes, because

      23    this is my one and only chance to talk to you.                And

      24    so we'll take about -- what time is it?

      25                  THE VIDEOGRAPHER:        4:37.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 280 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                             Page 279

       1                MS. GINAPP:     Okay.        So let's take about a

       2    ten-minute break.        And then I'll ask you the

       3    remainder of my questions, and then we will be done.

       4                THE WITNESS:        Okay.

       5                MS. GINAPP:     Okay.

       6                THE VIDEOGRAPHER:           The time is approximately

       7    4:37 p.m.     We are going off the record.

       8                (Off the record.)

       9                THE VIDEOGRAPHER:           The time is approximately

      10    4:45 p.m.     We are back on the record.

      11    BY MS. GINAPP:

      12        Q       You're still under oath.           Did you discuss

      13    any of your concerns about the religious material in

      14    the videos and the course materials with any of your

      15    family members or your boyfriend?

      16        A       My dad.

      17        Q       Okay.     And how many discussions did you have

      18    with your dad about it?

      19        A       Just one.

      20        Q       Okay.     And when did that discussion with

      21    your dad occur?

      22        A       I don't know the exact date.

      23        Q       Was it during your employment with Real

      24    Water?

      25        A       Yeah.     Uh-huh.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 281 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                        Page 280

       1           Q      Okay.   Was it -- was it after you watched

       2    the videos?

       3           A      Yeah.   And after the courses.

       4           Q      Okay.   And do you recall how long after you

       5    had that one day looking at the course material that

       6    you talked with him about it?

       7           A      How long I had a conversation with him?

       8           Q      How long after that did you have a

       9    conversation with him?

      10           A      Probably -- I don't know.      Maybe a month, if

      11    that.

      12           Q      And what motivated you to have the

      13    conversation with him about it.

      14           A      I just thought it was weird that they were

      15    using a Scientologist on their work, on the stuff

      16    they use.

      17           Q      Okay.   And did you bring it up with your

      18    dad?

      19           A      Yeah.

      20           Q      Okay.   And what did he say?

      21           A      He thought it was weird.    He was -- he

      22    was -- he said they really -- in Spanish, obviously,

      23    he said they're really using Scientology-based works

      24    or techniques.        Then he asked me if everyone else had

      25    to do it.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 282 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 281

       1               And I said, "Yes."

       2        Q      Okay.   Did he say anything else?

       3        A      No.

       4        Q      Anybody else in your family that you talked

       5    with about your concerns about the religious, what

       6    you viewed as religious themes in the videos and the

       7    course materials?

       8        A      Just my boyfriend.    It was very vague.    I

       9    just told him I didn't like the fact that they're

      10    using Ron L. Hubbard and using his techniques and

      11    stuff and using his business materials, you know.

      12    And to be honest, I thought it was still another way

      13    of using Scientology.     And he just listened.   He

      14    didn't really say anything.

      15        Q      Anybody else that you spoke with outside of

      16    Real Water --

      17        A      No.

      18        Q      -- about the issue?

      19        A      No.

      20        Q      Okay.   And I just want to clarify, the only

      21    supervisor that you complained or talked to about the

      22    videos was Bonnie Mercado, correct?

      23        A      Correct.

      24        Q      Okay.   And the only supervisor that you

      25    complained about or talked to about the course work




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 283 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 282

       1    was also just Bonnie, correct?

       2        A      Correct.

       3               MS. GINAPP:     Those are all the questions

       4    that I have.

       5                              EXAMINATION

       6    BY MS. BARRAZA:

       7        Q      I have two brief points of clarification.        I

       8    hate to refer you back to these early exhibits, but

       9    I'm going to point you to Exhibit C and Exhibit D,

      10    the employment agreements.

      11        A      Okay.

      12        Q      Just put those in front of you.     Keep them

      13    close.    And then --

      14        A      C and what?

      15        Q      C and D.

      16               And can you also pull out your

      17    questionnaires from the videos, which are Exhibits G,

      18    H, I and J.       And you can look through G, H, I and J.

      19    It looks to me like these are all dated March 11,

      20    2015.    Is that what you're seeing?

      21        A      Yes.

      22        Q      Is there any reason to believe that you did

      23    not fill out these questionnaires on March 11, 2015,

      24    as is indicated on the exhibits?

      25        A      Yeah.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 284 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                      Page 283

       1        Q      You do believe or you don't believe?       Do you

       2    think you actually watched these videos on March 11th

       3    as is indicated on the documents?

       4        A      Yeah.

       5        Q      Okay.    And I want to point you to your

       6    employment agreements.      Agreement C indicates that

       7    you signed it on March 10th; is that correct?

       8        A      Correct.

       9        Q      Okay.    And Exhibit D indicates that you

      10    signed it on March 11, 2015; is that correct?

      11        A      Correct.

      12        Q      Okay.    So going back to your earlier

      13    testimony, am I correct that you testified that you

      14    signed documents and then you watched videos, there

      15    was a lunch in between, and then after you watched

      16    the videos, you went home; is that correct?

      17        A      Yes.

      18        Q      Do you remember actually signing any

      19    documents, not including the questionnaires, the same

      20    day on March 11, 2015, after you watched the videos?

      21        A      I don't recall signing -- no, I don't.

      22        Q      You don't recall exactly when you signed

      23    Exhibit D, which is dated March 11, 2015?

      24        A      Right.

      25        Q      Okay.    So am I correct that it could have




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 285 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                         Page 284

       1    been before you actually watched the videos?

       2        A       Correct.

       3        Q       Okay.     And I want to clarify you were

       4    presented with various courses identified by Exhibits

       5    Q through V.        Am I correct that it's your testimony

       6    that you don't recall whether any of those specific

       7    courses were actually the ones that you read?

       8                MS. GINAPP:     Objection.   Form.   Leading the

       9    witness.

      10                THE WITNESS:     Correct.

      11    BY MS. BARRAZA:

      12        Q       Okay.     So is it possible or is it -- is it

      13    possible that one of these courses that were

      14    presented to you today could have been what you

      15    actually read?

      16                MS. GINAPP:     Objection.   Form.   Asked and

      17    answered.

      18                THE WITNESS:     I don't remember.    I really

      19    don't recall which one it was.

      20    BY MS. BARRAZA:

      21        Q       Okay.     So when you were presented with these

      22    earlier in your deposition, did you physically,

      23    carefully read through the first ten or so pages of

      24    them?

      25        A       I skimmed them.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 286 of 290

                  Grecia Echevarria Hernandez November 3, 2016
                          * * *Videotaped Deposition* * *
                                                                            Page 285

       1          Q      Okay.

       2          A      I skimmed some of the pages.

       3          Q      Okay.     So in the event that any of these --

       4    sorry.      Let me think about how to phrase this.

       5                 In the event that any of the courses listed

       6    in Exhibits Q through V do mention Scientology in the

       7    first ten or so pages, could they have been the

       8    courses that you actually read?

       9                 MS. GINAPP:     Objection.   Form.     Foundation.

      10    Calls for speculation.

      11                 THE WITNESS:     Are you asking me if I read

      12    Scientology in one of the first ten pages?

      13    BY MS. BARRAZA:

      14          Q      No.     I'm asking you -- okay.      Let me just

      15    ask you, do you know for sure, sitting here today, if

      16    all of the courses that were presented to you do not

      17    mention Scientology at all in the first ten pages?

      18    Do you know that for sure?

      19                 MS. GINAPP:     Objection.   Form.     Foundation.

      20    Calls for speculation.

      21                 THE WITNESS:     If these say Scientology on

      22    it?

      23    BY MS. BARRAZA:

      24          Q      Right.

      25          A      I'm not sure.




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 287 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 286

       1        Q      Okay.

       2        A      But the one I read did.

       3               MS. BARRAZA:     Okay.   I have nothing else.

       4                          FURTHER EXAMINATION

       5    BY MS. GINAPP:

       6        Q      I just have a few follow-ups.

       7               When you were looking at Exhibits Q through

       8    V, did you feel like you were given sufficient time

       9    to look at them before I asked you questions?

      10        A      Yes.

      11        Q      All right.     Did I rush you in any way?

      12        A      No.

      13        Q      Okay.     As you sit here today, can you

      14    testify that any of those books, Q through V, were

      15    courses that you looked at with any certainty?

      16        A      Like today?

      17        Q      Yeah.

      18        A      If I looked at them with certainty?

      19        Q      No.     Can you testify with any certainty that

      20    you -- that any of those books, Q through V, were

      21    what you looked at that one Friday that you spent

      22    30 minutes skimming ten pages in the course room at

      23    Real Water?

      24        A      I don't recall which one it was.      I can't

      25    be -- I don't -- I don't remember --




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 288 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                       Page 287

       1        Q      Okay.

       2        A      -- which one.

       3               MS. GINAPP:     Those are all the questions

       4    that I have.

       5               MS. BARRAZA:     I don't have any.

       6               THE VIDEOGRAPHER:     This concludes the

       7    videotaped deposition of Grecia Echevarria Hernandez.

       8    The original media of today's testimony will remain

       9    in the custody of Las Vegas Legal Video.

      10               The time is approximately 4:56 p.m.        We are

      11    going off the record.

      12               THE REPORTER:     Counsel, before I go off the

      13    record, did you want your client to read or waive

      14    signature?

      15               MS. BARRAZA:     We can waive that.

      16               Can I get an electronic copy.

      17               (Thereupon, the videotaped deposition

      18                 was concluded at 4:56 p.m.)

      19
      20                               * * * * *

      21
      22
      23
      24
      25




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 289 of 290

                   Grecia Echevarria Hernandez November 3, 2016
                           * * *Videotaped Deposition* * *
                                                                   Page 288

       1                     CERTIFICATE OF DEPONENT

       2    PAGE     LINE   CHANGE                     REASON

       3    _____________________________________________________

       4    _____________________________________________________

       5    _____________________________________________________

       6    _____________________________________________________

       7    _____________________________________________________

       8    _____________________________________________________

       9    _____________________________________________________

      10    _____________________________________________________

      11    _____________________________________________________

      12    _____________________________________________________

      13    _____________________________________________________

      14                             * * * * *

      15
      16               I, GRECIA ECHEVARRIA HERNANDEZ, deponent

      17    herein, do hereby certify and declare that the within

      18    and foregoing transcription to be my deposition in

      19    said action; that I have read, corrected, and do

      20    hereby affix my signature to said deposition.

      21
      22
      23                      _______________________________
                              GRECIA ECHEVARRIA HERNANDEZ
      24
      25




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Case 2:16-cv-00943-GMN-VCF Document 39-4 Filed 04/06/17 Page 290 of 290

                Grecia Echevarria Hernandez November 3, 2016
                        * * *Videotaped Deposition* * *
                                                                    Page 289

       1                    CERTIFICATE OF REPORTER

       2
            STATE OF NEVADA )
       3                    ) ss:
            COUNTY OF CLARK )
       4
       5             I, Sarah Safier, CCR No. 808, do thereby
            certify: That I reported the deposition of GRECIA
       6    ECHEVARRIA HERNANDEZ, commencing on Thursday,
            November 3, 2016, at 9:03 a.m.
       7             That prior to being deposed, the witness was
            duly sworn by me to testify to the truth. That I
       8    thereafter transcribed my said shorthand notes into
            typewriting and that the typewritten transcript is a
       9    complete, true, and accurate transcription of my said
            shorthand notes. That prior to the conclusion of the
      10    proceedings, pursuant to NRCP 30(e), the reading and
            signing of the transcript was not requested by the
      11    witness or a party.
                     I further certify that I am not a relative
      12    or employee of counsel of any of the parties, nor a
            relative or employee of the parties involved in said
      13    action, nor a person financially interested in the
            action.
      14             IN WITNESS WHEREOF, I have set my hand in my
            office in the County of Clark, State of Nevada, this
      15    15th day of November, 2016.

      16
      17
                                    _____________________________
      18                            Sarah Safier, CCR No. 808

      19
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